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            No. 23-20318 Consolidated with No. 23-20443
                  ________________________

                                   In the
                  United States Court of Appeals
                       for the Fifth Circuit
                   ________________________

                  OCCIDENTAL PETROLEUM CORP.
                                   Plaintiff-Appellee
                              and
                   ANADARKO PETROLEUM CORP.,
                                    Intervenor Plaintiff-Appellee,
                             – v. –
                     WELLS FARGO BANK, N.A.
                                        Defendant-Appellant.
                   ________________________
      On Appeal from the United States District Court for the
    Southern District of Texas, Lee H. Rosenthal, District Judge
                ________________________
                  RECORD EXCERPTS OF
       DEFENDANT-APPELLANT WELLS FARGO BANK N.A.
              ________________________
Christian T. Kemnitz                    Rebecca K. Lindahl
KATTEN MUCHIN ROSENMAN LLP              KATTEN MUCHIN ROSENMAN LLP
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Chicago, IL 60661                       Charlotte, NC 28202
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Johnjerica Hodge                        Jeff Joyce
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202-625-3500                            713-222-1113

                                        Counsel for Wells Fargo Bank, N.A.
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                                                                                           APPEAL,CLOSED
                                 U.S. District Court
                       SOUTHERN DISTRICT OF TEXAS (Houston)
                       CIVIL DOCKET FOR CASE #: 4:21-cv-01126
                                  Internal Use Only

Occidental Petroleum Corporation v. Wells Fargo Bank, N.A.        Date Filed: 04/06/2021
Assigned to: Chief Judge Lee H Rosenthal                          Date Terminated: 05/31/2023
Cause: 28:1330 Breach of Contract                                 Jury Demand: Plaintiff
                                                                  Nature of Suit: 190 Contract: Other
                                                                  Jurisdiction: Diversity
Plaintiff
Occidental Petroleum Corporation                  represented by Angus Joseph Dodson
                                                                 Gibbs and Bruns LLP
                                                                 1100 Louisiana
                                                                 Ste 5300
                                                                 Houston, TX 77002
                                                                 713-650-8805
                                                                 Email: jdodson@gibbsbruns.com
                                                                 ATTORNEY TO BE NOTICED

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                                                                  Fax: 713-750-0903
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                                                                  ATTORNEY TO BE NOTICED

                                                                                                   23-20318.1
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V.
Defendant
Wells Fargo Bank, N.A.                  represented by Johnjerica Hodge
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                                                       North Tower
                                                       Suite 200
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                                                       202-625-3710
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                                                       ATTORNEY TO BE NOTICED

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                                                       Katten Muchin Rosenman LLP
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                                                       Chicago, IL 60061
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                                                       Email: christian.kemnitz@katten.com
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                                                       Ste 1500
                                                       Houston, TX 77002
                                                       713-222-1113
                                                       Fax: 713-513-5577
                                                       Email: jjoyce@jmlawyers.com
                                                       ATTORNEY TO BE NOTICED

                                                       Kelly D. Hine
                                                       Katten Muchin Rosenman LLP
                                                       212 North Pearl Street
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                                                       214-765-3600
                                                       Email: kelly.hine@kdhpc.com
                                                       TERMINATED: 08/02/2023
                                                       ATTORNEY TO BE NOTICED

                                                       Megan Crosby McKennon
                                                       Katten
                                                       2121 North Pearl Street
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                                                       Dallas, TX 75201-2591
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                                                       ATTORNEY TO BE NOTICED

                                                       Rebecca K Lindahl

                                                                                      23-20318.2
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                                                          Katten Muchin et al
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Intervenor Plaintiff
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                                                          ATTORNEY TO BE NOTICED

                                                          Ayesha Najam
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Kathy Dawn Patrick
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Third Party Defendant
Equiniti Trust Company

ThirdParty Plaintiff
Wells Fargo Bank, N.A.                     represented by Christian Kemnitz
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Jeffrey Lloyd Joyce
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Kelly D. Hine
                                                          (See above for address)
                                                          TERMINATED: 08/02/2023
                                                          ATTORNEY TO BE NOTICED

                                                          Rebecca K Lindahl
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Third Party Defendant
Equiniti Trust Company                     represented by Jeremy L Doyle
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                                                          LEAD ATTORNEY

                                                                                         23-20318.3
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                                                        TERMINATED: 06/14/2022
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ThirdParty Plaintiff
Wells Fargo Bank, N.A.                   represented by Christian Kemnitz
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Jeffrey Lloyd Joyce
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Kelly D. Hine
                                                        (See above for address)
                                                        TERMINATED: 08/02/2023
                                                        ATTORNEY TO BE NOTICED

                                                        Rebecca K Lindahl
                                                        (See above for address)

                                                                                        23-20318.4
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                                                            ATTORNEY TO BE NOTICED

Counter Claimant
Wells Fargo Bank, N.A.                       represented by Christian Kemnitz
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Jeffrey Lloyd Joyce
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Kelly D. Hine
                                                            (See above for address)
                                                            TERMINATED: 08/02/2023
                                                            ATTORNEY TO BE NOTICED

                                                            Rebecca K Lindahl
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED


V.
Counter Defendant
Occidental Petroleum Corporation             represented by Kathy Dawn Patrick
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

Counter Claimant
Wells Fargo Bank, N.A.                       represented by Christian Kemnitz
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Jeffrey Lloyd Joyce
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Kelly D. Hine
                                                            (See above for address)
                                                            TERMINATED: 08/02/2023
                                                            ATTORNEY TO BE NOTICED

                                                            Rebecca K Lindahl
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED


V.
Counter Defendant
Occidental Petroleum Corporation             represented by Kathy Dawn Patrick
                                                            (See above for address)

                                                                                        23-20318.5
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                                                                     ATTORNEY TO BE NOTICED

Counter Claimant
Wells Fargo & Company


V.
Counter Defendant
Anadarko Petroleum Corporation                      represented by Kathy Dawn Patrick
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

Counter Defendant
Occidental Petroleum Corporation                    represented by Mark R. Dore
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                     Kathy Dawn Patrick
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED


 Date Filed         #       Docket Text

 04/06/2021      1 (p.22)   COMPLAINT against Wells Fargo Bank, N.A. (Filing fee $ 402 receipt number
                            0541-26233094) filed by Occidental Petroleum Corp.. (Attachments: # 1 (p.22) Civil
                            Cover Sheet)(Patrick, Kathy) (Entered: 04/06/2021)

 04/07/2021      2 (p.36)   ORDER FOR CONFERENCE. Initial Conference set for 7/6/2021 at 10:30 AM in
                            Room 11122 before Judge Lynn N Hughes (Signed by Judge Lynn N Hughes)
                            Parties notified.(JacquelineMataadi, 4) (Entered: 04/07/2021)

 04/07/2021      3 (p.38)   ORDER OF RECUSAL. Judge Lynn N Hughes recused. Case reassigned to Chief
                            Judge Lee H Rosenthal for all further proceedings. (Signed by Judge Lynn N
                            Hughes) Parties notified. (ghassan, 4) (Entered: 04/07/2021)

 04/09/2021      4 (p.39)   ORDER Scheduling Rule 16 Conference With the Court and Setting Out the
                            Requirements for Initial Pretrial Work. Initial Conference set for 7/30/2021 at 10:00
                            AM in Courtroom 11B before Chief Judge Lee H Rosenthal(Signed by Chief Judge
                            Lee H Rosenthal) (Attachments: # 1 (p.22) Supplement) Parties notified.(leddins, 4)
                            (Entered: 04/09/2021)

 05/04/2021      5 (p.80)   NOTICE of Appearance by Kelly D. Hine on behalf of Wells Fargo Bank, N.A.,
                            filed. (Hine, Kelly) (Entered: 05/04/2021)

 05/04/2021      6 (p.81)   MOTION for Christian Kemnitz to Appear Pro Hac Vice by Wells Fargo Bank,
                            N.A., filed. Motion Docket Date 5/25/2021. (Hine, Kelly) (Entered: 05/04/2021)

 05/04/2021      7 (p.82)   MOTION for Rebecca K. Lindahl to Appear Pro Hac Vice by Wells Fargo Bank,
                            N.A., filed. Motion Docket Date 5/25/2021. (Hine, Kelly) (Entered: 05/04/2021)

 05/04/2021      8 (p.83)   ORDER granting 6 (p.81) Motion for Christian Kemnitz to Appear Pro Hac
                            Vice.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gkelner, 4) (Entered:


                                                                                                       23-20318.6
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                           05/04/2021)

05/04/2021      9 (p.84)   ORDER granting 7 (p.82) Motion for Rebecca K. Lindahl to Appear Pro Hac
                           Vice.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gkelner, 4) (Entered:
                           05/04/2021)

06/03/2021     10 (p.85)   STIPULATION re: to Extend Certain Pleading Deadlines by Wells Fargo Bank,
                           N.A., filed.(Joyce, Jeffrey) (Entered: 06/03/2021)

06/21/2021     11 (p.88)   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM AND BRIEF IN
                           SUPPORT by Wells Fargo Bank, N.A., filed. Motion Docket Date 7/12/2021.
                           (Attachments: # 1 (p.22) Exhibit A, # 2 (p.36) Proposed Order)(Hine, Kelly)
                           (Entered: 06/21/2021)

06/22/2021           12 NOTICE of Appearance by Jeff Joyce on behalf of Wells Fargo Bank, N.A., filed.
                (p.149) (Joyce, Jeffrey) (Entered: 06/22/2021)

06/29/2021           13 DEMAND for Trial by Jury by Occidental Petroleum Corporation, filed.(Dodson,
                (p.150) Angus) (Entered: 06/29/2021)

07/13/2021           14 First AMENDED COMPLAINT with Jury Demand against Wells Fargo Bank, N.A.
                (p.153) filed by Occidental Petroleum Corporation. (Attachments: # 1 (p.22) Exhibit
                        1)(Patrick, Kathy) (Entered: 07/13/2021)

07/15/2021           15 Joint MOTION to Amend 4 (p.39) Order for Initial Conference, by Occidental
                (p.201) Petroleum Corporation, filed. Motion Docket Date 8/5/2021. (Attachments: # 1
                        (p.22) Proposed Order)(Patrick, Kathy) (Entered: 07/15/2021)

07/15/2021           18 ORDER granting 15 (p.201) Motion. Each Party will file a certificate listing all
                (p.213) persons that are financially interested in the outcome of this litigation, consistent
                        with the requirements of the Order, not later than July 16, 2021. The parties will file
                        a Joint Discovery/Case Management Plan and a Joint Scheduling and Docket
                        Control Order not later than 10 a.m. on July 22, 2021. The Parties will exchange
                        initial disclosures pursuant to Rule 26(a)(1) not later than August 6, 2021. (Signed
                        by Chief Judge Lee H Rosenthal) Parties notified.(ShoshanaArnow, 4) (Entered:
                        07/19/2021)

07/16/2021           16 CERTIFICATE OF INTERESTED PARTIES by Occidental Petroleum Corporation,
                (p.206) filed.(Patrick, Kathy) (Entered: 07/16/2021)

07/16/2021           17 CERTIFICATE OF INTERESTED PARTIES by Wells Fargo Bank, N.A.,
                (p.209) filed.(Hine, Kelly) (Entered: 07/16/2021)

07/19/2021           19 ORDER denying as moot 11 (p.88) Motion to Dismiss for Failure to State a
                (p.214) Claim.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gkelner, 4)
                        (Entered: 07/19/2021)

07/22/2021           20 NOTICE of Resetting. Parties notified. Initial Conference reset for 7/30/2021 at
                (p.215) 10:10 AM by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                        provided for participation. (leddins, 4) (Entered: 07/22/2021)

07/22/2021           21 JOINT DISCOVERY/CASE MANAGEMENT PLAN by Occidental Petroleum
                (p.216) Corporation, filed. (Attachments: # 1 (p.22) Exhibit 1)(Patrick, Kathy) (Entered:
                        07/22/2021)

07/30/2021           22    Minute entry for proceedings before the Hon. Lee H. Rosenthal. Initial conference
                           held on July 30, 2021. The court will separately enter a scheduling and docket


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                         control order, as stated in detail on the record Appearances: Kathy Patrick, Christian
                         Kemnitz, Rebecca Lindahl, Jeffrey Joyce.(Court Reporter: F. Warner), filed.(leddins,
                         4) (Entered: 07/30/2021)

07/30/2021           23 SCHEDULING ORDER. Motion to Dismiss due by 9/6/2021. Response to Motion
                (p.241) to Dismiss due by 9/14/2021. Reply in Support of Motion to Dismiss due by
                        10/1/2021. Motion to Dismiss Oral Argument due by 10/6/2021. Stipulated Facts
                        due by 11/19/2021. Mediation due by 12/17/2021. Pretrial Dispositive Motion Filing
                        due by 1/14/2022. Responses to Pretrial Dispositive Motion due by 2/4/2022. Reply
                        in Support due by 2/25/2022. Stipulated Facts due by by 11/19/2021 Oral Argument
                        on the Pretrial Dispositive Motion set for 3/11/2022 at 10:00 AM by Zoom.(Signed
                        by Chief Judge Lee H Rosenthal) Parties notified.(olindor, 4) (Entered: 08/02/2021)

09/06/2021           24 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM (as to Second and
                (p.243) Third Claims) by Wells Fargo Bank, N.A., filed. Motion Docket Date 9/27/2021.
                        (Attachments: # 1 (p.22) Exhibit A- Trust Agreement, # 2 (p.36) Exhibit B- Email, #
                        3 (p.38) Proposed Order)(Hine, Kelly) (Entered: 09/06/2021)

09/06/2021           25 THIRD PARTY COMPLAINT against Equiniti Trust Company filed by Wells
                (p.324) Fargo Bank, N.A.. (Attachments: # 1 (p.22) Exhibit 1- Trust Agreement, # 2 (p.36)
                        Exhibit 2- Executed TA Agreement, # 3 (p.38) Exhibit 3- EQ Signing Index, # 4
                        (p.39) Exhibit 4- Bill of Sale)(Hine, Kelly) (Entered: 09/06/2021)

09/06/2021           26 Request for Issuance of Summons as to Equiniti Trust Company, filed.(Hine, Kelly)
                (p.428) (Entered: 09/06/2021)

09/06/2021           27 ANSWER to 14 (p.153) Amended Complaint/Counterclaim/Crossclaim etc., THIRD
                (p.430) PARTY COMPLAINT against Equiniti Trust Company, COUNTERCLAIM against
                        Occidental Petroleum Corporation by Wells Fargo Bank, N.A., filed. (Attachments:
                        # 1 (p.22) Exhibit 1- Trust Agreement, # 2 (p.36) Exhibit 2- Executed TA
                        Agreement, # 3 (p.38) Exhibit 3- EQ Signing Index, # 4 (p.39) Exhibit 4- Bill of
                        Sale)(Hine, Kelly) (Entered: 09/06/2021)

09/08/2021           28 Summons Issued as to Equiniti Trust Company. Issued summons delivered to
                (p.534) plaintiff by NEF, filed.(hlerma, 4) (Entered: 09/08/2021)

09/24/2021           29 MOTION to Dismiss Counterclaim by Occidental Petroleum Corporation, filed.
                (p.536) Motion Docket Date 10/15/2021. (Attachments: # 1 (p.22) Exhibit 1, # 2 (p.36)
                        Proposed Order)(Patrick, Kathy) (Entered: 09/24/2021)

09/24/2021           30 RESPONSE to Defendant's Motion to Dismiss First Amended Complaint, filed by
                (p.591) Occidental Petroleum Corporation. (Attachments: # 1 (p.22) Exhibit 1, # 2 (p.36)
                        Exhibit 2, # 3 (p.38) Proposed Order)(Patrick, Kathy) (Entered: 09/24/2021)

09/24/2021               ***Set/Reset Hearings: Motion Hearing set for 10/6/2021 at 10:00 AM by video
                         before Chief Judge Lee H Rosenthal. (leddins, 4) (Entered: 09/24/2021)

09/24/2021               ***Set/Reset Hearings: Motion Hearing set for 10/6/2021 at 10:00 AM by video
                         before Chief Judge Lee H Rosenthal and Motion Hearing set for 3/11/2022 at 10:00
                         AM by video before Chief Judge Lee H Rosenthal. (leddins, 4) (Entered:
                         09/24/2021)

10/01/2021           31 REPLY in Support of 24 (p.243) MOTION TO DISMISS FOR FAILURE TO
                (p.711) STATE A CLAIM (as to Second and Third Claims), filed by Wells Fargo Bank,
                        N.A.. (Lindahl, Rebecca) (Entered: 10/01/2021)



                                                                                                    23-20318.8
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10/05/2021           32 Joint MOTION for Continuance of Oct. 6, 2021 Hearing on Motion to Dismiss and
                (p.722) Revise Pretrial Scheduling Order to Permit Consolidated Hearing of All Pending
                        Motions to Dismiss by Occidental Petroleum Corporation, filed. Motion Docket
                        Date 10/26/2021. (Attachments: # 1 (p.22) Proposed Order)(Patrick, Kathy)
                        (Entered: 10/05/2021)

10/05/2021           33 ORDER entered: GRANTING 32 (p.722) Joint MOTION for Continuance of Oct. 6,
                (p.727) 2021 Hearing on Motion to Dismiss and Revise Pretrial Scheduling Order to Permit
                        Consolidated Hearing of All Pending Motions to Dismiss. Motion Hearing reset for
                        11/5/2021 at 10:30 AM before Chief Judge Lee H Rosenthal. Counsel will advise if
                        the hearing is to be by Zoom or in person. (Signed by Chief Judge Lee H Rosenthal)
                        Parties notified.(leddins, 4) (Entered: 10/05/2021)

10/15/2021           34 RESPONSE in Opposition to 29 (p.536) MOTION to Dismiss Counterclaim, filed
                (p.728) by Wells Fargo Bank, N.A.. (Attachments: # 1 (p.22) Exhibit 1- WF Written
                        Requests)(Lindahl, Rebecca) (Entered: 10/15/2021)

10/22/2021           35 REPLY in Support of 29 (p.536) MOTION to Dismiss Counterclaim, filed by
                (p.757) Occidental Petroleum Corporation. (Patrick, Kathy) (Entered: 10/22/2021)

10/26/2021           36 NOTICE of Resetting. Parties notified. Motion Hearing reset for 11/5/2021 at 10:30
                (p.767) AM in Courtroom 11B before Chief Judge Lee H Rosenthal, filed.
                        (ClaudiaGutierrez, 4) (Entered: 10/26/2021)

11/05/2021          37   Minute entry for proceedings before the Hon. Lee H. Rosenthal. Motion hearing held
                         on November 5, 2021. The court heard argument on the parties motions to dismiss.
                         Appearances: Kathy Patrick/Mark Dore/Angus Dodsen for Pltf. and Christian
                         Kemnitz/ Rebecca Lindahl/Jeffrey Joyce for Deft.(Court Reporter: G. Dye),
                         filed.(leddins, 4) (Entered: 11/09/2021)

11/18/2021           38 Joint MOTION for Extension of Time to File Stipulated Facts by Occidental
                (p.768) Petroleum Corporation, filed. Motion Docket Date 12/9/2021. (Attachments: # 1
                        (p.22) Proposed Order)(Patrick, Kathy) (Entered: 11/18/2021)

11/19/2021           39 ORDER granting 38 (p.768) Motion for Extension of Time to File Stipulated Facts.
                (p.773) The deadline is extended to 12/1/2021. (Signed by Chief Judge Lee H Rosenthal)
                        Parties notified.(gclair, 4) (Entered: 11/19/2021)

11/30/2021           40 MEMORANDUM AND ORDER entered: Wells Fargo's motion to dismiss the
                (p.774) breach of fiduciary duty and indemnity claims, (Docket Entry No. 24), is granted.
                        Occidental's motion to dismiss the counterclaim, (Docket Entry No. 29), is also
                        granted. The parties have made clear that much work remains to be done before this
                        case can be framed for ultimate resolution. The next step is to define the most
                        reliable, careful, and efficient way to get to that point. (Signed by Chief Judge Lee H
                        Rosenthal) Parties notified.(leddins, 4) (Entered: 11/30/2021)

12/01/2021           41 AO 435 TRANSCRIPT REQUEST by Jeff Joyce for Transcript of Motion Hearing
                (p.793) on 11/5/21 before Judge Rosenthal. 3-Day turnaround requested. Court
                        Reporter/Transcriber: Gayle Dye, filed. (Joyce, Jeffrey) (Entered: 12/01/2021)

12/01/2021           42 AO 435 TRANSCRIPT REQUEST by Shari Falloon for Transcript of Hearing,
                (p.795) 11/05/2021, Lee H Rosenthal. Daily (24 hours) turnaround requested. Court
                        Reporter/Transcriber: Gayle Dye, filed. (BrendaLacy, 4) (Entered: 12/01/2021)

12/01/2021           43 STIPULATION re: Joint Statement of Stipulated Facts by Wells Fargo Bank, N.A.,
                (p.797) filed. (Attachments: # 1 (p.22) Exhibit 1- Trust Agreement, # 2 (p.36) Exhibit 2-


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                          Transfer Agent Agreement, # 3 (p.38) Exhibit 3- Purchase Agreement, # 4 (p.39)
                          Exhibit 4- Notice of Change of Control, # 5 (p.80) Exhibit 5- October 2019 Email
                          Exchange, # 6 (p.81) Exhibit 6- December 17-19 Email Exchange, # 7 (p.82) Exhibit
                          7- Historical Stock Prices, # 8 (p.83) Exhibit 8- Reversion Request, # 9 (p.84)
                          Exhibit 9- Reversion Response)(Lindahl, Rebecca) (Entered: 12/01/2021)

12/02/2021           44 TRANSCRIPT re: Motion Hearing held on November 5, 2021, before Chief Judge
               (p.4848) Lee H Rosenthal. Court Reporter/Transcriber Dye. Release of Transcript Restriction
                        set for 3/2/2022., filed. (gdye, ) (Entered: 12/02/2021)

12/03/2021           45 Notice of Filing of Official Transcript as to 44 (p.4848) Transcript. Party notified,
                (p.906) filed. (olindor, 4) (Entered: 12/03/2021)

12/08/2021           46 AO 435 TRANSCRIPT REQUEST by Sandra Walton for Transcript of Hearing,
                (p.907) 11/05/2021, Judge Lee H Rosenthal. Daily (24 hours) turnaround requested. Court
                        Reporter/Transcriber: Gayle Dye, filed. (BrendaLacy, 4) (Entered: 12/08/2021)

12/13/2021           47 MOTION to Dismiss Defendant Equiniti Trust Company's Motion to Dismiss Under
                (p.909) Rules 12(b)(2), 12(b)(3) & 12(b)(6) by Equiniti Trust Company, filed. Motion
                        Docket Date 1/3/2022. (Attachments: # 1 (p.22) Declaration, # 2 (p.36) Exhibit 1, #
                        3 (p.38) Exhibit 2, # 4 (p.39) Exhibit 3, # 5 (p.80) Exhibit 4, # 6 (p.81) Exhibit 5, # 7
                        (p.82) Exhibit 6, # 8 (p.83) Exhibit 7, # 9 (p.84) Exhibit 8, # 10 (p.85) Exhibit
                        9)(Doyle, Jeremy) (Entered: 12/13/2021)

12/13/2021           48 MOTION for Frederic M. Krieger to Appear Pro Hac Vice by Equiniti Trust
                (p.976) Company, filed. Motion Docket Date 1/3/2022. (Doyle, Jeremy) (Entered:
                        12/13/2021)

12/13/2021           49 MOTION for Andrew J. Melnick to Appear Pro Hac Vice by Equiniti Trust
                (p.977) Company, filed. Motion Docket Date 1/3/2022. (Doyle, Jeremy) (Entered:
                        12/13/2021)

12/13/2021           50 MOTION for Jonah R. Hecht to Appear Pro Hac Vice by Equiniti Trust Company,
                (p.978) filed. Motion Docket Date 1/3/2022. (Doyle, Jeremy) (Entered: 12/13/2021)

12/14/2021           51 CERTIFICATE OF INTERESTED PARTIES by Equiniti Trust Company,
                (p.979) filed.(Doyle, Jeremy) (Entered: 12/14/2021)

12/15/2021           52 ORDER granting 48 (p.976) Motion for Frederic M Krieger to Appear Pro Hac
                (p.982) Vice.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                        12/16/2021)

12/15/2021           53 ORDER granting 49 (p.977) Motion for Andrew J. Melnick to Appear Pro Hac Vice.
                (p.983) (Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                        12/16/2021)

12/15/2021           54 ORDER granting 50 (p.978) Motion for Jonah R. Hecht to Appear Pro Hac Vice.
                (p.984) (Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                        12/16/2021)

01/03/2022           55 AMENDED THIRD PARTY COMPLAINT against Equiniti Trust Company filed
                (p.985) by Wells Fargo Bank, N.A.. Related document: 25 (p.324) Third Party Complaint,
                        filed by Wells Fargo Bank, N.A.. (Attachments: # 1 (p.22) Exhibit 1- Trust
                        Agreement, # 2 (p.36) Exhibit 2- Transfer Agent Agreement, # 3 (p.38) Exhibit 3-
                        Purchase Agreement, # 4 (p.39) Exhibit 4- Transaction Request)(Lindahl, Rebecca)
                        (Entered: 01/03/2022)


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01/13/2022           56 Joint PROPOSED ORDER Amended Scheduling and Docket Control Order re: 23
               (p.1085) (p.241) Scheduling Order,,, filed. (Attachments: # 1 (p.22) Proposed Order
                        Scheduling and Docket Control Order)(Patrick, Kathy) (Entered: 01/13/2022)

01/14/2022           57 SCHEDULING ORDER. Amended Pleadings due by 1/21/2022. Responses to
               (p.1095) Amended Pleadings due by 02/07/2022. Pltf Expert Witness List due by 7/1/2022.
                        Deft Expert Witness List due by 8/15/2022. Discovery due by 10/14/2022.
                        Mediation due by 10/14/2022. Dispositive Motion Filing due by 3/15/2022.
                        Responses due by 4/5/2022. Oral Argument set for 5/2/2022 at 10:00 AM in by
                        video before Chief Judge Lee H Rosenthal Joint Pretrial Order due by 10/31/2022.
                        Docket Call set for 11/7/2022 at 09:00 AM in Courtroom 11B before Chief Judge
                        Lee H Rosenthal (Signed by Chief Judge Lee H Rosenthal) Parties notified.(gkelner,
                        4) (Entered: 01/14/2022)

01/14/2022           58 Unopposed MOTION for Protective Order by Occidental Petroleum Corporation,
               (p.1098) filed. Motion Docket Date 2/4/2022. (Attachments: # 1 (p.22) Exhibit, # 2 (p.36)
                        Proposed Order)(Patrick, Kathy) (Entered: 01/14/2022)

01/21/2022           59 Unopposed MOTION for Leave to File Amended Complaint by Occidental
               (p.1118) Petroleum Corporation, filed. Motion Docket Date 2/11/2022. (Attachments: # 1
                        (p.22) Exhibit 1, # 2 (p.36) Proposed Order)(Patrick, Kathy) (Entered: 01/21/2022)

01/21/2022           62 Plaintiff and Intervening Plaintiff's Second Amended Complaint.(jguajardo, 4)
               (p.1144) (Entered: 01/28/2022)

01/28/2022           60 ORDER Granting 58 (p.1098) unopposed Motion for entry of stipulated Protective
               (p.1142) Order.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(rkonieczny, 4)
                        (Entered: 01/28/2022)

01/28/2022           61 ORDER Granting 59 (p.1118) Motion for Leave to File Second Amended
               (p.1143) Complaint..(Signed by Chief Judge Lee H Rosenthal) Parties notified.(jguajardo, 4)
                        (Entered: 01/28/2022)

02/01/2022           63 NOTICE of Change of Firm Name or Address by Equiniti Trust Company, filed.
               (p.1159) (Doyle, Jeremy) (Entered: 02/01/2022)

02/04/2022           64 MOTION to Dismiss by Equiniti Trust Company, filed. Motion Docket Date
               (p.1162) 2/25/2022. (Attachments: # 1 (p.22) Declaration, # 2 (p.36) Exhibit)(ckrus, 4)
                        (Entered: 02/07/2022)

02/07/2022           65 ANSWER to 62 (p.1144) Complaint, COUNTERCLAIM against Occidental
               (p.1198) Petroleum Corporation by Wells Fargo Bank, N.A., filed. (Attachments: # 1 (p.22)
                        Exhibit 1- Trust Agreement, # 2 (p.36) Exhibit 2- Transfer Agent Agreement, # 3
                        (p.38) Exhibit 3- Purchase Agreement, # 4 (p.39) Exhibit 4- DRT Request
                        Sample)(Lindahl, Rebecca) (Entered: 02/07/2022)

02/24/2022           66 Joint MOTION for Entry of Order re: Amended Scheduling and Docket Control
               (p.1302) Order by Equiniti Trust Company, Occidental Petroleum Corporation, Wells Fargo
                        Bank, N.A., filed. Motion Docket Date 3/17/2022. (Attachments: # 1 (p.22) Exhibit
                        A)(Patrick, Kathy) (Entered: 02/24/2022)

02/24/2022           67 Additional EXHIBITS re: 66 (p.1302) Joint MOTION for Entry of Order re:
               (p.1310) Amended Scheduling and Docket Control Order by Equiniti Trust Company,
                        Occidental Petroleum Corporation, Wells Fargo Bank, N.A., filed.(Patrick, Kathy)
                        (Entered: 02/24/2022)



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02/25/2022           68 AMENDED SCHEDULING AND DOCKET CONTROL ORDER. Dispositive
               (p.1313) Motion Filing due by 6/10/2022. Responses due by 6/24/2022. Replies due by
                        7/1/22. Oral Arguments set for 7/28/2022 at 10:00 AM by video. Pltf Expert Report
                        due by 7/1/2022. Deft Expert Report due by 8/15/2022. Discovery due by
                        10/14/2022. Mediation due by 10/14/2022. Joint Pretrial Order due by 10/31/2022.
                        Docket Call set for 11/7/2022 at 09:00 AM in Courtroom 11B before Chief Judge
                        Lee H Rosenthal(Signed by Chief Judge Lee H Rosenthal) Parties
                        notified.(JosephWells, 4) (Entered: 02/25/2022)

02/25/2022           69 RESPONSE to 64 (p.1162) MOTION to Dismiss , filed by Wells Fargo Bank, N.A..
               (p.1316) (Attachments: # 1 (p.22) Exhibit Group Exhibit 1)(Hine, Kelly) (Entered:
                        02/25/2022)

02/28/2022           70 ANSWER to 65 (p.1198) Answer to Complaint,, Counterclaim, by Occidental
               (p.1346) Petroleum Corporation, filed.(Patrick, Kathy) (Entered: 02/28/2022)

03/04/2022           71 REPLY in Support of 47 (p.909) MOTION to Dismiss Defendant Equiniti Trust
               (p.1355) Company's Motion to Dismiss Under Rules 12(b)(2), 12(b)(3) & 12(b)(6), filed by
                        Equiniti Trust Company. (Attachments: # 1 (p.22) Declaration, # 2 (p.36) Exhibit
                        1)(Doyle, Jeremy) (Entered: 03/04/2022)

03/09/2022               (Court only) ***Motion(s) terminated: 66 (p.1302) Joint MOTION for Entry of
                         Order re: Amended Scheduling and Docket Control Order. Granted by de 68.
                         (leddins, 4) (Entered: 03/09/2022)

04/12/2022               (Court only) ***Motion(s) terminated: 47 (p.909) MOTION to Dismiss Defendant
                         Equiniti Trust Company's Motion to Dismiss Under Rules 12(b)(2), 12(b)(3) &
                         12(b)(6). Motion is moot based on the filing of the amended complaint and amended
                         motion to dismiss. (leddins, 4) (Entered: 04/12/2022)

05/03/2022           72 STIPULATION re: Witness by Wells Fargo Bank, N.A., filed.(Hine, Kelly)
               (p.1374) (Entered: 05/03/2022)

05/12/2022           73 NOTICE Notice of Additional Authority in Support of Equiniti Trust Company's
               (p.1377) Motion to Dismiss under Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6) re:
                        64 (p.1162) MOTION to Dismiss by Equiniti Trust Company, filed. (Attachments: #
                        1 (p.22) Exhibit A)(Doyle, Jeremy) (Entered: 05/12/2022)

06/06/2022           74 MOTION for Leave to File Third Amended Complaint by Occidental Petroleum
               (p.1398) Corporation, filed. Motion Docket Date 6/27/2022. (Attachments: # 1 (p.22) Exhibit
                        1, # 2 (p.36) Exhibit 2, # 3 (p.38) Exhibit 3, # 4 (p.39) Proposed Order)(Patrick,
                        Kathy) (Entered: 06/06/2022)

06/07/2022           75 ***VACATED**** ORDER granting 74 (p.1398) Motion for Leave to File.(Signed
               (p.1441) by Chief Judge Lee H Rosenthal) Parties notified. (ClaudiaGutierrez, 4) (Entered:
                        06/07/2022)

06/07/2022           76 Third AMENDED COMPLAINT with Jury Demand against Wells Fargo Bank,
               (p.1442) N.A. filed by Occidental Petroleum Corporation, Anadarko Petroleum Corporation.
                        (ClaudiaGutierrez, 4) (Entered: 06/07/2022)

06/08/2022           77 ORDER.The court's order granting the plaintiff and intervening plaintiff's motion for
               (p.1458) leave to file the third amended complaint, (Docket Entry No. 75), is vacated. The
                        third amended complaint (Docket Entry No. 76), will be removed from the docket.
                        The response to the motion for leave to file the third amended complaint, (Docket
                        Entry No. 74), is due June 27, 2022. (Signed by Chief Judge Lee H Rosenthal)


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                          Parties notified.(olindor, 4) (Entered: 06/08/2022)

06/09/2022           78 Agreed MOTION to Amend 68 (p.1313) Scheduling Order,, by Equiniti Trust
               (p.1459) Company, filed. Motion Docket Date 6/30/2022. (Attachments: # 1 (p.22) Proposed
                        Order Ex. A: Proposed Second Amended Scheduling and Docket Control
                        Order)(Doyle, Jeremy) (Entered: 06/09/2022)

06/09/2022           79 SECOND AMENDED SCHEDULING AND DOCKET CONTROL ORDER. Pltf
               (p.1465) Expert Report due by 7/1/2022. Deft Expert Report due by 8/15/2022. Discovery
                        due by 10/14/2022. Mediation due by 10/14/2022. Pretrial Dispositive Motion Filing
                        due by 6/10/2022. Responses due by 6/24/2022. Replies due by 7/1/2022. Joint
                        Pretrial Order due by 10/31/2022. Docket Call set for 11/7/2022 at 09:00 AM in
                        Courtroom 11B before Chief Judge Lee H Rosenthal. Oral Argument on Pretrial
                        Dispositive Motion set for 7/28/2022 at 10:00 AM in by video before Chief Judge
                        Lee H Rosenthal(Signed by Chief Judge Lee H Rosenthal) Parties notified.(olindor,
                        4) (Entered: 06/09/2022)

06/10/2022           80 MOTION for Summary Judgment by Anadarko Petroleum Corporation, Occidental
               (p.1468) Petroleum Corporation, filed. Motion Docket Date 7/1/2022. (Attachments: # 1
                        (p.22) Exhibit 1, # 2 (p.36) Exhibit 2, # 3 (p.38) Exhibit 3, # 4 (p.39) Exhibit 4, # 5
                        (p.80) Exhibit 5, # 6 (p.81) Exhibit 6, # 7 (p.82) Exhibit 7, # 8 (p.83) Exhibit 8, # 9
                        (p.84) Exhibit 9, # 10 (p.85) Exhibit 10, # 11 (p.88) Exhibit 11, # 12 (p.149) Exhibit
                        12, # 13 (p.150) Exhibit 13, # 14 (p.153) Exhibit 14, # 15 (p.201) Exhibit 15, # 16
                        (p.206) Exhibit 16, # 17 (p.209) Exhibit 17, # 18 (p.213) Exhibit 18, # 19 (p.214)
                        Exhibit 19, # 20 (p.215) Exhibit 20, # 21 (p.216) Exhibit 21, # 22 Exhibit 22, # 23
                        (p.241) Exhibit 23, # 24 (p.243) Exhibit 24, # 25 (p.324) Exhibit 25, # 26 (p.428)
                        Exhibit 26, # 27 (p.430) Exhibit 27, # 28 (p.534) Exhibit 28, # 29 (p.536) Exhibit 29,
                        # 30 (p.591) Exhibit 30, # 31 (p.711) Exhibit 31, # 32 (p.722) Exhibit 32, # 33
                        (p.727) Exhibit 33, # 34 (p.728) Exhibit 34, # 35 (p.757) Exhibit 35, # 36 (p.767)
                        Exhibit 36, # 37 Exhibit 37, # 38 (p.768) Exhibit 38, # 39 (p.773) Exhibit 39, # 40
                        (p.774) Exhibit 40, # 41 (p.793) Exhibit 41, # 42 (p.795) Exhibit 42, # 43 (p.797)
                        Exhibit 43, # 44 (p.4848) Exhibit 44, # 45 (p.906) Exhibit 45, # 46 (p.907) Exhibit
                        46, # 47 (p.909) Exhibit 47, # 48 (p.976) Exhibit 48, # 49 (p.977) Exhibit 49, # 50
                        (p.978) Exhibit 50, # 51 (p.979) Exhibit 51, # 52 (p.982) Exhibit 52, # 53 (p.983)
                        Exhibit 53, # 54 (p.984) Exhibit 54, # 55 (p.985) Exhibit 55, # 56 (p.1085) Exhibit
                        56, # 57 (p.1095) Exhibit 57, # 58 (p.1098) Exhibit 58, # 59 (p.1118) Exhibit 59, #
                        60 (p.1142) Exhibit 60, # 61 (p.1143) Exhibit 61, # 62 (p.1144) Exhibit 62, # 63
                        (p.1159) Proposed Order)(Patrick, Kathy) (Entered: 06/10/2022)

06/10/2022           81 MOTION for Summary Judgment by Wells Fargo Bank, N.A., filed. Motion Docket
               (p.2008) Date 7/1/2022. (Attachments: # 1 (p.22) Appendix, # 2 (p.36) Proposed Order)(Hine,
                        Kelly) (Entered: 06/10/2022)

06/10/2022           82 SEALED EXHIBITS re: 80 (p.1468) MOTION for Summary Judgment by
               (p.5126) Anadarko Petroleum Corporation, Occidental Petroleum Corporation, filed.
                        (Attachments: # 1 (p.22) Exhibit 5, # 2 (p.36) Exhibit 8, # 3 (p.38) Exhibit 9, # 4
                        (p.39) Exhibit 10, # 5 (p.80) Exhibit 11, # 6 (p.81) Exhibit 14, # 7 (p.82) Exhibit 19,
                        # 8 (p.83) Exhibit 20, # 9 (p.84) Exhibit 21, # 10 (p.85) Exhibit 23, # 11 (p.88)
                        Exhibit 25, # 12 (p.149) Exhibit 26, # 13 (p.150) Exhibit 29, # 14 (p.153) Exhibit 30,
                        # 15 (p.201) Exhibit 31, # 16 (p.206) Exhibit 33, # 17 (p.209) Exhibit 34, # 18
                        (p.213) Exhibit 35, # 19 (p.214) Exhibit 36, # 20 (p.215) Exhibit 37, # 21 (p.216)
                        Exhibit 38, # 22 Exhibit 39, # 23 (p.241) Exhibit 40, # 24 (p.243) Exhibit 41, # 25
                        (p.324) Exhibit 43, # 26 (p.428) Exhibit 44, # 27 (p.430) Exhibit 45, # 28 (p.534)
                        Exhibit 47, # 29 (p.536) Exhibit 48, # 30 (p.591) Exhibit 50, # 31 (p.711) Exhibit 51,


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                          # 32 (p.722) Exhibit 53, # 33 (p.727) Exhibit 54, # 34 (p.728) Exhibit 56, # 35
                          (p.757) Exhibit 58, # 36 (p.767) Exhibit 59) (Patrick, Kathy) (Entered: 06/10/2022)

06/10/2022           83 SEALED MOTION by Wells Fargo Bank, N.A., filed. (Attachments: # 1 (p.22)
               (p.5300) Appendix, # 2 (p.36) Proposed Order) (Hine, Kelly) (Entered: 06/10/2022)

06/10/2022           84 MOTION to Seal Exhibits to Motion for Summary Judgment by Anadarko
               (p.2415) Petroleum Corporation, Occidental Petroleum Corporation, filed. Motion Docket
                        Date 7/1/2022. (Attachments: # 1 (p.22) Proposed Order)(Patrick, Kathy) (Entered:
                        06/10/2022)

06/14/2022           85 MOTION for Thomas P. DeFranco to Appear Pro Hac Vice by Equiniti Trust
               (p.2422) Company, filed. Motion Docket Date 7/5/2022. (Doyle, Jeremy) (Entered:
                        06/14/2022)

06/14/2022           86 ORDER granting 85 (p.2422) Motion for Thomas P. DeFranco to Appear Pro Hac
               (p.2423) Vice.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                        06/14/2022)

06/14/2022           87 ORDER granting 84 (p.2415) Motion to Seal.(Signed by Chief Judge Lee H
               (p.2424) Rosenthal) Parties notified.(gclair, 4) (Entered: 06/14/2022)

06/14/2022           88 Unopposed MOTION for Jonah Hecht to Withdraw as Attorney by Equiniti Trust
               (p.2426) Company, filed. Motion Docket Date 7/5/2022. (Attachments: # 1 (p.22) Proposed
                        Order)(Doyle, Jeremy) (Entered: 06/14/2022)

06/14/2022           89 ORDER granting 88 (p.2426) Motion to Withdraw as Attorney Jonah R
               (p.2430) Hecht.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                        06/14/2022)

06/21/2022           90 MEMORANDUM AND ORDER entered:; Equiniti's motion to dismiss Wells
               (p.2431) Fargo's counterclaim for lack of personal jurisdiction, (Docket Entry No. 64), is
                        granted. Equiniti's motion to amend the scheduling and docket control order,
                        (Docket Entry No. 78). is denied as moot.(Signed by Chief Judge Lee H Rosenthal)
                        Parties notified.(leddins, 4) (Entered: 06/21/2022)

06/24/2022           91 RESPONSE in Opposition to 80 (p.1468) MOTION for Summary Judgment , filed
               (p.2447) by Wells Fargo Bank, N.A.. (Attachments: # 1 (p.22) Appendix, # 2 (p.36) Proposed
                        Order)(Lindahl, Rebecca) (Entered: 06/24/2022)

06/24/2022           92 MOTION to Seal Appendix by Wells Fargo Bank, N.A., filed. Motion Docket Date
               (p.2666) 7/15/2022. (Attachments: # 1 (p.22) Proposed Order)(McKennon, Megan) (Entered:
                        06/24/2022)

06/24/2022           93 SEALED EXHIBITS Appendix (Exhibit 219) re: 91 (p.2447) Response in
               (p.5369) Opposition to Motion by Wells Fargo Bank, N.A., filed. (McKennon, Megan)
                        (Entered: 06/24/2022)

06/24/2022           94 APPENDIX re: 80 (p.1468) MOTION for Summary Judgment by Anadarko
               (p.2671) Petroleum Corporation, Occidental Petroleum Corporation, filed.(Patrick, Kathy)
                        (Entered: 06/24/2022)

06/24/2022           95 RESPONSE to 81 (p.2008) MOTION for Summary Judgment filed by Anadarko
               (p.2674) Petroleum Corporation, Occidental Petroleum Corporation. (Attachments: # 1 (p.22)
                        Appendix, # 2 (p.36) Exhibit 1, # 3 (p.38) Exhibit 2, # 4 (p.39) Exhibit 3, # 5 (p.80)
                        Exhibit 4, # 6 (p.81) Exhibit 5, # 7 (p.82) Exhibit 5a, # 8 (p.83) Exhibit 6, # 9 (p.84)
                        Exhibit 7, # 10 (p.85) Exhibit 7a, # 11 (p.88) Exhibit 8, # 12 (p.149) Exhibit 9, # 13

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                          (p.150) Exhibit 15, # 14 (p.153) Exhibit 15a, # 15 (p.201) Exhibit 16, # 16 (p.206)
                          Exhibit 17, # 17 (p.209) Exhibit 17a, # 18 (p.213) Exhibit 19, # 19 (p.214) Exhibit
                          20, # 20 (p.215) Exhibit 21, # 21 (p.216) Exhibit 39, # 22 Exhibit 54, # 23 (p.241)
                          Exhibit 63, # 24 (p.243) Exhibit 64, # 25 (p.324) Exhibit 65, # 26 (p.428) Proposed
                          Order)(Patrick, Kathy) (Entered: 06/24/2022)

06/24/2022           96 SEALED EXHIBITS re: 95 (p.2674) Response to Motion,, by Anadarko Petroleum
               (p.5373) Corporation, Occidental Petroleum Corporation, filed. (Attachments: # 1 (p.22)
                        Exhibit 6, # 2 (p.36) Exhibit 8, # 3 (p.38) Exhibit 9, # 4 (p.39) Exhibit 19, # 5 (p.80)
                        Exhibit 20, # 6 (p.81) Exhibit 21, # 7 (p.82) Exhibit 39, # 8 (p.83) Exhibit 54, # 9
                        (p.84) Exhibit 63, # 10 (p.85) Exhibit 64) (Patrick, Kathy) (Entered: 06/24/2022)

06/24/2022           97 Unopposed MOTION to Seal Exhibits to Response to Defendant's Motion for
               (p.3074) Summary Judgment by Anadarko Petroleum Corporation, Occidental Petroleum
                        Corporation, filed. Motion Docket Date 7/15/2022. (Attachments: # 1 (p.22)
                        Proposed Order)(Patrick, Kathy) (Entered: 06/24/2022)

06/27/2022           98 RESPONSE in Opposition to 74 (p.1398) MOTION for Leave to File Third
               (p.3079) Amended Complaint, filed by Wells Fargo Bank, N.A.. (Attachments: # 1 (p.22)
                        Appendix, # 2 (p.36) Proposed Order)(Lindahl, Rebecca) (Entered: 06/27/2022)

06/30/2022           99 ORDER granting 97 (p.3074) Motion to Seal.(Signed by Chief Judge Lee H
               (p.3143) Rosenthal) Parties notified.(JosephWells, 4) (Entered: 06/30/2022)

07/01/2022          100 Supplemental APPENDIX re: 91 (p.2447) Response in Opposition to Motion by
               (p.3144) Wells Fargo Bank, N.A., filed.(Lindahl, Rebecca) (Entered: 07/01/2022)

07/01/2022          101 REPLY to 81 (p.2008) MOTION for Summary Judgment , filed by Wells Fargo
               (p.3336) Bank, N.A.. (Lindahl, Rebecca) (Entered: 07/01/2022)

07/01/2022          102 STIPULATION re: Request for Second Amended Scheduling Order and Docket
               (p.3356) Control Order by Wells Fargo Bank, N.A., filed. (Attachments: # 1 (p.22) Exhibit
                        A)(Lindahl, Rebecca) (Entered: 07/01/2022)

07/01/2022          103 REPLY in Support of 80 (p.1468) MOTION for Summary Judgment , filed by
               (p.3363) Anadarko Petroleum Corporation, Occidental Petroleum Corporation. (Attachments:
                        # 1 (p.22) Appendix, # 2 (p.36) Exhibit 7b, # 3 (p.38) Exhibit 15b, # 4 (p.39) Exhibit
                        16a, # 5 (p.80) Exhibit 17b, # 6 (p.81) Exhibit 66)(Patrick, Kathy) (Entered:
                        07/01/2022)

07/05/2022          104 SECOND AMENDED SCHEDULING AND DOCKET CONTROL ORDER. Oral
               (p.3417) Argument on Pretrial Dispositive Motions set for 7/28/2022 at 10:00 AM by video
                        before Chief Judge Lee H Rosenthal. Pltf Expert Report due by 7/18/2022. Deft
                        Expert Report due by 9/2/2022. Discovery due by 10/14/2022. Mediation due by
                        10/14/2022. Joint Pretrial Order due by 10/13/2022. Docket Call set for 11/7/2022 at
                        09:00 AM in Courtroom 11B before Chief Judge Lee H Rosenthal(Signed by Chief
                        Judge Lee H Rosenthal) Parties notified.(JosephWells, 4) (Entered: 07/05/2022)

07/05/2022          105 REPLY in Support of 74 (p.1398) MOTION for Leave to File Third Amended
               (p.3420) Complaint, filed by Anadarko Petroleum Corporation, Occidental Petroleum
                        Corporation. (Patrick, Kathy) (Entered: 07/05/2022)

07/21/2022          106 MOTION to Expedite In-Person Hearing of Motions for Summary Judgment by
               (p.3429) Occidental Petroleum Corporation, filed. Motion Docket Date 8/11/2022.
                        (Attachments: # 1 (p.22) Proposed Order)(Patrick, Kathy) (Entered: 07/21/2022)



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07/21/2022          107 ORDER entered: Counsel for plaintiffs have requested an in-person hearing for
               (p.3434) arguments on pending motions. (Docket Entry No. 106). The defendants and their
                        counsel, who are in distant states, have asked to appear by Zoom. Hybrid hearings,
                        part Zoom and part in person, are not a viable option. Given the current COVID
                        surge, and the skill and experience of counsel in using Zoom for arguments on
                        motions, the court orders that the hearing be by Zoom. A link will be separately
                        sent.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(leddins, 4) (Entered:
                        07/21/2022)

07/22/2022          108 NOTICE of Resetting. Parties notified. Motion Hearing reset for 8/4/2022 at 02:00
               (p.3435) AM in by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                        provided. (leddins, 4) (Entered: 07/22/2022)

07/22/2022          109 NOTICE of Resetting. Parties notified. Motion Hearing reset for 8/4/2022 at 02:00
               (p.3436) PM by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                        provided. (leddins, 4) (Entered: 07/22/2022)

08/04/2022          110 SUPPLEMENT to 101 (p.3336) Reply by Wells Fargo Bank, N.A.,
               (p.3437) filed.(McKennon, Megan) (Entered: 08/04/2022)

08/04/2022                (Court only) ***Attorney Mark R. Dore for Occidental Petroleum Corporation
                          added. (leddins, 4) (Entered: 08/04/2022)

08/04/2022         111    Minute entry for proceedings before the Hon. Lee H. Rosenthal. Motion hearing held
                          on August 4, 2022. The court heard oral argument on the cross motions for summary
                          judgment and the motion for leave to amend. The court took the motions under
                          advisement. The parties will notify the court by August 10, 2022 if they intend to
                          pursue mediation. Appearances: Kathy Patrick/Mark Dore for Pltf. and Kelly
                          Hine/Rebecca Lindahl/Jeffrey Joyce for Deft. (Court Reporter: D. Smith),
                          filed.(leddins, 4) (Entered: 08/04/2022)

08/04/2022          112 PowerPoint Slides Presented at Hearing on Dispositive Motions Held August 4,
               (p.3441) 2022 by Anadarko Petroleum Corporation, Occidental Petroleum Corporation,
                        filed.(Patrick, Kathy) (Entered: 08/04/2022)

08/15/2022          113 AO 435 TRANSCRIPT REQUEST by Occidental Petroleum/Kathy D. Patrick for
               (p.3499) Transcript of Motion Hearing on 8/4/22 before Judge Rosenthal. Expedited (7 days)
                        turnaround requested. Court Reporter/Transcriber: Veritext Legal Solutions, filed.
                        (Patrick, Kathy) (Entered: 08/15/2022)

08/15/2022          114 AO 435 TRANSCRIPT REQUEST by Rebecca K. Lindahl for Transcript of Motion
               (p.3501) hearing on 8/4/2022 before Judge Rosenthal. Expedited (7 days) turnaround
                        requested. Court Reporter/Transcriber: David Smith, filed. (Lindahl, Rebecca)
                        (Entered: 08/15/2022)

08/15/2022          115 AO 435 TRANSCRIPT REQUEST by Melissa Westbrook for Transcript of
               (p.3503) Hearing,08/04/22, Judge Lee H Rosenthal. Expedited (7 days) turnaround requested.
                        Court Reporter/Transcriber: David Smith, filed. (BrendaLacy, 4) (Entered:
                        08/16/2022)

08/18/2022          116 MEMORANDUM AND ORDER entered: Occidental's motion for summary
               (p.3505) judgment, (Docket Entry No. 80), is granted as to liability for the breach of contract
                        claim, and granted as to the dismissal of the Wells Fargo counterclaim. Wells
                        Fargo's motion for summary judgment is denied. (Docket Entry No. 81). The motion
                        for leave to amend and the motions to seal are granted. (Docket Entry Nos. 74, 83,
                        92). No later than September 9, 2022, the parties must provide a proposed amended

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                          scheduling order, agreed upon if possible, to resolve the remaining issues.(Signed by
                          Chief Judge Lee H Rosenthal) Parties notified.(leddins, 4) (Entered: 08/18/2022)

08/23/2022          117 TRANSCRIPT re: Motion Hearing held on 08/04/2022 before Chief Judge Lee H
               (p.4914) Rosenthal. Court Reporter/Transcriber David S. Smith. Ordering Party Kathy
                        Patrick, Rebecca Lindahl, Melissa Westbrook Release of Transcript Restriction set
                        for 11/21/2022., filed. (Smith, David) (Entered: 08/23/2022)

08/24/2022          118 Notice of Filing of Official Transcript as to 117 (p.4914) Transcript,. Party notified,
               (p.3543) filed. (jdav, 4) (Entered: 08/24/2022)

09/01/2022          119 ANSWER to 76 (p.1442) Amended Complaint/Counterclaim/Crossclaim etc.,
               (p.3544) COUNTERCLAIM against Anadarko Petroleum Corporation, Occidental Petroleum
                        Corporation by Wells Fargo & Company, filed.(Lindahl, Rebecca) (Entered:
                        09/01/2022)

09/09/2022          120 Joint PROPOSED ORDER Scheduling Orders, filed. (Attachments: # 1 (p.22)
               (p.3572) Exhibit A- Plaintiffs' Proposed Scheduling Order, # 2 (p.36) Exhibit B- Defendant's
                        Proposed Scheduling Order)(Lindahl, Rebecca) (Entered: 09/09/2022)

09/14/2022          121 THIRD AMENDED SCHEDULING ORDER. Discovery due by 10/14/2022. Joint
               (p.3584) Pretrial Order due by 11/30/2022. Docket Call set for 12/7/2022 at 09:00 AM in
                        Courtroom 11B before Chief Judge Lee H Rosenthal(Signed by Chief Judge Lee H
                        Rosenthal) Parties notified.(rguerrero, 4) (Entered: 09/14/2022)

09/23/2022          122 MOTION for Summary Judgment on Damages by Occidental Petroleum
               (p.3588) Corporation, filed. Motion Docket Date 10/14/2022. (Attachments: # 1 (p.22)
                        Exhibit 1, # 2 (p.36) Exhibit 2, # 3 (p.38) Exhibit 3, # 4 (p.39) Exhibit 4, # 5 (p.80)
                        Exhibit 5, # 6 (p.81) Exhibit 6, # 7 (p.82) Exhibit 7, # 8 (p.83) Exhibit 8, # 9 (p.84)
                        Exhibit 9, # 10 (p.85) Exhibit 10, # 11 (p.88) Proposed Order)(Patrick, Kathy)
                        (Entered: 09/23/2022)

09/23/2022          123 SEALED EXHIBITS 6, 7, and 8 re: 122 (p.3588) MOTION for Summary Judgment
               (p.5402) on Damages by Occidental Petroleum Corporation, filed. (Attachments: # 1 (p.22)
                        Exhibit 7, # 2 (p.36) Exhibit 8) (Patrick, Kathy) (Entered: 09/23/2022)

09/23/2022          124 MOTION to Seal Exhibits by Occidental Petroleum Corporation, filed. Motion
               (p.3903) Docket Date 10/14/2022. (Attachments: # 1 (p.22) Proposed Order)(Patrick, Kathy)
                        (Entered: 09/23/2022)

09/28/2022          125 ORDER granting 124 (p.3903) Motion to Seal.(Signed by Chief Judge Lee H
               (p.3908) Rosenthal) Parties notified.(kpicota, 4) (Entered: 09/28/2022)

10/14/2022          126 NOTICE of Setting. Parties notified. Pre-Motion Conference set for 10/18/2022 at
               (p.3909) 11:00 AM by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                        provided. (leddins, 4) (Entered: 10/14/2022)

10/14/2022          127 RESPONSE in Opposition to 122 (p.3588) MOTION for Summary Judgment on
               (p.3910) Damages, filed by Wells Fargo Bank, N.A.. (Attachments: # 1 (p.22) Appendix, # 2
                        (p.36) Declaration of Megan McKennon, # 3 (p.38) Declaration of Rebecca Lindahl,
                        # 4 (p.39) Declaration of Nikki Tanner, # 5 (p.80) Declaration of David Blackwell, #
                        6 (p.81) Declaration of Joseph Thomas)(Lindahl, Rebecca) (Entered: 10/14/2022)

10/17/2022          128 NOTICE of Resetting. Parties notified. Pre-Motion Conference reset for 10/19/2022
               (p.4134) at 11:15 AM by video before Chief Judge Lee H Rosenthal, filed. (leddins, 4)
                        (Entered: 10/17/2022)


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10/18/2022          129 NOTICE of Resetting. Parties notified. Pre-Motion Conference reset for 10/26/2022
               (p.4135) at 03:30 PM by video before Chief Judge Lee H Rosenthal, filed. (leddins, 4)
                        (Entered: 10/18/2022)

10/21/2022          130 REPLY in Support of 122 (p.3588) MOTION for Summary Judgment on Damages,
               (p.4136) filed by Anadarko Petroleum Corporation, Occidental Petroleum Corporation.
                        (Patrick, Kathy) (Entered: 10/21/2022)

10/26/2022          131 NOTICE of Resetting. Parties notified. Pre-Motion Conference reset for 11/2/2022
               (p.4157) at 09:30 AM by video before Chief Judge Lee H Rosenthal, filed. (ClaudiaGutierrez,
                        4) (Entered: 10/26/2022)

11/01/2022          132 NOTICE of Appearance by Johnjerica Hodge on behalf of Wells Fargo Bank, N.A.,
               (p.4158) filed. (Hodge, Johnjerica) (Entered: 11/01/2022)

11/02/2022          133 Wells Fargo Presentation for Hearing on Motion for Summary Judgment on
               (p.4159) Damages by Wells Fargo Bank, N.A., filed.(Hodge, Johnjerica) (Entered:
                        11/02/2022)

11/02/2022         137    Minute entry for proceedings before the Hon. Lee H. Rosenthal. Pre-motion
                          conference and hearing on the motion for summary judgment (Docket Entry No.
                          122) held on November 2, 2022. Because Wells Fargo has identified a narrow set of
                          questions, the court will allow a short deposition on the plaintiffs 30(b)(6)
                          representative. Wells Fargo may take no longer than 1 hour to depose the witness.
                          Occidental and Anadarko may take no longer than an hour to redirect the witness.
                          The deadline to complete this deposition is November 21, 2022. The parties will
                          submit a status report shortly after as to the effect of the additional deposition on the
                          pending motion for summary judgment. The status report is limited to 10 pages,
                          including exhibits. The court will not compel plaintiffs to submit additional
                          interrogatory responses. The court heard argument on the motion for summary
                          judgment on damages. That motion remains under consideration. Appearances:
                          Kathy Patrick/Mark Dore for Pltf. and Christian Kemnitz/Rebecca Lindahl/ Megan
                          McKennon/Johnjerica Hodge for Deft.(Court Reporter: N. Forrest), filed.(leddins, 4)
                          (Entered: 11/04/2022)

11/03/2022          134 AO 435 TRANSCRIPT REQUEST by Occidental Petroleum Corp. for Transcript of
               (p.4176) Pre-Motion Conference on 11/2/2022 before Judge Rosenthal. 3-Day turnaround
                        requested. Court Reporter/Transcriber: Nichole Forrest, filed. (Dore, Mark)
                        (Entered: 11/03/2022)

11/03/2022          135 AO 435 TRANSCRIPT REQUEST by Melissa Westbrook for Transcript of Hearing
               (p.4178) held on 11/2/22. 3-Day turnaround requested. Court Reporter/Transcriber: Nichole
                        Forrest, filed. (RachelWillborg, 4) (Entered: 11/03/2022)

11/03/2022          136 AO 435 TRANSCRIPT REQUEST by Rebecca K. Lindahl for Transcript of
               (p.4180) Pre-Motion Conference 11/2/22 Judge Rosenthal. 3-Day turnaround requested.
                        Court Reporter/Transcriber: Nichole Forrest, filed. (Lindahl, Rebecca) (Entered:
                        11/03/2022)

11/08/2022          138 TRANSCRIPT re: Hearing held on 11/2/22 before Chief Judge Lee H Rosenthal.
               (p.4997) Court Reporter/Transcriber Nichole Forrest, RDR, CRR, CRC. Release of Transcript
                        Restriction set for 2/6/2023., filed. (Forrest, Nichole) (Entered: 11/08/2022)

11/09/2022          139 Notice of Filing of Official Transcript as to 138 (p.4997) Transcript. Party notified,
               (p.4182) filed. (HeatherCarr, 4) (Entered: 11/09/2022)



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11/15/2022          140 STIPULATION re: Supplemental Deposition of Plaintiffs by Wells Fargo Bank,
               (p.4183) N.A., filed.(Lindahl, Rebecca) (Entered: 11/15/2022)

11/16/2022          141 NOTICE of Resetting. Parties notified. Docket Call reset for 2/24/2023 at 09:30 AM
               (p.4188) by video before Chief Judge Lee H Rosenthal, filed. The joint pretrial order is due
                        by 2/17/23. (leddins, 4) (Entered: 11/16/2022)

11/22/2022          142 SUPPLEMENT to 122 (p.3588) MOTION for Summary Judgment on Damages by
               (p.4189) Occidental Petroleum Corporation, filed. (Attachments: # 1 (p.22) Exhibit
                        A)(Patrick, Kathy) (Entered: 11/22/2022)

11/23/2022          143 SUPPLEMENT to 127 (p.3910) Response in Opposition to Motion, by Wells Fargo
               (p.4200) Bank, N.A., filed.(Lindahl, Rebecca) (Entered: 11/23/2022)

02/15/2023          144 NOTICE of Appearance by Ayesha Najam on behalf of Anadarko Petroleum
               (p.4210) Corporation, Occidental Petroleum Corporation, filed. (Najam, Ayesha) (Entered:
                        02/15/2023)

02/22/2023          145 ORDER entered: The court cancels the joint pretrial order deadline and the docket
               (p.4212) call setting, pending the ruling on the defendant's motion for summary judgment.
                        The joint pretrial order filing deadline and date for docket call will be reset, if
                        appropriate, after the motion is resolved. Deadlines terminated.(Signed by Judge Lee
                        H Rosenthal) Parties notified.(leddins, 4) (Entered: 02/22/2023)

03/31/2023          146 SUPPLEMENT to 127 (p.3910) Response in Opposition to Motion, 143 (p.4200)
               (p.4213) Supplement, 122 (p.3588) MOTION for Summary Judgment on Damages by Wells
                        Fargo Bank, N.A., filed.(Hine, Kelly) (Entered: 03/31/2023)

04/04/2023          147 SUPPLEMENT to 122 (p.3588) MOTION for Summary Judgment on Damages by
               (p.4227) Occidental Petroleum Corporation, filed.(Patrick, Kathy) (Entered: 04/04/2023)

05/31/2023          148 MEMORANDUM AND ORDER entered: Occidental's motion for summary
               (p.4231) judgment, (Docket Entry No. 122), is granted. Judgment is entered in the amount of
                        $38,008,313, with prejudgment interest accruing at a rate of 5.5 percent as of
                        January 25, 2021, and postjudgment interest accruing at a rate of 5.15 percent as of
                        the date of this judgment, per annum. Occidental's motion for attorney's fees and the
                        accompanying affidavits must be filed no later than July 7, 2023. Wells Fargo must
                        respond no later than August 4, 2023. Final judgment will be entered separately. See
                        FED. R. CIV. P. 54(d)(2), 58(a). (Signed by Judge Lee H Rosenthal) Parties
                        notified.(leddins, 4) (Entered: 05/31/2023)

05/31/2023          149 FINAL JUDGMENT entered. Case terminated on 5/31/23.(Signed by Judge Lee H
               (p.4252) Rosenthal) Parties notified.(leddins, 4) (Entered: 05/31/2023)

06/07/2023          150 Unopposed MOTION for Relief from Judgment by Occidental Petroleum
               (p.4253) Corporation, filed. Motion Docket Date 6/28/2023. (Attachments: # 1 (p.22)
                        Proposed Order)(Patrick, Kathy) (Entered: 06/07/2023)

06/07/2023          151 FINAL JUDGMENT entered granting docket entry no 150 to correct the judgment.
               (p.4259) (Signed by Judge Lee H Rosenthal) Parties notified.(leddins, 4) (Entered:
                        06/07/2023)

06/07/2023                (Court only) ***Motion(s) terminated: 150 (p.4253) Unopposed MOTION for
                          Relief from Judgment. (leddins, 4) (Entered: 06/07/2023)

06/14/2023          152 BILL OF COSTS in total amount $$79,899.96 by Anadarko Petroleum Corporation,
               (p.4261) Occidental Petroleum Corporation, filed. (Attachments: # 1 (p.22) Exhibit 1 -

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                          Declaration of Angus J. Dodson, # 2 (p.36) Exhibit 1A, # 3 (p.38) Exhibit 1B, # 4
                          (p.39) Exhibit 1C)(Dodson, Angus) (Entered: 06/14/2023)

06/21/2023          153 OBJECTIONS to 152 (p.4261) Bill of Costs, , filed by Wells Fargo Bank, N.A..
               (p.4343) (Lindahl, Rebecca) (Entered: 06/21/2023)

06/26/2023          154 RESPONSE to 153 (p.4343) Objections to Plaintiffs' Bill of Costs, filed by
               (p.4350) Anadarko Petroleum Corporation, Occidental Petroleum Corporation. (Attachments:
                        # 1 (p.22) Exhibit 1 - Supplemental Declaration of Angus J. Dodson)(Dodson,
                        Angus) (Entered: 06/26/2023)

06/30/2023                (Court only) ***(PRIVATE ENTRY) No action taken on bill of costs, pending
                          objection. (HeatherCarr, 4) (Entered: 06/30/2023)

06/30/2023          155 NOTICE OF APPEAL to US Court of Appeals for the Fifth Circuit re: 149 (p.4252)
               (p.4359) Final Judgment, 151 (p.4259) Final Judgment by Wells Fargo Bank, N.A. (Filing fee
                        $ 505, receipt number ATXSDC-30148857), filed.(Lindahl, Rebecca) (Entered:
                        06/30/2023)

07/03/2023          156 Clerks Notice of Filing of an Appeal. The following Notice of Appeal and related
               (p.4362) motions are pending in the District Court: 155 (p.4359) Notice of Appeal. Fee status:
                        Paid. Reporter(s): F. Warner, filed. (DorinaReyna, 1) (Entered: 07/03/2023)

07/03/2023                Appeal Review Notes re: 155 (p.4359) Notice of Appeal. Fee status: Paid. The
                          appeal filing fee has been paid or an ifp motion has been granted.Hearings were held
                          in the case. DKT13 transcript order form(s) due within 14 days of the filing of the
                          notice of appeal.Hearings were held in the case - transcripts were produced. Number
                          of DKT-13 Forms expected: 1, filed.(DorinaReyna, 1) (Entered: 07/03/2023)

07/06/2023                Notice of Assignment of USCA No. 23-20318 re: 155 (p.4359) Notice of Appeal,
                          filed.(EdnitaPonce, 1) (Entered: 07/06/2023)

07/07/2023          157 MOTION for Attorney Fees by Anadarko Petroleum Corporation, Occidental
               (p.4363) Petroleum Corporation, filed. Motion Docket Date 7/28/2023. (Attachments: # 1
                        (p.22) Exhibit 1 - Declaration of Kathy Patrick, # 2 (p.36) Exhibit A, # 3 (p.38)
                        Exhibit 2, # 4 (p.39) Exhibit 3, # 5 (p.80) Exhibit 4)(Dodson, Angus) (Entered:
                        07/07/2023)

07/12/2023          158 DKT13 TRANSCRIPT ORDER REQUEST by Wells Fargo. This is to order a
               (p.4785) transcript of 7/30/2021 Conference before Judge Rosenthal. Court
                        Reporter/Transcriber: Fred Warner. This order form relates to the following: 22
                        Scheduling Conference,, filed.(Hodge, Johnjerica) (Entered: 07/12/2023)

07/20/2023          159 APPEAL TRANSCRIPT re Initial Conference (By Zoom) held on July 30, 2021
               (p.4838) before Judge Lee H Rosenthal. Court Reporter/Transcriber FWarner. Ordering Party:
                        Johnjerica Hodge. This transcript relates to the following: 158 (p.4785) Appeal
                        Transcript Request,. Release of Transcript Restriction set for 10/18/2023., filed.
                        (Warner, Fred) (Entered: 07/20/2023)

07/21/2023          160 Notice of Filing of Official Transcript as to 159 (p.4838) Transcript - Appeal. Party
               (p.4787) notified, filed. (MayraMarquez, 4) (Entered: 07/21/2023)

07/21/2023          161 Unopposed MOTION to Stay Execution or Enforcement of Judgment by Wells
               (p.4788) Fargo Bank, N.A., filed. Motion Docket Date 8/11/2023. (McKennon, Megan)
                        (Entered: 07/21/2023)

07/21/2023

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                    162 PROPOSED ORDER re: 161 (p.4788) Unopposed MOTION to Stay Execution or
               (p.4794) Enforcement of Judgment, filed.(McKennon, Megan) (Entered: 07/21/2023)

07/24/2023          163 ORDER Granting Motion to Stay Execution or Enforcement of Judgment and
               (p.4795) Approval of Supersedeas Bond granting 161 (p.4788) . Enforcement of or execution
                        of the Court's 6/7/2023 judgment is stayed pending appeal. (Signed by Judge Lee H
                        Rosenthal) Parties notified. (ghassan, 4) (Entered: 07/24/2023)

07/27/2023          164 Unopposed MOTION for Kelly D. Hine to Withdraw as Attorney by Wells Fargo
               (p.4796) Bank, N.A., filed. Motion Docket Date 8/17/2023. (Attachments: # 1 (p.22)
                        Proposed Order)(Hine, Kelly) (Entered: 07/27/2023)

07/27/2023          165 Order of USCA re: 155 (p.4359) Notice of Appeal ; USCA No. 23-20318. The court
               (p.4800) has granted the unopposed motion of Attorney Mr. Kelly D. Hine to withdraw as
                        Appellant's counsel of record in this case, filed. (SaraCelis, 1) (Entered: 07/28/2023)

08/02/2023          166 ORDER granting 164 (p.4796) Unopposed MOTION for Kelly D. Hine to Withdraw
               (p.4801) as Attorney, Attorney Kelly Dean Hine terminated(Signed by Judge Lee H
                        Rosenthal) Parties notified.(JacquelineMata, 4) (Entered: 08/02/2023)

08/04/2023          167 OBJECTIONS to 157 (p.4363) MOTION for Attorney Fees , filed by Wells Fargo
               (p.4802) Bank, N.A.. (Attachments: # 1 (p.22) Declaration)(Lindahl, Rebecca) (Entered:
                        08/04/2023)

08/09/2023                (Court only) ***(PRIVATE ENTRY) ROA requested from USCA, due on
                          08/23/2023, filed. (DahlilaRodriguez, 1) (Entered: 08/09/2023)




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                                                                                           APPEAL,CLOSED
                                 U.S. District Court
                       SOUTHERN DISTRICT OF TEXAS (Houston)
                       CIVIL DOCKET FOR CASE #: 4:21-cv-01126
                                  Internal Use Only

Occidental Petroleum Corporation v. Wells Fargo Bank, N.A.        Date Filed: 04/06/2021
Assigned to: Chief Judge Lee H Rosenthal                          Date Terminated: 05/31/2023
Cause: 28:1330 Breach of Contract                                 Jury Demand: Plaintiff
                                                                  Nature of Suit: 190 Contract: Other
                                                                  Jurisdiction: Diversity
Plaintiff
Occidental Petroleum Corporation                  represented by Angus Joseph Dodson
                                                                 Gibbs and Bruns LLP
                                                                 1100 Louisiana
                                                                 Ste 5300
                                                                 Houston, TX 77002
                                                                 713-650-8805
                                                                 Email: jdodson@gibbsbruns.com
                                                                 ATTORNEY TO BE NOTICED

                                                                  Ayesha Najam
                                                                  Gibbs Bruns LLP
                                                                  1100 Louisiana
                                                                  Suite 5300
                                                                  Houston, TX 77002
                                                                  713-650-8805
                                                                  Fax: 713-750-0903
                                                                  Email: anajam@gibbsbruns.com
                                                                  ATTORNEY TO BE NOTICED

                                                                  Mark R. Dore
                                                                  Gibbs & Bruns LLP
                                                                  1100 Louisiana Street
                                                                  Ste. 5300
                                                                  Houston, TX 77002
                                                                  713-650-8805
                                                                  Email: mdore@gibbsbruns.com
                                                                  ATTORNEY TO BE NOTICED

                                                                  Kathy Dawn Patrick
                                                                  Gibbs Bruns LLP
                                                                  1100 Louisiana St
                                                                  Ste 5300
                                                                  Houston, TX 77002
                                                                  713-650-8805
                                                                  Fax: 713-750-0903
                                                                  Email: kpatrick@gibbsbruns.com
                                                                  ATTORNEY TO BE NOTICED

                                                                                                  23-20318.5461
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V.
Defendant
Wells Fargo Bank, N.A.                  represented by Johnjerica Hodge
                                                       Katten Muchin Rosenman
                                                       2900 K Street NW
                                                       North Tower
                                                       Suite 200
                                                       Washington, DC 20007
                                                       202-625-3710
                                                       Email: johnjerica.hodge@katten.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Christian Kemnitz
                                                       Katten Muchin Rosenman LLP
                                                       525 West Monroe St
                                                       Chicago, IL 60061
                                                       (312) 902-5379
                                                       Email: christian.kemnitz@katten.com
                                                       ATTORNEY TO BE NOTICED

                                                       Jeffrey Lloyd Joyce
                                                       Joyce McFarland LLP
                                                       712 Main St.
                                                       Ste 1500
                                                       Houston, TX 77002
                                                       713-222-1113
                                                       Fax: 713-513-5577
                                                       Email: jjoyce@jmlawyers.com
                                                       ATTORNEY TO BE NOTICED

                                                       Kelly D. Hine
                                                       Katten Muchin Rosenman LLP
                                                       212 North Pearl Street
                                                       Suite 110
                                                       Dallas, TX 75201
                                                       214-765-3600
                                                       Email: kelly.hine@kdhpc.com
                                                       TERMINATED: 08/02/2023
                                                       ATTORNEY TO BE NOTICED

                                                       Megan Crosby McKennon
                                                       Katten
                                                       2121 North Pearl Street
                                                       Suite 1100
                                                       Dallas, TX 75201-2591
                                                       214-765-3614
                                                       Email: megan.mckennon@katten.com
                                                       ATTORNEY TO BE NOTICED

                                                       Rebecca K Lindahl

                                                                                     23-20318.5462
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                                                           Katten Muchin et al
                                                           550 S. Tryon Street, Suite 2900
                                                           Charlotte, NC 28202
                                                           (704) 344-3141
                                                           Email: rebecca.lindahl@katten.com
                                                           ATTORNEY TO BE NOTICED

Intervenor Plaintiff
Anadarko Petroleum Corporation              represented by Angus Joseph Dodson
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Ayesha Najam
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Kathy Dawn Patrick
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Third Party Defendant
Equiniti Trust Company

ThirdParty Plaintiff
Wells Fargo Bank, N.A.                      represented by Christian Kemnitz
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Jeffrey Lloyd Joyce
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Kelly D. Hine
                                                           (See above for address)
                                                           TERMINATED: 08/02/2023
                                                           ATTORNEY TO BE NOTICED

                                                           Rebecca K Lindahl
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Third Party Defendant
Equiniti Trust Company                      represented by Jeremy L Doyle
                                                           Reynolds Frizzell LLP
                                                           1100 Louisiana St
                                                           Ste 3500
                                                           Houston, TX 77002
                                                           713-485-7200
                                                           Fax: 713-485-7250
                                                           Email: jdoyle@reynoldsfrizzell.com
                                                           LEAD ATTORNEY

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                                                        ATTORNEY TO BE NOTICED

                                                        Andrew J Melnick
                                                        Murphy & McGonigle PC
                                                        1185 Avenue of the Americas, 21st Floor
                                                        New York, NY 10036
                                                        212-880-3999
                                                        Email: amelnick@mmlawus.com
                                                        ATTORNEY TO BE NOTICED

                                                        Frederic M Krieger
                                                        Stradley Ronon Stevens & Young, LLP
                                                        100 Park Avenue
                                                        Suite 2000
                                                        New York, NY 10017
                                                        212-540-4568
                                                        Email: FredericKrieger@dwt.com
                                                        ATTORNEY TO BE NOTICED

                                                        Jonah R Hecht
                                                        Murphy & McGonigle, P.C.
                                                        1185 Avenue of the Americas
                                                        21st Floor
                                                        New York, NY 10036
                                                        212-880-3582
                                                        Email: jhecht@mmlawus.com
                                                        TERMINATED: 06/14/2022
                                                        ATTORNEY TO BE NOTICED

                                                        Thomas P DeFranco
                                                        McGonigle PC
                                                        1001 G St NW, 7th Floor
                                                        Washington
                                                        202-220-1928
                                                        Email: tdefranco@mmlawus.com
                                                        ATTORNEY TO BE NOTICED

ThirdParty Plaintiff
Wells Fargo Bank, N.A.                   represented by Christian Kemnitz
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Jeffrey Lloyd Joyce
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Kelly D. Hine
                                                        (See above for address)
                                                        TERMINATED: 08/02/2023
                                                        ATTORNEY TO BE NOTICED

                                                        Rebecca K Lindahl
                                                        (See above for address)

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                                                             ATTORNEY TO BE NOTICED

Counter Claimant
Wells Fargo Bank, N.A.                        represented by Christian Kemnitz
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Jeffrey Lloyd Joyce
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Kelly D. Hine
                                                             (See above for address)
                                                             TERMINATED: 08/02/2023
                                                             ATTORNEY TO BE NOTICED

                                                             Rebecca K Lindahl
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


V.
Counter Defendant
Occidental Petroleum Corporation              represented by Kathy Dawn Patrick
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Counter Claimant
Wells Fargo Bank, N.A.                        represented by Christian Kemnitz
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Jeffrey Lloyd Joyce
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Kelly D. Hine
                                                             (See above for address)
                                                             TERMINATED: 08/02/2023
                                                             ATTORNEY TO BE NOTICED

                                                             Rebecca K Lindahl
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


V.
Counter Defendant
Occidental Petroleum Corporation              represented by Kathy Dawn Patrick
                                                             (See above for address)

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                                                                     ATTORNEY TO BE NOTICED

Counter Claimant
Wells Fargo & Company


V.
Counter Defendant
Anadarko Petroleum Corporation                      represented by Kathy Dawn Patrick
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

Counter Defendant
Occidental Petroleum Corporation                    represented by Mark R. Dore
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                     Kathy Dawn Patrick
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED


 Date Filed         #       Docket Text

 04/06/2021             1   COMPLAINT against Wells Fargo Bank, N.A. (Filing fee $ 402 receipt number
                            0541-26233094) filed by Occidental Petroleum Corp.. (Attachments: # 1 Civil Cover
                            Sheet)(Patrick, Kathy) (Entered: 04/06/2021)

 04/07/2021             2   ORDER FOR CONFERENCE. Initial Conference set for 7/6/2021 at 10:30 AM in
                            Room 11122 before Judge Lynn N Hughes (Signed by Judge Lynn N Hughes)
                            Parties notified.(JacquelineMataadi, 4) (Entered: 04/07/2021)

 04/07/2021             3   ORDER OF RECUSAL. Judge Lynn N Hughes recused. Case reassigned to Chief
                            Judge Lee H Rosenthal for all further proceedings. (Signed by Judge Lynn N
                            Hughes) Parties notified. (ghassan, 4) (Entered: 04/07/2021)

 04/09/2021             4   ORDER Scheduling Rule 16 Conference With the Court and Setting Out the
                            Requirements for Initial Pretrial Work. Initial Conference set for 7/30/2021 at 10:00
                            AM in Courtroom 11B before Chief Judge Lee H Rosenthal(Signed by Chief Judge
                            Lee H Rosenthal) (Attachments: # 1 Supplement) Parties notified.(leddins, 4)
                            (Entered: 04/09/2021)

 05/04/2021             5   NOTICE of Appearance by Kelly D. Hine on behalf of Wells Fargo Bank, N.A.,
                            filed. (Hine, Kelly) (Entered: 05/04/2021)

 05/04/2021             6   MOTION for Christian Kemnitz to Appear Pro Hac Vice by Wells Fargo Bank,
                            N.A., filed. Motion Docket Date 5/25/2021. (Hine, Kelly) (Entered: 05/04/2021)

 05/04/2021             7   MOTION for Rebecca K. Lindahl to Appear Pro Hac Vice by Wells Fargo Bank,
                            N.A., filed. Motion Docket Date 5/25/2021. (Hine, Kelly) (Entered: 05/04/2021)

 05/04/2021             8   ORDER granting 6 Motion for Christian Kemnitz to Appear Pro Hac Vice.(Signed
                            by Chief Judge Lee H Rosenthal) Parties notified.(gkelner, 4) (Entered: 05/04/2021)


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05/04/2021           9   ORDER granting 7 Motion for Rebecca K. Lindahl to Appear Pro Hac Vice.(Signed
                         by Chief Judge Lee H Rosenthal) Parties notified.(gkelner, 4) (Entered: 05/04/2021)

06/03/2021          10   STIPULATION re: to Extend Certain Pleading Deadlines by Wells Fargo Bank,
                         N.A., filed.(Joyce, Jeffrey) (Entered: 06/03/2021)

06/21/2021          11   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM AND BRIEF IN
                         SUPPORT by Wells Fargo Bank, N.A., filed. Motion Docket Date 7/12/2021.
                         (Attachments: # 1 Exhibit A, # 2 Proposed Order)(Hine, Kelly) (Entered:
                         06/21/2021)

06/22/2021          12   NOTICE of Appearance by Jeff Joyce on behalf of Wells Fargo Bank, N.A., filed.
                         (Joyce, Jeffrey) (Entered: 06/22/2021)

06/29/2021          13   DEMAND for Trial by Jury by Occidental Petroleum Corporation, filed.(Dodson,
                         Angus) (Entered: 06/29/2021)

07/13/2021          14   First AMENDED COMPLAINT with Jury Demand against Wells Fargo Bank, N.A.
                         filed by Occidental Petroleum Corporation. (Attachments: # 1 Exhibit 1)(Patrick,
                         Kathy) (Entered: 07/13/2021)

07/15/2021          15   Joint MOTION to Amend 4 Order for Initial Conference, by Occidental Petroleum
                         Corporation, filed. Motion Docket Date 8/5/2021. (Attachments: # 1 Proposed
                         Order)(Patrick, Kathy) (Entered: 07/15/2021)

07/15/2021          18   ORDER granting 15 Motion. Each Party will file a certificate listing all persons that
                         are financially interested in the outcome of this litigation, consistent with the
                         requirements of the Order, not later than July 16, 2021. The parties will file a Joint
                         Discovery/Case Management Plan and a Joint Scheduling and Docket Control Order
                         not later than 10 a.m. on July 22, 2021. The Parties will exchange initial disclosures
                         pursuant to Rule 26(a)(1) not later than August 6, 2021. (Signed by Chief Judge Lee
                         H Rosenthal) Parties notified.(ShoshanaArnow, 4) (Entered: 07/19/2021)

07/16/2021          16   CERTIFICATE OF INTERESTED PARTIES by Occidental Petroleum Corporation,
                         filed.(Patrick, Kathy) (Entered: 07/16/2021)

07/16/2021          17   CERTIFICATE OF INTERESTED PARTIES by Wells Fargo Bank, N.A.,
                         filed.(Hine, Kelly) (Entered: 07/16/2021)

07/19/2021          19   ORDER denying as moot 11 Motion to Dismiss for Failure to State a Claim.(Signed
                         by Chief Judge Lee H Rosenthal) Parties notified.(gkelner, 4) (Entered: 07/19/2021)

07/22/2021          20   NOTICE of Resetting. Parties notified. Initial Conference reset for 7/30/2021 at
                         10:10 AM by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                         provided for participation. (leddins, 4) (Entered: 07/22/2021)

07/22/2021          21   JOINT DISCOVERY/CASE MANAGEMENT PLAN by Occidental Petroleum
                         Corporation, filed. (Attachments: # 1 Exhibit 1)(Patrick, Kathy) (Entered:
                         07/22/2021)

07/30/2021          22   Minute entry for proceedings before the Hon. Lee H. Rosenthal. Initial conference
                         held on July 30, 2021. The court will separately enter a scheduling and docket
                         control order, as stated in detail on the record Appearances: Kathy Patrick, Christian
                         Kemnitz, Rebecca Lindahl, Jeffrey Joyce.(Court Reporter: F. Warner),
                         filed.(leddins, 4) (Entered: 07/30/2021)

07/30/2021          23


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                         SCHEDULING ORDER. Motion to Dismiss due by 9/6/2021. Response to Motion
                         to Dismiss due by 9/14/2021. Reply in Support of Motion to Dismiss due by
                         10/1/2021. Motion to Dismiss Oral Argument due by 10/6/2021. Stipulated Facts
                         due by 11/19/2021. Mediation due by 12/17/2021. Pretrial Dispositive Motion Filing
                         due by 1/14/2022. Responses to Pretrial Dispositive Motion due by 2/4/2022. Reply
                         in Support due by 2/25/2022. Stipulated Facts due by by 11/19/2021 Oral Argument
                         on the Pretrial Dispositive Motion set for 3/11/2022 at 10:00 AM by Zoom.(Signed
                         by Chief Judge Lee H Rosenthal) Parties notified.(olindor, 4) (Entered: 08/02/2021)

09/06/2021          24   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM (as to Second and
                         Third Claims) by Wells Fargo Bank, N.A., filed. Motion Docket Date 9/27/2021.
                         (Attachments: # 1 Exhibit A- Trust Agreement, # 2 Exhibit B- Email, # 3 Proposed
                         Order)(Hine, Kelly) (Entered: 09/06/2021)

09/06/2021          25   THIRD PARTY COMPLAINT against Equiniti Trust Company filed by Wells
                         Fargo Bank, N.A.. (Attachments: # 1 Exhibit 1- Trust Agreement, # 2 Exhibit 2-
                         Executed TA Agreement, # 3 Exhibit 3- EQ Signing Index, # 4 Exhibit 4- Bill of
                         Sale)(Hine, Kelly) (Entered: 09/06/2021)

09/06/2021          26   Request for Issuance of Summons as to Equiniti Trust Company, filed.(Hine, Kelly)
                         (Entered: 09/06/2021)

09/06/2021          27   ANSWER to 14 Amended Complaint/Counterclaim/Crossclaim etc., THIRD
                         PARTY COMPLAINT against Equiniti Trust Company, COUNTERCLAIM against
                         Occidental Petroleum Corporation by Wells Fargo Bank, N.A., filed. (Attachments:
                         # 1 Exhibit 1- Trust Agreement, # 2 Exhibit 2- Executed TA Agreement, # 3 Exhibit
                         3- EQ Signing Index, # 4 Exhibit 4- Bill of Sale)(Hine, Kelly) (Entered: 09/06/2021)

09/08/2021          28   Summons Issued as to Equiniti Trust Company. Issued summons delivered to
                         plaintiff by NEF, filed.(hlerma, 4) (Entered: 09/08/2021)

09/24/2021          29   MOTION to Dismiss Counterclaim by Occidental Petroleum Corporation, filed.
                         Motion Docket Date 10/15/2021. (Attachments: # 1 Exhibit 1, # 2 Proposed
                         Order)(Patrick, Kathy) (Entered: 09/24/2021)

09/24/2021          30   RESPONSE to Defendant's Motion to Dismiss First Amended Complaint, filed by
                         Occidental Petroleum Corporation. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                         Proposed Order)(Patrick, Kathy) (Entered: 09/24/2021)

09/24/2021               ***Set/Reset Hearings: Motion Hearing set for 10/6/2021 at 10:00 AM by video
                         before Chief Judge Lee H Rosenthal. (leddins, 4) (Entered: 09/24/2021)

09/24/2021               ***Set/Reset Hearings: Motion Hearing set for 10/6/2021 at 10:00 AM by video
                         before Chief Judge Lee H Rosenthal and Motion Hearing set for 3/11/2022 at 10:00
                         AM by video before Chief Judge Lee H Rosenthal. (leddins, 4) (Entered:
                         09/24/2021)

10/01/2021          31   REPLY in Support of 24 MOTION TO DISMISS FOR FAILURE TO STATE A
                         CLAIM (as to Second and Third Claims), filed by Wells Fargo Bank, N.A..
                         (Lindahl, Rebecca) (Entered: 10/01/2021)

10/05/2021          32   Joint MOTION for Continuance of Oct. 6, 2021 Hearing on Motion to Dismiss and
                         Revise Pretrial Scheduling Order to Permit Consolidated Hearing of All Pending
                         Motions to Dismiss by Occidental Petroleum Corporation, filed. Motion Docket
                         Date 10/26/2021. (Attachments: # 1 Proposed Order)(Patrick, Kathy) (Entered:
                         10/05/2021)


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10/05/2021          33   ORDER entered: GRANTING 32 Joint MOTION for Continuance of Oct. 6, 2021
                         Hearing on Motion to Dismiss and Revise Pretrial Scheduling Order to Permit
                         Consolidated Hearing of All Pending Motions to Dismiss. Motion Hearing reset for
                         11/5/2021 at 10:30 AM before Chief Judge Lee H Rosenthal. Counsel will advise if
                         the hearing is to be by Zoom or in person. (Signed by Chief Judge Lee H Rosenthal)
                         Parties notified.(leddins, 4) (Entered: 10/05/2021)

10/15/2021          34   RESPONSE in Opposition to 29 MOTION to Dismiss Counterclaim, filed by Wells
                         Fargo Bank, N.A.. (Attachments: # 1 Exhibit 1- WF Written Requests)(Lindahl,
                         Rebecca) (Entered: 10/15/2021)

10/22/2021          35   REPLY in Support of 29 MOTION to Dismiss Counterclaim, filed by Occidental
                         Petroleum Corporation. (Patrick, Kathy) (Entered: 10/22/2021)

10/26/2021          36   NOTICE of Resetting. Parties notified. Motion Hearing reset for 11/5/2021 at 10:30
                         AM in Courtroom 11B before Chief Judge Lee H Rosenthal, filed.
                         (ClaudiaGutierrez, 4) (Entered: 10/26/2021)

11/05/2021          37   Minute entry for proceedings before the Hon. Lee H. Rosenthal. Motion hearing
                         held on November 5, 2021. The court heard argument on the parties motions to
                         dismiss. Appearances: Kathy Patrick/Mark Dore/Angus Dodsen for Pltf. and
                         Christian Kemnitz/ Rebecca Lindahl/Jeffrey Joyce for Deft.(Court Reporter: G.
                         Dye), filed.(leddins, 4) (Entered: 11/09/2021)

11/18/2021          38   Joint MOTION for Extension of Time to File Stipulated Facts by Occidental
                         Petroleum Corporation, filed. Motion Docket Date 12/9/2021. (Attachments: # 1
                         Proposed Order)(Patrick, Kathy) (Entered: 11/18/2021)

11/19/2021          39   ORDER granting 38 Motion for Extension of Time to File Stipulated Facts. The
                         deadline is extended to 12/1/2021. (Signed by Chief Judge Lee H Rosenthal) Parties
                         notified.(gclair, 4) (Entered: 11/19/2021)

11/30/2021          40   MEMORANDUM AND ORDER entered: Wells Fargo's motion to dismiss the
                         breach of fiduciary duty and indemnity claims, (Docket Entry No. 24), is granted.
                         Occidental's motion to dismiss the counterclaim, (Docket Entry No. 29), is also
                         granted. The parties have made clear that much work remains to be done before this
                         case can be framed for ultimate resolution. The next step is to define the most
                         reliable, careful, and efficient way to get to that point. (Signed by Chief Judge Lee H
                         Rosenthal) Parties notified.(leddins, 4) (Entered: 11/30/2021)

12/01/2021          41   AO 435 TRANSCRIPT REQUEST by Jeff Joyce for Transcript of Motion Hearing
                         on 11/5/21 before Judge Rosenthal. 3-Day turnaround requested. Court
                         Reporter/Transcriber: Gayle Dye, filed. (Joyce, Jeffrey) (Entered: 12/01/2021)

12/01/2021          42   AO 435 TRANSCRIPT REQUEST by Shari Falloon for Transcript of Hearing,
                         11/05/2021, Lee H Rosenthal. Daily (24 hours) turnaround requested. Court
                         Reporter/Transcriber: Gayle Dye, filed. (BrendaLacy, 4) (Entered: 12/01/2021)

12/01/2021          43   STIPULATION re: Joint Statement of Stipulated Facts by Wells Fargo Bank, N.A.,
                         filed. (Attachments: # 1 Exhibit 1- Trust Agreement, # 2 Exhibit 2- Transfer Agent
                         Agreement, # 3 Exhibit 3- Purchase Agreement, # 4 Exhibit 4- Notice of Change of
                         Control, # 5 Exhibit 5- October 2019 Email Exchange, # 6 Exhibit 6- December
                         17-19 Email Exchange, # 7 Exhibit 7- Historical Stock Prices, # 8 Exhibit 8-
                         Reversion Request, # 9 Exhibit 9- Reversion Response)(Lindahl, Rebecca) (Entered:
                         12/01/2021)



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12/02/2021          44   TRANSCRIPT re: Motion Hearing held on November 5, 2021, before Chief Judge
                         Lee H Rosenthal. Court Reporter/Transcriber Dye. Release of Transcript Restriction
                         set for 3/2/2022., filed. (gdye, ) (Entered: 12/02/2021)

12/03/2021          45   Notice of Filing of Official Transcript as to 44 Transcript. Party notified, filed.
                         (olindor, 4) (Entered: 12/03/2021)

12/08/2021          46   AO 435 TRANSCRIPT REQUEST by Sandra Walton for Transcript of Hearing,
                         11/05/2021, Judge Lee H Rosenthal. Daily (24 hours) turnaround requested. Court
                         Reporter/Transcriber: Gayle Dye, filed. (BrendaLacy, 4) (Entered: 12/08/2021)

12/13/2021          47   MOTION to Dismiss Defendant Equiniti Trust Company's Motion to Dismiss Under
                         Rules 12(b)(2), 12(b)(3) & 12(b)(6) by Equiniti Trust Company, filed. Motion
                         Docket Date 1/3/2022. (Attachments: # 1 Declaration, # 2 Exhibit 1, # 3 Exhibit 2, #
                         4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, #
                         10 Exhibit 9)(Doyle, Jeremy) (Entered: 12/13/2021)

12/13/2021          48   MOTION for Frederic M. Krieger to Appear Pro Hac Vice by Equiniti Trust
                         Company, filed. Motion Docket Date 1/3/2022. (Doyle, Jeremy) (Entered:
                         12/13/2021)

12/13/2021          49   MOTION for Andrew J. Melnick to Appear Pro Hac Vice by Equiniti Trust
                         Company, filed. Motion Docket Date 1/3/2022. (Doyle, Jeremy) (Entered:
                         12/13/2021)

12/13/2021          50   MOTION for Jonah R. Hecht to Appear Pro Hac Vice by Equiniti Trust Company,
                         filed. Motion Docket Date 1/3/2022. (Doyle, Jeremy) (Entered: 12/13/2021)

12/14/2021          51   CERTIFICATE OF INTERESTED PARTIES by Equiniti Trust Company,
                         filed.(Doyle, Jeremy) (Entered: 12/14/2021)

12/15/2021          52   ORDER granting 48 Motion for Frederic M Krieger to Appear Pro Hac
                         Vice.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                         12/16/2021)

12/15/2021          53   ORDER granting 49 Motion for Andrew J. Melnick to Appear Pro Hac Vice.
                         (Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                         12/16/2021)

12/15/2021          54   ORDER granting 50 Motion for Jonah R. Hecht to Appear Pro Hac Vice. (Signed by
                         Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered: 12/16/2021)

01/03/2022          55   AMENDED THIRD PARTY COMPLAINT against Equiniti Trust Company filed
                         by Wells Fargo Bank, N.A.. Related document: 25 Third Party Complaint, filed by
                         Wells Fargo Bank, N.A.. (Attachments: # 1 Exhibit 1- Trust Agreement, # 2 Exhibit
                         2- Transfer Agent Agreement, # 3 Exhibit 3- Purchase Agreement, # 4 Exhibit 4-
                         Transaction Request)(Lindahl, Rebecca) (Entered: 01/03/2022)

01/13/2022          56   Joint PROPOSED ORDER Amended Scheduling and Docket Control Order re: 23
                         Scheduling Order,,, filed. (Attachments: # 1 Proposed Order Scheduling and Docket
                         Control Order)(Patrick, Kathy) (Entered: 01/13/2022)

01/14/2022          57   SCHEDULING ORDER. Amended Pleadings due by 1/21/2022. Responses to
                         Amended Pleadings due by 02/07/2022. Pltf Expert Witness List due by 7/1/2022.
                         Deft Expert Witness List due by 8/15/2022. Discovery due by 10/14/2022.
                         Mediation due by 10/14/2022. Dispositive Motion Filing due by 3/15/2022.
                         Responses due by 4/5/2022. Oral Argument set for 5/2/2022 at 10:00 AM in by

                                                                                                      23-20318.5470
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                         video before Chief Judge Lee H Rosenthal Joint Pretrial Order due by 10/31/2022.
                         Docket Call set for 11/7/2022 at 09:00 AM in Courtroom 11B before Chief Judge
                         Lee H Rosenthal (Signed by Chief Judge Lee H Rosenthal) Parties notified.(gkelner,
                         4) (Entered: 01/14/2022)

01/14/2022          58   Unopposed MOTION for Protective Order by Occidental Petroleum Corporation,
                         filed. Motion Docket Date 2/4/2022. (Attachments: # 1 Exhibit, # 2 Proposed
                         Order)(Patrick, Kathy) (Entered: 01/14/2022)

01/21/2022          59   Unopposed MOTION for Leave to File Amended Complaint by Occidental
                         Petroleum Corporation, filed. Motion Docket Date 2/11/2022. (Attachments: # 1
                         Exhibit 1, # 2 Proposed Order)(Patrick, Kathy) (Entered: 01/21/2022)

01/21/2022          62   Plaintiff and Intervening Plaintiff's Second Amended Complaint.(jguajardo, 4)
                         (Entered: 01/28/2022)

01/28/2022          60   ORDER Granting 58 unopposed Motion for entry of stipulated Protective
                         Order.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(rkonieczny, 4)
                         (Entered: 01/28/2022)

01/28/2022          61   ORDER Granting 59 Motion for Leave to File Second Amended Complaint..(Signed
                         by Chief Judge Lee H Rosenthal) Parties notified.(jguajardo, 4) (Entered:
                         01/28/2022)

02/01/2022          63   NOTICE of Change of Firm Name or Address by Equiniti Trust Company, filed.
                         (Doyle, Jeremy) (Entered: 02/01/2022)

02/04/2022          64   MOTION to Dismiss by Equiniti Trust Company, filed. Motion Docket Date
                         2/25/2022. (Attachments: # 1 Declaration, # 2 Exhibit)(ckrus, 4) (Entered:
                         02/07/2022)

02/07/2022          65   ANSWER to 62 Complaint, COUNTERCLAIM against Occidental Petroleum
                         Corporation by Wells Fargo Bank, N.A., filed. (Attachments: # 1 Exhibit 1- Trust
                         Agreement, # 2 Exhibit 2- Transfer Agent Agreement, # 3 Exhibit 3- Purchase
                         Agreement, # 4 Exhibit 4- DRT Request Sample)(Lindahl, Rebecca) (Entered:
                         02/07/2022)

02/24/2022          66   Joint MOTION for Entry of Order re: Amended Scheduling and Docket Control
                         Order by Equiniti Trust Company, Occidental Petroleum Corporation, Wells Fargo
                         Bank, N.A., filed. Motion Docket Date 3/17/2022. (Attachments: # 1 Exhibit
                         A)(Patrick, Kathy) (Entered: 02/24/2022)

02/24/2022          67   Additional EXHIBITS re: 66 Joint MOTION for Entry of Order re: Amended
                         Scheduling and Docket Control Order by Equiniti Trust Company, Occidental
                         Petroleum Corporation, Wells Fargo Bank, N.A., filed.(Patrick, Kathy) (Entered:
                         02/24/2022)

02/25/2022          68   AMENDED SCHEDULING AND DOCKET CONTROL ORDER. Dispositive
                         Motion Filing due by 6/10/2022. Responses due by 6/24/2022. Replies due by
                         7/1/22. Oral Arguments set for 7/28/2022 at 10:00 AM by video. Pltf Expert Report
                         due by 7/1/2022. Deft Expert Report due by 8/15/2022. Discovery due by
                         10/14/2022. Mediation due by 10/14/2022. Joint Pretrial Order due by 10/31/2022.
                         Docket Call set for 11/7/2022 at 09:00 AM in Courtroom 11B before Chief Judge
                         Lee H Rosenthal(Signed by Chief Judge Lee H Rosenthal) Parties
                         notified.(JosephWells, 4) (Entered: 02/25/2022)



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02/25/2022          69   RESPONSE to 64 MOTION to Dismiss , filed by Wells Fargo Bank, N.A..
                         (Attachments: # 1 Exhibit Group Exhibit 1)(Hine, Kelly) (Entered: 02/25/2022)

02/28/2022          70   ANSWER to 65 Answer to Complaint,, Counterclaim, by Occidental Petroleum
                         Corporation, filed.(Patrick, Kathy) (Entered: 02/28/2022)

03/04/2022          71   REPLY in Support of 47 MOTION to Dismiss Defendant Equiniti Trust Company's
                         Motion to Dismiss Under Rules 12(b)(2), 12(b)(3) & 12(b)(6), filed by Equiniti Trust
                         Company. (Attachments: # 1 Declaration, # 2 Exhibit 1)(Doyle, Jeremy) (Entered:
                         03/04/2022)

03/09/2022               (Court only) ***Motion(s) terminated: 66 Joint MOTION for Entry of Order re:
                         Amended Scheduling and Docket Control Order. Granted by de 68. (leddins, 4)
                         (Entered: 03/09/2022)

04/12/2022               (Court only) ***Motion(s) terminated: 47 MOTION to Dismiss Defendant Equiniti
                         Trust Company's Motion to Dismiss Under Rules 12(b)(2), 12(b)(3) & 12(b)(6).
                         Motion is moot based on the filing of the amended complaint and amended motion
                         to dismiss. (leddins, 4) (Entered: 04/12/2022)

05/03/2022          72   STIPULATION re: Witness by Wells Fargo Bank, N.A., filed.(Hine, Kelly)
                         (Entered: 05/03/2022)

05/12/2022          73   NOTICE Notice of Additional Authority in Support of Equiniti Trust Company's
                         Motion to Dismiss under Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6) re:
                         64 MOTION to Dismiss by Equiniti Trust Company, filed. (Attachments: # 1
                         Exhibit A)(Doyle, Jeremy) (Entered: 05/12/2022)

06/06/2022          74   MOTION for Leave to File Third Amended Complaint by Occidental Petroleum
                         Corporation, filed. Motion Docket Date 6/27/2022. (Attachments: # 1 Exhibit 1, # 2
                         Exhibit 2, # 3 Exhibit 3, # 4 Proposed Order)(Patrick, Kathy) (Entered: 06/06/2022)

06/07/2022          75   ***VACATED**** ORDER granting 74 Motion for Leave to File.(Signed by Chief
                         Judge Lee H Rosenthal) Parties notified. (ClaudiaGutierrez, 4) (Entered:
                         06/07/2022)

06/07/2022          76   Third AMENDED COMPLAINT with Jury Demand against Wells Fargo Bank,
                         N.A. filed by Occidental Petroleum Corporation, Anadarko Petroleum Corporation.
                         (ClaudiaGutierrez, 4) (Entered: 06/07/2022)

06/08/2022          77   ORDER.The court's order granting the plaintiff and intervening plaintiff's motion for
                         leave to file the third amended complaint, (Docket Entry No. 75), is vacated. The
                         third amended complaint (Docket Entry No. 76), will be removed from the docket.
                         The response to the motion for leave to file the third amended complaint, (Docket
                         Entry No. 74), is due June 27, 2022. (Signed by Chief Judge Lee H Rosenthal)
                         Parties notified.(olindor, 4) (Entered: 06/08/2022)

06/09/2022          78   Agreed MOTION to Amend 68 Scheduling Order,, by Equiniti Trust Company,
                         filed. Motion Docket Date 6/30/2022. (Attachments: # 1 Proposed Order Ex. A:
                         Proposed Second Amended Scheduling and Docket Control Order)(Doyle, Jeremy)
                         (Entered: 06/09/2022)

06/09/2022          79   SECOND AMENDED SCHEDULING AND DOCKET CONTROL ORDER. Pltf
                         Expert Report due by 7/1/2022. Deft Expert Report due by 8/15/2022. Discovery
                         due by 10/14/2022. Mediation due by 10/14/2022. Pretrial Dispositive Motion Filing
                         due by 6/10/2022. Responses due by 6/24/2022. Replies due by 7/1/2022. Joint


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                         Pretrial Order due by 10/31/2022. Docket Call set for 11/7/2022 at 09:00 AM in
                         Courtroom 11B before Chief Judge Lee H Rosenthal. Oral Argument on Pretrial
                         Dispositive Motion set for 7/28/2022 at 10:00 AM in by video before Chief Judge
                         Lee H Rosenthal(Signed by Chief Judge Lee H Rosenthal) Parties notified.(olindor,
                         4) (Entered: 06/09/2022)

06/10/2022          80   MOTION for Summary Judgment by Anadarko Petroleum Corporation, Occidental
                         Petroleum Corporation, filed. Motion Docket Date 7/1/2022. (Attachments: # 1
                         Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                         Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit
                         12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit
                         17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit
                         22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit
                         27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit
                         32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit
                         37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit
                         42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46 Exhibit 46, # 47 Exhibit
                         47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51 Exhibit 51, # 52 Exhibit
                         52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56 Exhibit 56, # 57 Exhibit
                         57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, # 61 Exhibit 61, # 62 Exhibit
                         62, # 63 Proposed Order)(Patrick, Kathy) (Entered: 06/10/2022)

06/10/2022          81   MOTION for Summary Judgment by Wells Fargo Bank, N.A., filed. Motion Docket
                         Date 7/1/2022. (Attachments: # 1 Appendix, # 2 Proposed Order)(Hine, Kelly)
                         (Entered: 06/10/2022)

06/10/2022          82   SEALED EXHIBITS re: 80 MOTION for Summary Judgment by Anadarko
                         Petroleum Corporation, Occidental Petroleum Corporation, filed. (Attachments: # 1
                         Exhibit 5, # 2 Exhibit 8, # 3 Exhibit 9, # 4 Exhibit 10, # 5 Exhibit 11, # 6 Exhibit 14,
                         # 7 Exhibit 19, # 8 Exhibit 20, # 9 Exhibit 21, # 10 Exhibit 23, # 11 Exhibit 25, # 12
                         Exhibit 26, # 13 Exhibit 29, # 14 Exhibit 30, # 15 Exhibit 31, # 16 Exhibit 33, # 17
                         Exhibit 34, # 18 Exhibit 35, # 19 Exhibit 36, # 20 Exhibit 37, # 21 Exhibit 38, # 22
                         Exhibit 39, # 23 Exhibit 40, # 24 Exhibit 41, # 25 Exhibit 43, # 26 Exhibit 44, # 27
                         Exhibit 45, # 28 Exhibit 47, # 29 Exhibit 48, # 30 Exhibit 50, # 31 Exhibit 51, # 32
                         Exhibit 53, # 33 Exhibit 54, # 34 Exhibit 56, # 35 Exhibit 58, # 36 Exhibit 59)
                         (Patrick, Kathy) (Entered: 06/10/2022)

06/10/2022          83   SEALED MOTION by Wells Fargo Bank, N.A., filed. (Attachments: # 1 Appendix,
                         # 2 Proposed Order) (Hine, Kelly) (Entered: 06/10/2022)

06/10/2022          84   MOTION to Seal Exhibits to Motion for Summary Judgment by Anadarko
                         Petroleum Corporation, Occidental Petroleum Corporation, filed. Motion Docket
                         Date 7/1/2022. (Attachments: # 1 Proposed Order)(Patrick, Kathy) (Entered:
                         06/10/2022)

06/14/2022          85   MOTION for Thomas P. DeFranco to Appear Pro Hac Vice by Equiniti Trust
                         Company, filed. Motion Docket Date 7/5/2022. (Doyle, Jeremy) (Entered:
                         06/14/2022)

06/14/2022          86   ORDER granting 85 Motion for Thomas P. DeFranco to Appear Pro Hac
                         Vice.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered:
                         06/14/2022)

06/14/2022          87   ORDER granting 84 Motion to Seal.(Signed by Chief Judge Lee H Rosenthal)
                         Parties notified.(gclair, 4) (Entered: 06/14/2022)


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06/14/2022          88   Unopposed MOTION for Jonah Hecht to Withdraw as Attorney by Equiniti Trust
                         Company, filed. Motion Docket Date 7/5/2022. (Attachments: # 1 Proposed
                         Order)(Doyle, Jeremy) (Entered: 06/14/2022)

06/14/2022          89   ORDER granting 88 Motion to Withdraw as Attorney Jonah R Hecht.(Signed by
                         Chief Judge Lee H Rosenthal) Parties notified.(gclair, 4) (Entered: 06/14/2022)

06/21/2022          90   MEMORANDUM AND ORDER entered:; Equiniti's motion to dismiss Wells
                         Fargo's counterclaim for lack of personal jurisdiction, (Docket Entry No. 64), is
                         granted. Equiniti's motion to amend the scheduling and docket control order,
                         (Docket Entry No. 78). is denied as moot.(Signed by Chief Judge Lee H Rosenthal)
                         Parties notified.(leddins, 4) (Entered: 06/21/2022)

06/24/2022          91   RESPONSE in Opposition to 80 MOTION for Summary Judgment , filed by Wells
                         Fargo Bank, N.A.. (Attachments: # 1 Appendix, # 2 Proposed Order)(Lindahl,
                         Rebecca) (Entered: 06/24/2022)

06/24/2022          92   MOTION to Seal Appendix by Wells Fargo Bank, N.A., filed. Motion Docket Date
                         7/15/2022. (Attachments: # 1 Proposed Order)(McKennon, Megan) (Entered:
                         06/24/2022)

06/24/2022          93   SEALED EXHIBITS Appendix (Exhibit 219) re: 91 Response in Opposition to
                         Motion by Wells Fargo Bank, N.A., filed. (McKennon, Megan) (Entered:
                         06/24/2022)

06/24/2022          94   APPENDIX re: 80 MOTION for Summary Judgment by Anadarko Petroleum
                         Corporation, Occidental Petroleum Corporation, filed.(Patrick, Kathy) (Entered:
                         06/24/2022)

06/24/2022          95   RESPONSE to 81 MOTION for Summary Judgment filed by Anadarko Petroleum
                         Corporation, Occidental Petroleum Corporation. (Attachments: # 1 Appendix, # 2
                         Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 5a, #
                         8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 7a, # 11 Exhibit 8, # 12 Exhibit 9, # 13
                         Exhibit 15, # 14 Exhibit 15a, # 15 Exhibit 16, # 16 Exhibit 17, # 17 Exhibit 17a, #
                         18 Exhibit 19, # 19 Exhibit 20, # 20 Exhibit 21, # 21 Exhibit 39, # 22 Exhibit 54, #
                         23 Exhibit 63, # 24 Exhibit 64, # 25 Exhibit 65, # 26 Proposed Order)(Patrick,
                         Kathy) (Entered: 06/24/2022)

06/24/2022          96   SEALED EXHIBITS re: 95 Response to Motion,, by Anadarko Petroleum
                         Corporation, Occidental Petroleum Corporation, filed. (Attachments: # 1 Exhibit 6, #
                         2 Exhibit 8, # 3 Exhibit 9, # 4 Exhibit 19, # 5 Exhibit 20, # 6 Exhibit 21, # 7 Exhibit
                         39, # 8 Exhibit 54, # 9 Exhibit 63, # 10 Exhibit 64) (Patrick, Kathy) (Entered:
                         06/24/2022)

06/24/2022          97   Unopposed MOTION to Seal Exhibits to Response to Defendant's Motion for
                         Summary Judgment by Anadarko Petroleum Corporation, Occidental Petroleum
                         Corporation, filed. Motion Docket Date 7/15/2022. (Attachments: # 1 Proposed
                         Order)(Patrick, Kathy) (Entered: 06/24/2022)

06/27/2022          98   RESPONSE in Opposition to 74 MOTION for Leave to File Third Amended
                         Complaint, filed by Wells Fargo Bank, N.A.. (Attachments: # 1 Appendix, # 2
                         Proposed Order)(Lindahl, Rebecca) (Entered: 06/27/2022)

06/30/2022          99   ORDER granting 97 Motion to Seal.(Signed by Chief Judge Lee H Rosenthal)
                         Parties notified.(JosephWells, 4) (Entered: 06/30/2022)



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07/01/2022         100   Supplemental APPENDIX re: 91 Response in Opposition to Motion by Wells Fargo
                         Bank, N.A., filed.(Lindahl, Rebecca) (Entered: 07/01/2022)

07/01/2022         101   REPLY to 81 MOTION for Summary Judgment , filed by Wells Fargo Bank, N.A..
                         (Lindahl, Rebecca) (Entered: 07/01/2022)

07/01/2022         102   STIPULATION re: Request for Second Amended Scheduling Order and Docket
                         Control Order by Wells Fargo Bank, N.A., filed. (Attachments: # 1 Exhibit
                         A)(Lindahl, Rebecca) (Entered: 07/01/2022)

07/01/2022         103   REPLY in Support of 80 MOTION for Summary Judgment , filed by Anadarko
                         Petroleum Corporation, Occidental Petroleum Corporation. (Attachments: # 1
                         Appendix, # 2 Exhibit 7b, # 3 Exhibit 15b, # 4 Exhibit 16a, # 5 Exhibit 17b, # 6
                         Exhibit 66)(Patrick, Kathy) (Entered: 07/01/2022)

07/05/2022         104   SECOND AMENDED SCHEDULING AND DOCKET CONTROL ORDER. Oral
                         Argument on Pretrial Dispositive Motions set for 7/28/2022 at 10:00 AM by video
                         before Chief Judge Lee H Rosenthal. Pltf Expert Report due by 7/18/2022. Deft
                         Expert Report due by 9/2/2022. Discovery due by 10/14/2022. Mediation due by
                         10/14/2022. Joint Pretrial Order due by 10/13/2022. Docket Call set for 11/7/2022 at
                         09:00 AM in Courtroom 11B before Chief Judge Lee H Rosenthal(Signed by Chief
                         Judge Lee H Rosenthal) Parties notified.(JosephWells, 4) (Entered: 07/05/2022)

07/05/2022         105   REPLY in Support of 74 MOTION for Leave to File Third Amended Complaint,
                         filed by Anadarko Petroleum Corporation, Occidental Petroleum Corporation.
                         (Patrick, Kathy) (Entered: 07/05/2022)

07/21/2022         106   MOTION to Expedite In-Person Hearing of Motions for Summary Judgment by
                         Occidental Petroleum Corporation, filed. Motion Docket Date 8/11/2022.
                         (Attachments: # 1 Proposed Order)(Patrick, Kathy) (Entered: 07/21/2022)

07/21/2022         107   ORDER entered: Counsel for plaintiffs have requested an in-person hearing for
                         arguments on pending motions. (Docket Entry No. 106). The defendants and their
                         counsel, who are in distant states, have asked to appear by Zoom. Hybrid hearings,
                         part Zoom and part in person, are not a viable option. Given the current COVID
                         surge, and the skill and experience of counsel in using Zoom for arguments on
                         motions, the court orders that the hearing be by Zoom. A link will be separately
                         sent.(Signed by Chief Judge Lee H Rosenthal) Parties notified.(leddins, 4) (Entered:
                         07/21/2022)

07/22/2022         108   NOTICE of Resetting. Parties notified. Motion Hearing reset for 8/4/2022 at 02:00
                         AM in by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                         provided. (leddins, 4) (Entered: 07/22/2022)

07/22/2022         109   NOTICE of Resetting. Parties notified. Motion Hearing reset for 8/4/2022 at 02:00
                         PM by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                         provided. (leddins, 4) (Entered: 07/22/2022)

08/04/2022         110   SUPPLEMENT to 101 Reply by Wells Fargo Bank, N.A., filed.(McKennon,
                         Megan) (Entered: 08/04/2022)

08/04/2022               (Court only) ***Attorney Mark R. Dore for Occidental Petroleum Corporation
                         added. (leddins, 4) (Entered: 08/04/2022)

08/04/2022         111   Minute entry for proceedings before the Hon. Lee H. Rosenthal. Motion hearing
                         held on August 4, 2022. The court heard oral argument on the cross motions for


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                         summary judgment and the motion for leave to amend. The court took the motions
                         under advisement. The parties will notify the court by August 10, 2022 if they intend
                         to pursue mediation. Appearances: Kathy Patrick/Mark Dore for Pltf. and Kelly
                         Hine/Rebecca Lindahl/Jeffrey Joyce for Deft. (Court Reporter: D. Smith),
                         filed.(leddins, 4) (Entered: 08/04/2022)

08/04/2022         112   PowerPoint Slides Presented at Hearing on Dispositive Motions Held August 4,
                         2022 by Anadarko Petroleum Corporation, Occidental Petroleum Corporation,
                         filed.(Patrick, Kathy) (Entered: 08/04/2022)

08/15/2022         113   AO 435 TRANSCRIPT REQUEST by Occidental Petroleum/Kathy D. Patrick for
                         Transcript of Motion Hearing on 8/4/22 before Judge Rosenthal. Expedited (7 days)
                         turnaround requested. Court Reporter/Transcriber: Veritext Legal Solutions, filed.
                         (Patrick, Kathy) (Entered: 08/15/2022)

08/15/2022         114   AO 435 TRANSCRIPT REQUEST by Rebecca K. Lindahl for Transcript of Motion
                         hearing on 8/4/2022 before Judge Rosenthal. Expedited (7 days) turnaround
                         requested. Court Reporter/Transcriber: David Smith, filed. (Lindahl, Rebecca)
                         (Entered: 08/15/2022)

08/15/2022         115   AO 435 TRANSCRIPT REQUEST by Melissa Westbrook for Transcript of
                         Hearing,08/04/22, Judge Lee H Rosenthal. Expedited (7 days) turnaround requested.
                         Court Reporter/Transcriber: David Smith, filed. (BrendaLacy, 4) (Entered:
                         08/16/2022)

08/18/2022         116   MEMORANDUM AND ORDER entered: Occidental's motion for summary
                         judgment, (Docket Entry No. 80), is granted as to liability for the breach of contract
                         claim, and granted as to the dismissal of the Wells Fargo counterclaim. Wells
                         Fargo's motion for summary judgment is denied. (Docket Entry No. 81). The motion
                         for leave to amend and the motions to seal are granted. (Docket Entry Nos. 74, 83,
                         92). No later than September 9, 2022, the parties must provide a proposed amended
                         scheduling order, agreed upon if possible, to resolve the remaining issues.(Signed by
                         Chief Judge Lee H Rosenthal) Parties notified.(leddins, 4) (Entered: 08/18/2022)

08/23/2022         117   TRANSCRIPT re: Motion Hearing held on 08/04/2022 before Chief Judge Lee H
                         Rosenthal. Court Reporter/Transcriber David S. Smith. Ordering Party Kathy
                         Patrick, Rebecca Lindahl, Melissa Westbrook Release of Transcript Restriction set
                         for 11/21/2022., filed. (Smith, David) (Entered: 08/23/2022)

08/24/2022         118   Notice of Filing of Official Transcript as to 117 Transcript,. Party notified, filed.
                         (jdav, 4) (Entered: 08/24/2022)

09/01/2022         119   ANSWER to 76 Amended Complaint/Counterclaim/Crossclaim etc.,
                         COUNTERCLAIM against Anadarko Petroleum Corporation, Occidental Petroleum
                         Corporation by Wells Fargo & Company, filed.(Lindahl, Rebecca) (Entered:
                         09/01/2022)

09/09/2022         120   Joint PROPOSED ORDER Scheduling Orders, filed. (Attachments: # 1 Exhibit A-
                         Plaintiffs' Proposed Scheduling Order, # 2 Exhibit B- Defendant's Proposed
                         Scheduling Order)(Lindahl, Rebecca) (Entered: 09/09/2022)

09/14/2022         121   THIRD AMENDED SCHEDULING ORDER. Discovery due by 10/14/2022. Joint
                         Pretrial Order due by 11/30/2022. Docket Call set for 12/7/2022 at 09:00 AM in
                         Courtroom 11B before Chief Judge Lee H Rosenthal(Signed by Chief Judge Lee H
                         Rosenthal) Parties notified.(rguerrero, 4) (Entered: 09/14/2022)



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09/23/2022         122   MOTION for Summary Judgment on Damages by Occidental Petroleum
                         Corporation, filed. Motion Docket Date 10/14/2022. (Attachments: # 1 Exhibit 1, # 2
                         Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                         Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Proposed Order)(Patrick, Kathy)
                         (Entered: 09/23/2022)

09/23/2022         123   SEALED EXHIBITS 6, 7, and 8 re: 122 MOTION for Summary Judgment on
                         Damages by Occidental Petroleum Corporation, filed. (Attachments: # 1 Exhibit 7, #
                         2 Exhibit 8) (Patrick, Kathy) (Entered: 09/23/2022)

09/23/2022         124   MOTION to Seal Exhibits by Occidental Petroleum Corporation, filed. Motion
                         Docket Date 10/14/2022. (Attachments: # 1 Proposed Order)(Patrick, Kathy)
                         (Entered: 09/23/2022)

09/28/2022         125   ORDER granting 124 Motion to Seal.(Signed by Chief Judge Lee H Rosenthal)
                         Parties notified.(kpicota, 4) (Entered: 09/28/2022)

10/14/2022         126   NOTICE of Setting. Parties notified. Pre-Motion Conference set for 10/18/2022 at
                         11:00 AM by video before Chief Judge Lee H Rosenthal, filed. A Zoom link will be
                         provided. (leddins, 4) (Entered: 10/14/2022)

10/14/2022         127   RESPONSE in Opposition to 122 MOTION for Summary Judgment on Damages,
                         filed by Wells Fargo Bank, N.A.. (Attachments: # 1 Appendix, # 2 Declaration of
                         Megan McKennon, # 3 Declaration of Rebecca Lindahl, # 4 Declaration of Nikki
                         Tanner, # 5 Declaration of David Blackwell, # 6 Declaration of Joseph
                         Thomas)(Lindahl, Rebecca) (Entered: 10/14/2022)

10/17/2022         128   NOTICE of Resetting. Parties notified. Pre-Motion Conference reset for 10/19/2022
                         at 11:15 AM by video before Chief Judge Lee H Rosenthal, filed. (leddins, 4)
                         (Entered: 10/17/2022)

10/18/2022         129   NOTICE of Resetting. Parties notified. Pre-Motion Conference reset for 10/26/2022
                         at 03:30 PM by video before Chief Judge Lee H Rosenthal, filed. (leddins, 4)
                         (Entered: 10/18/2022)

10/21/2022         130   REPLY in Support of 122 MOTION for Summary Judgment on Damages, filed by
                         Anadarko Petroleum Corporation, Occidental Petroleum Corporation. (Patrick,
                         Kathy) (Entered: 10/21/2022)

10/26/2022         131   NOTICE of Resetting. Parties notified. Pre-Motion Conference reset for 11/2/2022
                         at 09:30 AM by video before Chief Judge Lee H Rosenthal, filed. (ClaudiaGutierrez,
                         4) (Entered: 10/26/2022)

11/01/2022         132   NOTICE of Appearance by Johnjerica Hodge on behalf of Wells Fargo Bank, N.A.,
                         filed. (Hodge, Johnjerica) (Entered: 11/01/2022)

11/02/2022         133   Wells Fargo Presentation for Hearing on Motion for Summary Judgment on
                         Damages by Wells Fargo Bank, N.A., filed.(Hodge, Johnjerica) (Entered:
                         11/02/2022)

11/02/2022         137   Minute entry for proceedings before the Hon. Lee H. Rosenthal. Pre-motion
                         conference and hearing on the motion for summary judgment (Docket Entry No.
                         122) held on November 2, 2022. Because Wells Fargo has identified a narrow set of
                         questions, the court will allow a short deposition on the plaintiffs 30(b)(6)
                         representative. Wells Fargo may take no longer than 1 hour to depose the witness.
                         Occidental and Anadarko may take no longer than an hour to redirect the witness.


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                         The deadline to complete this deposition is November 21, 2022. The parties will
                         submit a status report shortly after as to the effect of the additional deposition on the
                         pending motion for summary judgment. The status report is limited to 10 pages,
                         including exhibits. The court will not compel plaintiffs to submit additional
                         interrogatory responses. The court heard argument on the motion for summary
                         judgment on damages. That motion remains under consideration. Appearances:
                         Kathy Patrick/Mark Dore for Pltf. and Christian Kemnitz/Rebecca Lindahl/ Megan
                         McKennon/Johnjerica Hodge for Deft.(Court Reporter: N. Forrest), filed.(leddins, 4)
                         (Entered: 11/04/2022)

11/03/2022         134   AO 435 TRANSCRIPT REQUEST by Occidental Petroleum Corp. for Transcript of
                         Pre-Motion Conference on 11/2/2022 before Judge Rosenthal. 3-Day turnaround
                         requested. Court Reporter/Transcriber: Nichole Forrest, filed. (Dore, Mark)
                         (Entered: 11/03/2022)

11/03/2022         135   AO 435 TRANSCRIPT REQUEST by Melissa Westbrook for Transcript of Hearing
                         held on 11/2/22. 3-Day turnaround requested. Court Reporter/Transcriber: Nichole
                         Forrest, filed. (RachelWillborg, 4) (Entered: 11/03/2022)

11/03/2022         136   AO 435 TRANSCRIPT REQUEST by Rebecca K. Lindahl for Transcript of
                         Pre-Motion Conference 11/2/22 Judge Rosenthal. 3-Day turnaround requested.
                         Court Reporter/Transcriber: Nichole Forrest, filed. (Lindahl, Rebecca) (Entered:
                         11/03/2022)

11/08/2022         138   TRANSCRIPT re: Hearing held on 11/2/22 before Chief Judge Lee H Rosenthal.
                         Court Reporter/Transcriber Nichole Forrest, RDR, CRR, CRC. Release of Transcript
                         Restriction set for 2/6/2023., filed. (Forrest, Nichole) (Entered: 11/08/2022)

11/09/2022         139   Notice of Filing of Official Transcript as to 138 Transcript. Party notified, filed.
                         (HeatherCarr, 4) (Entered: 11/09/2022)

11/15/2022         140   STIPULATION re: Supplemental Deposition of Plaintiffs by Wells Fargo Bank,
                         N.A., filed.(Lindahl, Rebecca) (Entered: 11/15/2022)

11/16/2022         141   NOTICE of Resetting. Parties notified. Docket Call reset for 2/24/2023 at 09:30 AM
                         by video before Chief Judge Lee H Rosenthal, filed. The joint pretrial order is due
                         by 2/17/23. (leddins, 4) (Entered: 11/16/2022)

11/22/2022         142   SUPPLEMENT to 122 MOTION for Summary Judgment on Damages by
                         Occidental Petroleum Corporation, filed. (Attachments: # 1 Exhibit A)(Patrick,
                         Kathy) (Entered: 11/22/2022)

11/23/2022         143   SUPPLEMENT to 127 Response in Opposition to Motion, by Wells Fargo Bank,
                         N.A., filed.(Lindahl, Rebecca) (Entered: 11/23/2022)

02/15/2023         144   NOTICE of Appearance by Ayesha Najam on behalf of Anadarko Petroleum
                         Corporation, Occidental Petroleum Corporation, filed. (Najam, Ayesha) (Entered:
                         02/15/2023)

02/22/2023         145   ORDER entered: The court cancels the joint pretrial order deadline and the docket
                         call setting, pending the ruling on the defendant's motion for summary judgment.
                         The joint pretrial order filing deadline and date for docket call will be reset, if
                         appropriate, after the motion is resolved. Deadlines terminated.(Signed by Judge Lee
                         H Rosenthal) Parties notified.(leddins, 4) (Entered: 02/22/2023)

03/31/2023         146   SUPPLEMENT to 127 Response in Opposition to Motion, 143 Supplement, 122


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                         MOTION for Summary Judgment on Damages by Wells Fargo Bank, N.A.,
                         filed.(Hine, Kelly) (Entered: 03/31/2023)

04/04/2023         147   SUPPLEMENT to 122 MOTION for Summary Judgment on Damages by
                         Occidental Petroleum Corporation, filed.(Patrick, Kathy) (Entered: 04/04/2023)

05/31/2023         148   MEMORANDUM AND ORDER entered: Occidental's motion for summary
                         judgment, (Docket Entry No. 122), is granted. Judgment is entered in the amount of
                         $38,008,313, with prejudgment interest accruing at a rate of 5.5 percent as of
                         January 25, 2021, and postjudgment interest accruing at a rate of 5.15 percent as of
                         the date of this judgment, per annum. Occidental's motion for attorney's fees and the
                         accompanying affidavits must be filed no later than July 7, 2023. Wells Fargo must
                         respond no later than August 4, 2023. Final judgment will be entered separately. See
                         FED. R. CIV. P. 54(d)(2), 58(a). (Signed by Judge Lee H Rosenthal) Parties
                         notified.(leddins, 4) (Entered: 05/31/2023)

05/31/2023         149   FINAL JUDGMENT entered. Case terminated on 5/31/23.(Signed by Judge Lee H
                         Rosenthal) Parties notified.(leddins, 4) (Entered: 05/31/2023)

06/07/2023         150   Unopposed MOTION for Relief from Judgment by Occidental Petroleum
                         Corporation, filed. Motion Docket Date 6/28/2023. (Attachments: # 1 Proposed
                         Order)(Patrick, Kathy) (Entered: 06/07/2023)

06/07/2023         151   FINAL JUDGMENT entered granting docket entry no 150 to correct the judgment.
                         (Signed by Judge Lee H Rosenthal) Parties notified.(leddins, 4) (Entered:
                         06/07/2023)

06/07/2023               (Court only) ***Motion(s) terminated: 150 Unopposed MOTION for Relief from
                         Judgment. (leddins, 4) (Entered: 06/07/2023)

06/14/2023         152   BILL OF COSTS in total amount $$79,899.96 by Anadarko Petroleum Corporation,
                         Occidental Petroleum Corporation, filed. (Attachments: # 1 Exhibit 1 - Declaration
                         of Angus J. Dodson, # 2 Exhibit 1A, # 3 Exhibit 1B, # 4 Exhibit 1C)(Dodson,
                         Angus) (Entered: 06/14/2023)

06/21/2023         153   OBJECTIONS to 152 Bill of Costs, , filed by Wells Fargo Bank, N.A.. (Lindahl,
                         Rebecca) (Entered: 06/21/2023)

06/26/2023         154   RESPONSE to 153 Objections to Plaintiffs' Bill of Costs, filed by Anadarko
                         Petroleum Corporation, Occidental Petroleum Corporation. (Attachments: # 1
                         Exhibit 1 - Supplemental Declaration of Angus J. Dodson)(Dodson, Angus)
                         (Entered: 06/26/2023)

06/30/2023               (Court only) ***(PRIVATE ENTRY) No action taken on bill of costs, pending
                         objection. (HeatherCarr, 4) (Entered: 06/30/2023)

06/30/2023         155   NOTICE OF APPEAL to US Court of Appeals for the Fifth Circuit re: 149 Final
                         Judgment, 151 Final Judgment by Wells Fargo Bank, N.A. (Filing fee $ 505, receipt
                         number ATXSDC-30148857), filed.(Lindahl, Rebecca) (Entered: 06/30/2023)

07/03/2023         156   Clerks Notice of Filing of an Appeal. The following Notice of Appeal and related
                         motions are pending in the District Court: 155 Notice of Appeal. Fee status: Paid.
                         Reporter(s): F. Warner, filed. (DorinaReyna, 1) (Entered: 07/03/2023)

07/03/2023               Appeal Review Notes re: 155 Notice of Appeal. Fee status: Paid. The appeal filing
                         fee has been paid or an ifp motion has been granted.Hearings were held in the case.
                         DKT13 transcript order form(s) due within 14 days of the filing of the notice of

                                                                                                  23-20318.5479
             Case: 23-20318      Document: 60          Page: 46       Date Filed: 10/16/2023

                         appeal.Hearings were held in the case - transcripts were produced. Number of
                         DKT-13 Forms expected: 1, filed.(DorinaReyna, 1) (Entered: 07/03/2023)

07/06/2023               Notice of Assignment of USCA No. 23-20318 re: 155 Notice of Appeal,
                         filed.(EdnitaPonce, 1) (Entered: 07/06/2023)

07/07/2023         157   MOTION for Attorney Fees by Anadarko Petroleum Corporation, Occidental
                         Petroleum Corporation, filed. Motion Docket Date 7/28/2023. (Attachments: # 1
                         Exhibit 1 - Declaration of Kathy Patrick, # 2 Exhibit A, # 3 Exhibit 2, # 4 Exhibit 3,
                         # 5 Exhibit 4)(Dodson, Angus) (Entered: 07/07/2023)

07/12/2023         158   DKT13 TRANSCRIPT ORDER REQUEST by Wells Fargo. This is to order a
                         transcript of 7/30/2021 Conference before Judge Rosenthal. Court
                         Reporter/Transcriber: Fred Warner. This order form relates to the following: 22
                         Scheduling Conference,, filed.(Hodge, Johnjerica) (Entered: 07/12/2023)

07/20/2023         159   APPEAL TRANSCRIPT re Initial Conference (By Zoom) held on July 30, 2021
                         before Judge Lee H Rosenthal. Court Reporter/Transcriber FWarner. Ordering
                         Party: Johnjerica Hodge. This transcript relates to the following: 158 Appeal
                         Transcript Request,. Release of Transcript Restriction set for 10/18/2023., filed.
                         (Warner, Fred) (Entered: 07/20/2023)

07/21/2023         160   Notice of Filing of Official Transcript as to 159 Transcript - Appeal. Party notified,
                         filed. (MayraMarquez, 4) (Entered: 07/21/2023)

07/21/2023         161   Unopposed MOTION to Stay Execution or Enforcement of Judgment by Wells
                         Fargo Bank, N.A., filed. Motion Docket Date 8/11/2023. (McKennon, Megan)
                         (Entered: 07/21/2023)

07/21/2023         162   PROPOSED ORDER re: 161 Unopposed MOTION to Stay Execution or
                         Enforcement of Judgment, filed.(McKennon, Megan) (Entered: 07/21/2023)

07/24/2023         163   ORDER Granting Motion to Stay Execution or Enforcement of Judgment and
                         Approval of Supersedeas Bond granting 161 . Enforcement of or execution of the
                         Court's 6/7/2023 judgment is stayed pending appeal. (Signed by Judge Lee H
                         Rosenthal) Parties notified. (ghassan, 4) (Entered: 07/24/2023)

07/27/2023         164   Unopposed MOTION for Kelly D. Hine to Withdraw as Attorney by Wells Fargo
                         Bank, N.A., filed. Motion Docket Date 8/17/2023. (Attachments: # 1 Proposed
                         Order)(Hine, Kelly) (Entered: 07/27/2023)

07/27/2023         165   Order of USCA re: 155 Notice of Appeal ; USCA No. 23-20318. The court has
                         granted the unopposed motion of Attorney Mr. Kelly D. Hine to withdraw as
                         Appellant's counsel of record in this case, filed. (SaraCelis, 1) (Entered: 07/28/2023)

08/02/2023         166   ORDER granting 164 Unopposed MOTION for Kelly D. Hine to Withdraw as
                         Attorney, Attorney Kelly Dean Hine terminated(Signed by Judge Lee H Rosenthal)
                         Parties notified.(JacquelineMata, 4) (Entered: 08/02/2023)

08/04/2023         167   OBJECTIONS to 157 MOTION for Attorney Fees , filed by Wells Fargo Bank,
                         N.A.. (Attachments: # 1 Declaration)(Lindahl, Rebecca) (Entered: 08/04/2023)

08/09/2023               (Court only) ***(PRIVATE ENTRY) ROA requested from USCA, due on
                         08/23/2023, filed. (DahlilaRodriguez, 1) (Entered: 08/09/2023)

08/11/2023          168 REPLY in Support of 157 MOTION for Attorney Fees, filed by Anadarko
               (p.5483) Petroleum Corporation, Occidental Petroleum Corporation. (Attachments: # 1


                                                                                                    23-20318.5480
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                          Exhibit 1-Excerpt from Etheridge Depo, # 2 Exhibit 2-Email from Trial
                          Coordinator)(Dodson, Angus) (Entered: 08/11/2023)

08/15/2023                Electronic record on appeal certified to the Fifth Circuit Court of Appeals re: 155
                          Notice of Appeal USCA No. 23-20318, filed.(DahlilaRodriguez, 1) (Entered:
                          08/15/2023)

08/15/2023                Electronic Access to Record on Appeal Provided re: 155 Notice of Appeal to A.
                          Dodson, M. Dore, D. Drake, J. Hodge, A. Najam, K. Patrick. Attorneys of record at
                          the Circuit may download the record from the Court of Appeals. (USCA No.
                          23-20318), filed.(DahlilaRodriguez, 1) (Entered: 08/15/2023)

08/29/2023          169 Fifth Circuit Court of Appeals LETTER advising: IT IS ORDERED that Appellant's
               (p.5508) unopposed motion to view and obtain all sealed documents is GRANTED (USCA
                        No. 23-20318), filed.(MaricelaPerez, 1) (Entered: 08/29/2023)

08/29/2023          170 Transmittal Letter on Appeal re: 155 Notice of Appeal. The SEALED electronic
               (p.5510) record on CD is being sent to Johnjerica Hodge via FedEx. (USCA No. 23-20318),
                        filed. (MaricelaPerez, 1) (Entered: 08/29/2023)

08/31/2023          171 MEMORANDUM AND ORDER entered regarding 157 MOTION for Attorney
               (p.5511) Fees. Based on the motion and exhibits, the objections, and the response, the court
                        grants themotion for fees and overrules the objections. The court awards Oxy
                        $1,497,529.66 in fees. (Signed by Judge Lee H Rosenthal) Parties
                        notified.(LisaEddins, 4) (Entered: 08/31/2023)

09/08/2023          172 NOTICE OF APPEAL to US Court of Appeals for the Fifth Circuit re: 171 (p.5511)
               (p.5516) Memorandum and Order, by Wells Fargo Bank, N.A. (Filing fee $ 505, receipt
                        number ATXSDC-30485539), filed.(Lindahl, Rebecca) (Entered: 09/08/2023)

09/11/2023          173 Clerks Notice of Filing of an Appeal. The following Notice of Appeal and related
               (p.5519) motions are pending in the District Court: 172 (p.5516) Notice of Appeal. Fee status:
                        Paid, filed. (DorinaReyna, 1) (Entered: 09/11/2023)

09/11/2023                Appeal Review Notes re: 172 (p.5516) Notice of Appeal. Fee status: Paid. The
                          appeal filing fee has been paid or an ifp motion has been granted.Hearings were held
                          in the case - transcripts were produced. Number of DKT-13 Forms expected: 1,
                          filed.(DorinaReyna, 1) (Entered: 09/11/2023)

09/15/2023                Notice of Assignment of USCA No. 23-20443 re: 172 (p.5516) Notice of Appeal,
                          filed.(DorinaReyna, 1) (Entered: 09/15/2023)

09/15/2023                (Court only) Set/Cleared Flags. Appeal_Nat flag cleared. (DorinaReyna, 1) (Entered:
                          09/15/2023)

09/15/2023                (Court only) ***ROA requested from Fifth Circuit. Due 10/2/2023.***(PRIVATE
                          ENTRY), filed. (DorinaReyna, 1) (Entered: 09/15/2023)

09/18/2023                Electronic record on appeal certified to the Fifth Circuit Court of Appeals re: 172
                          (p.5516) Notice of Appeal USCA No. 23-20443, filed.(DorinaReyna, 1) (Entered:
                          09/18/2023)

09/18/2023                (Court only) ***Electronic access has not been assigned. Attorney of record has not
                          filed their notice of appearance with the Fifth Circuit.***(PRIVATE ENTRY), filed.
                          (DorinaReyna, 1) (Entered: 09/18/2023)

09/28/2023


                                                                                                    23-20318.5481
Case: 23-20318   Document: 60       Page: 48    Date Filed: 10/16/2023

          (Court only) ***(PRIVATE ENTRY) SUPPLEMENTAL ELECTRONIC RECORD
          ON APPEAL REQUESTED from District Court for 4:21-CV-1126. Electronic ROA
          due on 10/13/2023 (for additional docket entries). [23-20318] (RLL), filed.
          (EfrainGarcia, 1) (Entered: 09/28/2023)




                                                                          23-20318.5482
Case: 23-20318   Document: 60   Page: 49   Date Filed: 10/16/2023




                      TAB 3
           Case:
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                                      60 Filed
                                          Page:on50   DateinFiled:
                                                 06/30/23    TXSD  10/16/2023
                                                                      Page 1 of 3




                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    OCCIDENTAL PETROLEUM CORP.                            §
    and ANADARKO PETROLEUM CORP.,                         §
                                                          §
           Plaintiffs,                                    §
                                                          §
    V.                                                    §    CIVIL ACTION NO. 4:21-CV-01126
                                                          §
    WELLS FARGO BANK, N.A.,                               §
                                                          §
           Defendant.                                     §

                                            NOTICE OF APPEAL

           Notice is hereby given that Wells Fargo Bank, N.A. (“Wells Fargo”), defendant in the

    above-captioned case, hereby appeals to the United States Court of Appeals for the Fifth Circuit

    from the final judgment entered on June 7, 2023, ruling in favor of Plaintiffs Occidental Petroleum

    Corp. and Anadarko Petroleum Corp on their claims against Wells Fargo.1 Wells Fargo files this

    notice both individually and in its capacity as Trustee of the Anadarko Petroleum Corporation

    Benefits Trust.




1
 The Court initially entered a version of the final judgment on May 31, 2023, which it subsequently corrected by an
amended final judgment dated June 7, 2023.


NOTICE OF APPEAL                                                                                          PAGE 1
                                                                                                         23-20318.4359
      Case:
    Case     23-20318 Document
         4:21-cv-01126 Document:155
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                                            06/30/23    TXSD  10/16/2023
                                                                 Page 2 of 3




 Respectfully submitted,

 /s/ Rebecca K. Lindahl                       Kelly D. Hine
 Christian Kemnitz (admitted pro hac vice)    Texas State Bar No. 24002290
 Illinois; ARDC #6237427                      S.D. No. 27571
 KATTEN MUCHIN ROSENMAN LLP                   KATTEN MUCHIN ROSENMAN LLP
 525 West Monroe Street                       2121 N. Pearl Street, Suite 1100
 Chicago, IL 600661                           Dallas, TX 75201-2494
 (312) 902-5379
 christian.kemnitz@katten.com                 JOYCE + MCFARLAND LLP
                                              Jeff Joyce
 Rebecca K. Lindahl (admitted pro hac vice)   State Bar No. 11035400
 NC Bar # 35378                               Federal ID No. 10762
 Katten Muchin Rosenman LLP                   712 Main Street, Suite 1500
 550 S. Tryon Street, Suite 2900              Houston, TX 77002
 Charlotte, NC 28202                          Telephone: 713.222.1113
 (704) 344-3141                               Facsimile: 713.513.5577
 rebecca.lindahl@katten.com                   jjoyce@jmlawyers.com

                                              ATTORNEYS FOR WELLS FARGO
                                              BANK, N.A.




NOTICE OF APPEAL                                                                  PAGE 2
                                                                                 23-20318.4360
        Case:
      Case     23-20318 Document
           4:21-cv-01126 Document:155
                                   60 Filed
                                       Page:on52   DateinFiled:
                                              06/30/23    TXSD  10/16/2023
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of June 2023, I electronically filed the forgoing document

with the Clerk of Court for the U.S. District Court, Southern District of Texas, using the electronic

case filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”

to all attorneys of record who have consented in writing to such Notice as service of the document

by electronic means.



                                                      /s/ Rebecca K. Lindahl
                                                      Counsel for Defendant




NOTICE OF APPEAL                                                                            PAGE 3
                                                                                           23-20318.4361
Case: 23-20318   Document: 60   Page: 53   Date Filed: 10/16/2023




                      TAB 4
       Case:
     Case     23-20318 Document
          4:21-cv-01126 Document:172
                                  60 Filed
                                      Page:on54   DateinFiled:
                                             09/08/23    TXSD  10/16/2023
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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

OCCIDENTAL PETROLEUM CORP.                     §
and ANADARKO PETROLEUM CORP.,                  §
                                               §
       Plaintiffs,                             §
                                               §
v.                                             §   CIVIL ACTION NO. H-21-01126
                                               §
WELLS FARGO BANK, N.A.,                        §
                                               §
       Defendant.                              §

                                   NOTICE OF APPEAL

       Notice is hereby given that Wells Fargo Bank, N.A. (“Wells Fargo”), defendant in the

above-captioned case, hereby appeals to the United States Court of Appeals for the Fifth Circuit

from the final judgment entered on August 31, 2023, ruling in favor of Plaintiffs Occidental

Petroleum Corp. and Anadarko Petroleum Corp. on their Motion for Attorneys’ Fees filed on July

7, 2023 (ECF No. 157). Wells Fargo files this notice both individually and in its capacity as

Trustee of the Anadarko Petroleum Corporation Benefits Trust.




NOTICE OF APPEAL                                                                       PAGE 1
                                                                                      23-20318.5516
      Case:
    Case     23-20318 Document
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                                 60 Filed
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                                            09/08/23    TXSD  10/16/2023
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 Respectfully submitted,

 /s/ Rebecca K. Lindahl
 Christian Kemnitz (admitted pro hac vice)    JOYCE + MCFARLAND LLP
 Illinois; ARDC #6237427                      Jeff Joyce
 KATTEN MUCHIN ROSENMAN LLP                   State Bar No. 11035400
 525 West Monroe Street                       Federal ID No. 10762
 Chicago, IL 600661                           712 Main Street, Suite 1500
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 NC Bar # 35378
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 rebecca.lindahl@katten.com




NOTICE OF APPEAL                                                             PAGE 2
                                                                            23-20318.5517
        Case:
      Case     23-20318 Document
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                                   60 Filed
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                                              09/08/23    TXSD  10/16/2023
                                                                   Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of September, 2023, I electronically filed the forgoing

document with the Clerk of Court for the U.S. District Court, Southern District of Texas, using the

electronic case filing system of the court. The electronic case filing system sent a “Notice of

Electronic Filing” to all attorneys of record who have consented in writing to such Notice as service

of the document by electronic means.



                                                     /s/ Rebecca K. Lindahl
                                                     Counsel for Defendant




NOTICE OF APPEAL                                                                          PAGE 3
                                                                                         23-20318.5518
Case: 23-20318   Document: 60   Page: 57   Date Filed: 10/16/2023




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       Case:
     Case     23-20318 Document
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                                             06/07/23    TXSD  10/16/2023
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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             June 07, 2023
                                                                                    Nathan Ochsner, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXASS
                                HOUSTON DIVISION


                                                §
                                                §
                                                §
OCCIDENTAL PETROLEUM CORP.                      §
and ANADARKO PETROLEUM CORP.,                   §
     Plaintiffs,                                §
v.                                              §       Civil Action No. 4:21-CV-01126
WELLS FARGO BANK, N.A.,                         §
     Defendant.                                 §
                                                §
                                                §
                                                §


                              FINAL JUDGMENT AND
                          ORDER WITHDRAWING ECF NO. 149


       The Court hereby GRANTS Plaintiffs’ Unopposed Motion for Relief from Judgment

Pursuant to Rule 60(a) of the Federal Rules of Civil Procedure, and the Court’s (original) Final

Judgment, ECF No. 149, is hereby WITHDRAWN.

       For the reasons set out in this Court’s Order entered on May 31, 2023 (ECF No. 148),

judgment is entered for Plaintiffs in the amount of $38,008,313, with prejudgment interest

accruing at 5.5% per annum, beginning January 25, 2021, and post-judgment interest accruing at

5.15% per annum, beginning May 31, 2023.

       For the reasons set out in this Court’s Orders dated November 30, 2021 and August 18,

2022 (ECF Nos. 40 & 116, respectively), all other claims brought by Plaintiffs, and

counterclaims brought by Defendant, are dismissed with prejudice.

       Defendant’s third-party complaint against Equiniti Trust Company was dismissed without

prejudice in this Court’s Order dated June 21, 2022 (ECF No. 90).




                                                                                      23-20318.4259
      Case:
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      This is a final judgment.


           June 7
SIGNED on _____________, 2023, at Houston, Texas.


                                                    ____________________________
                                                    Lee H. Rosenthal
                                                    United States District Judge




                                                                               23-20318.4260
Case: 23-20318   Document: 60   Page: 60   Date Filed: 10/16/2023




                      TAB 6
        Case:
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                                          Page:  61 Date
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                                                            TXSD 10/16/2023
                                                                   Page 1 of 19
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             November 30, 2021
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

OCCIDENTAL PETROLEUM CORP.,                      §
                                                 §
                       Plaintiff,                §
                                                 §
VS.                                              §           CIVIL ACTION NO. H-21-1126
                                                 §
WELLS FARGO BANK, N.A.,                          §
                                                 §
                       Defendant.                §

                          MEMORANDUM OPINION AND ORDER

       This case presents a number of questions. The first question the parties ask the court to

address is whether, under their agreement, the defendant owed a fiduciary duty to the plaintiff.

The agreement the parties entered is known as a rabbi trust because the first such agreement

involved a rabbi. The agreement has nothing to do with the rabbinate and is in many ways unlike

a conventional trust. A rabbi trust is essentially a bank account set up to hold money set aside for

a company’s deferred compensation for high level executives, designed to minimize the tax

impacts of setting aside the money. The structure used to achieve this tax avoidance uses the word

trust, but it is more precisely a bank account in which a company puts money it commits to pay its

executive employees and shields that money from certain tax consequences. Calling the account

a “trust” and the entity managing the account a “trustee” does not create a fiduciary relationship

between the company and the trustee.

        Wells Fargo Bank, N.A. was the successor bank holding the money that Occidental

Petroleum’s predecessor placed in a rabbi trust to achieve the favorable tax treatment. In 2019,

Wells Fargo agreed to a request by Occidental to sell certain Occidental shares held in the trust on

certain dates. The sales were delayed. Between the dates they should have occurred and the dates




                                                                                          23-20318.774
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they did occur, COVID-19 hit and the stock market dropped, a lot. Occidental alleges that the

trades resulted in far lower payments than if they had been done when promised, and that a

payment from Wells Fargo to Occidental in April 2020 was millions of dollars lower than it would

have been if Wells Fargo had timely executed the trades. Occidental sued Wells Fargo for the

delay in placing the trades and the resulting price and payment drop, asserting claims for breach

of fiduciary duty and breach of contract. (Occidental raised, then dropped, a claim for breach of a

duty to indemnify.) Wells Fargo has moved to dismiss the breach of fiduciary duty cause of action,

and Occidental responded. Wells Fargo also counterclaimed, and Occidental moved to dismiss

the counterclaim. The court heard argument on the motions.

       Based on the pleadings, the motions and responses; the arguments; and the applicable law,

the court grants Wells Fargo’s motion to dismiss the fiduciary breach claim. (Docket Entry No.

24). Wells Fargo may owe contractual and other duties that would make it liable for some or all

of the losses Occidental seeks, but that liability is not properly based on a breach of fiduciary duty

owed by Wells Fargo to Occidental. Wells Fargo’s motion to dismiss the indemnity claim, (Docket

Entry No. 24), is granted. Occidental’s motion to dismiss Wells Fargo’s counterclaim, (Docket

Entry No. 29), is also granted. The reasons are set out below.

I.     Background

       Anadarko Petroleum Corporation entered into a Benefits Trust Agreement with Wachovia

Bank of North Carolina, N.A., in May 1995, for the benefit of certain Anadarko employees.

(Docket Entry No. 24-1 at 6). The Trust was established to guarantee payment to certain high

level Anadarko employees under deferred compensation plans or other employee benefit

arrangements exempt from ERISA. (Docket Entry No. 24-1 at 6). Each benefit arrangement is

considered a “Plan” under the Trust Agreement. (Docket Entry No. 24-1 at 6). The Plan



                                                  2

                                                                                           23-20318.775
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Participants are the current or former highly compensated employees and directors of Anadarko

who were participating in a Plan, and the current or former directors, employees, and others who

were not participating but who were eligible to receive benefits under a Plan. (Docket Entry No.

24-1 at 9). Beneficiaries are designated under a Plan to receive benefits in the event of the death

of a Participant. (Docket Entry No. 24-1 at 8).

       Anadarko is now a wholly owned subsidiary of Occidental Petroleum Corporation.

(Docket Entry No. 14 at ¶ 6). This change in control converted the shares of Anadarko stock in

the Trust to shares of Occidental stock. (Docket Entry No. 14 at ¶ 15). Wells Fargo is the legal

successor to Wachovia Bank. (Docket Entry No. 14 at ¶ 6).

       Under the Benefits Trust Agreement, the Trust principal and earnings are assets and taxable

property of Occidental, not of the employee Participants. The Trust assets are subject to claims by

Occidental’s general creditors. Occidental alleges that the Trust “employee participants do not

have ‘any beneficial interest’ in the Benefits Trust Agreement.” (Docket Entry No. 14 at ¶ 7 (citing

Docket Entry 14-1 at 6)). Under Section 4.1 of the Trust Agreement, Occidental “has a right to

reversionary distributions from the Trust when the Trust assets exceed 125% of the value of

Current Aggregate Accrued Obligations.” (Docket Entry No. 14 at ¶ 8). The Trustee’s rights and

duties include to: “invest and reinvest part or all of the Trust Fund”; “retain in cash such amounts

as the Trustee considers advisable”; “manage, sell, insure, and otherwise deal with all real and

personal property”; “make payments from the Trust Fund to provide benefits that have become

payable under the Plans pursuant to direction from the Company”; “maintain records reflecting all

receipts and payments under this Agreement”; “report to the Company as of each calendar year

end, and at such other times as the Company may request, the then net worth of the Trust Fund”;

and “invest in securities (including stock or rights to acquire stock) or obligations issued by the



                                                  3

                                                                                         23-20318.776
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Company.” (Docket Entry No. 24-1 at 13). The Company may direct the Trustee “to acquire,

retain, or dispose of such investments as the Company directs,” but the Company’s right to direct

the Trustee ends following a change in control. (Docket Entry No. 24-1 at 13). After that, “the

Trustee’s exercise or nonexercise of its powers and discretion in good faith shall be conclusive on

all persons.” (Docket Entry No. 24-1 at 29).

        On December 19, 2019, Wells Fargo agreed to Occidental’s request to liquidate shares of

Occidental stock from the Trust, “beginning on January 6, 2020, sell 381,420 shares each day over

the course of the week, with a final liquidation on January 10, 2020.” (Docket Entry No. 14 at ¶

16). Some of the shares to be liquidated were held at Depository Trust Company, and others were

held by Equiniti Trust Company. Wells Fargo argues that this was merely a request from

Occidental, not an instruction, although Wells Fargo acknowledges that it agreed to the request.

While Wells Fargo acknowledges that it agreed to liquidate the shares on the specified timetable,

it also argues that Occidental offered no consideration for Wells Fargo’s agreement. (Docket Entry

No. 24 at 13).

       The parties agree that the shares were not sold on the prescribed dates. They dispute who

is to blame. Wells Fargo sold the first tranche of 381,420 shares on January 6, 2020, but sold only

352,080 shares on January 7, instead of the agreed upon 381,420. (Docket Entry No. 14 at ¶ 22–

23). Wells Fargo then sold 29,340 shares on both January 13, 2020, and January 14, 2020, far

short of the specified number. (Docket Entry No. 14 at ¶ 28). Occidental alleges that Wells Fargo

knew on January 31, 2020, that hundreds of thousands of shares held at Equiniti had not been sold.

(Docket Entry No. 14 at ¶ 29). Wells Fargo did not sell the remaining 1,114,920 shares until

March 20, 2020. (Docket Entry No. 14 at ¶ 30). On the dates that Occidental alleges Wells Fargo

had agreed to sell the shares, January 6 through January 10, 2020, the share price ranged from



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$44.98 to $45.90. (Docket Entry No. 14 at ¶ 28). When Wells Fargo sold the remaining shares

on March 20, 2020, the market was in its post-COVID dive, and the share price was $9.98. (Docket

Entry No. 14 at 9).

       Under Section 4.1 of the Trust Agreement, if the value of the Trust exceeds 125% of

“Current Aggregate Accrued Obligations under the Plans,” Occidental was permitted to request a

refund of the excess assets “so as to reduce the net assets of the Trust to no less than one hundred

twenty-five percent (125%) of the then Current Aggregate Accrued Obligations.” (Docket Entry

No. 24-1 at 10–11). In April 2021, Wells Fargo transferred $23,696,213.01 to Occidental because

the Trust was overfunded. (Docket Entry No. 14 at ¶ 35). Occidental alleges that if Wells Fargo

had sold the stock on the dates that Occidental had requested and Wells Fargo had agreed to do,

the overfunded amount would have been $30 million greater, and Occidental would have received

$30 million more than it did. (Docket Entry No. 14 at 10).

       Occidental sued for breach of contract based on the Trust Agreement and Wells Fargo’s

written commitment to sell the specified stock amounts from January 6, 2020, to January 10, 2020.

Occidental also sued for breach of fiduciary duties based on Wells Fargo’s status as Trustee and

Occidental’s status as a party to the Trust Agreement, the owner of the Trust assets, and as an

“interested person” and beneficiary under the Texas Property Code. (Docket Entry No. 14 at ¶ 47

(citing Tex. Prop. Code § 115.011)). Occidental also asserted a claim for breach of the indemnity

provision of the Trust Agreement. Wells Fargo moved to dismiss Occidental’s claims for breach

of fiduciary duty and breach of the indemnity provision. Occidental has agreed to dismiss its

breach of indemnity claim.

       Wells Fargo brought a counterclaim against Occidental based on Equiniti’s failure to

register a transfer of securities under U.C.C. § 8-401(a). Wells Fargo alleges that it submitted



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requests to Equiniti, Occidental’s transfer agent, to sell specified amounts of Occidental shares no

later than January 9, 2020, but that Equiniti “refused to register the transfer [of] the Occidental

shares owned by the Trust as and when Wells Fargo requested.” (Docket Entry No. 27 at ¶ 65,

67). Wells Fargo alleges that Occidental was aware of Equiniti’s unreasonable refusal to register

the transfer and did not address it, and that because Equiniti is Occidental’s agent, Occidental is

responsible for Equiniti’s failure to register the transfer. (Docket Entry No. 27 at ¶ 85, 90–92).

       Occidental responds that Wells Fargo’s delay in the sale of stock was the result of Wells

Fargo’s own unexplained delays, and that Wells Fargo cannot state a claim under U.C.C. § 8-401

because there was no transfer of the Occidental stock or presentment of a request to transfer.

       The court held oral argument on the motions. Counsel for both sides have thoroughly and

ably analyzed the facts and the law. The court analyzes the motion to dismiss the breach of

fiduciary duty and the motion to dismiss the counterclaim below.

II.    The Legal Standard for a Motion to Dismiss

       Rule 12(b)(6) allows dismissal if a plaintiff fails “to state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). Rule 12(b)(6) must be read in conjunction with Rule 8(a),

which requires “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). A complaint must contain “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Rule 8 “does

not require ‘detailed factual allegations,’ but it demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation.”       Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Twombly, 550 U.S. at 555). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). “The plausibility standard is not akin



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to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has

acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556).

        To withstand a Rule 12(b)(6) motion, a complaint must include “more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Lincoln

v. Turner, 874 F.3d 833, 839 (5th Cir. 2017) (quoting Twombly, 550 U.S. at 555). “Nor does a

complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal,

556 U.S. at 678 (alteration in original) (quoting Twombly, 550 U.S. at 557). “A complaint ‘does

not need detailed factual allegations,’ but the facts alleged ‘must be enough to raise a right to relief

above the speculative level.’” Cicalese v. Univ. Tex. Med. Branch, 924 F.3d 762, 765 (5th Cir.

2019) (quoting Twombly, 550 U.S. at 555). “Conversely, when the allegations in a complaint,

however true, could not raise a claim of entitlement to relief, this basic deficiency should be

exposed at the point of minimum expenditure of time and money by the parties and the court.”

Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (alterations omitted) (quoting Twombly, 550

U.S. at 558).

        A court reviewing a motion to dismiss under Rule 12(b)(6) may consider “(1) the facts set

forth in the complaint, (2) documents attached to the complaint, and (3) matters of which judicial

notice may be taken under Federal Rule of Evidence 201.” Inclusive Cmtys. Project, Inc. v.

Lincoln Prop. Co., 920 F.3d 890, 900 (5th Cir. 2019).

III.    Analysis

        A.      Occidental’s Claim for Breach of Fiduciary Duties

        “[T]he elements of a claim for breach of fiduciary duty are (1) the existence of a fiduciary

duty, (2) breach of the duty, (3) causation, and (4) damages.” First United Pentecostal Church of

Beaumont v. Parker, 514 S.W.3d 214, 220 (Tex. 2017). Occidental alleges that as the primary



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beneficiary of the Trust, a party to the Trust Agreement, the owner of the Trust assets, and an

interested person under the Texas Property Code § 111.004(7), Wells Fargo owed fiduciary duties

that it breached when it failed to comply with its written agreement to sell shares from the Trust

in a specified number on a specified timetable. Wells Fargo moves to dismiss on the ground that

under the facts alleged and the documents properly considered, (1) Occidental is not a beneficiary

of the Trust, (2) even if Wells Fargo owed some duty to Occidental as an interested person,

Occidental does not have standing to bring the claim, and (3) Texas law does not establish a

fiduciary duty based on Occidental’s status as an interested person.

       A fiduciary duty generally exists between a trustee and a beneficiary. Healey v. Healey,

529 S.W.3d 124, 135 (Tex. App.—Tyler 2017, pet. denied). Wells Fargo argues that the Trust

Agreement does not include Occidental in its definition of “Participant” or “Beneficiary.” Wells

Fargo has the better argument. These are defined terms. “Participant” is defined as a person who

is entitled to benefits under the Plan, including current and former members of the board of

directors and current and former employees who are participating or are eligible to participate.

(Docket Entry No. 24-1 at 9). “Beneficiary” is defined as “the person or entity designated under

a Plan to receive benefits in the event of the death of the Participant.” (Docket Entry No. 24-1 at

8). The “Company,” defined in the Trust Agreement as Anadarko Petroleum Corporation and its

successors, is not listed as, or included in the definitions of, a Participant or a Beneficiary in the

Plan. (Docket Entry No. 24-1 at 7–8). The definitions in the Trust Agreement do not support

finding that Occidental is a beneficiary of the Trust.

       Occidental relies on a more functional approach. Occidental argues that because the Trust

Agreement provided that Anadarko “retained all equitable ownership of the Trust assets,” as

Anadarko’s successor, it is in effect the primary beneficiary of the Trust. (Docket Entry No. 30 at



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17). The principal of the Trust and any earnings on the principal are assets of Occidental and are

subject to creditors of Occidental. (Docket Entry No. 14 at ¶ 7). Occidental alleges that it has a

right to receives periodic “non-discretionary” payments from the Trust assets and has a vested

reversionary interest in the Trust. (Docket Entry No. 30 at 18). Occidental relies on a provision

in the Trust Agreement that permits it to make benefit payments directly to Plan Participants, and

then seek reimbursement for these benefit payments from the Trust. (Docket Entry No. 30-1 at

10).

        The Trust Agreement does not, however, support Occidental’s argument that it is a

beneficiary because it is entitled to receive payments from the Trust. The Trust Agreement puts

the decision to refund excess assets within the “sole determination” of the Trustee. (Docket Entry

No. 24-1 at 10–11). The Trust is irrevocable and is “held for the exclusive purpose of providing

benefits under a Plan to Participants.” (Docket Entry No. 24-1 at 7). “No part of the income or

corpus of the Trust Fund shall be recoverable by the Company, except as provided in Section 4.1.”

(Docket Entry No. 24-1 at 7). Section 4.1 provides that before a change in control, the Company

may direct the Trustee to return assets exceeding 100 percent of the Current Aggregate Accrued

Obligations at the end of any calendar year. (Docket Entry No. 24-1 at 10). After a change in

control, if assets in the Trust exceed 125 percent of the Current Aggregate Accrued Obligations,

the Company may request that the Trustee pay the Company the excess amount, but the decision

to pay is in the Trustee’s “sole determination.” (Docket Entry No. 24-1 at 10–11). Occidental’s

amended complaint concedes that “Anadarko Petroleum underwent a change of control when it

was acquired by Occidental in August of 2019.” (Docket Entry No. 14 at ¶ 15). After the change

in control, whether to pay Occidental any amount over 125 percent of the Current Aggregate

Accrued Obligations in a year was up to Wells Fargo.



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       The Trust Agreement states that other than as provided in Section 4.1, “the Company shall

have no right or power to direct the Trustee to return to the Company or to divert to others any of

the assets in the Trust before payment of all benefits have been made to Participants pursuant to

the terms of the Plans.” (Docket Entry No. 24-1 at 11). Occidental is not a beneficiary of the Trust

based on its right to seek reimbursement, because the Trust Agreement places reimbursement after

a change in control in the sole discretion of the Trustee and does not give Occidental a right to

payment. Nor is Occidental a Trust beneficiary based on its right to receive reimbursements for

benefits it pays directly to employees. Occidental serves only as a conduit for these payments and

is not a beneficiary of them.

       Wells Fargo additionally argues that if Occidental is a Trust beneficiary, the Trust “is by

definition not a rabbi trust” and would not qualify for the favorable tax treatment it receives.

(Docket Entry No. 31 at 7). “[A rabbi trust is] an irrevocable trust for deferred compensation.

Funds held by the trust are out of reach of the employer, but are subject to the claims of the

employer’s creditors in the event of bankruptcy or insolvency.” In re IT Grp., Inc., 448 F.3d 661,

665 (3d Cir. 2006), as amended (July 10, 2006). The employer is considered the owner of the

trust, and income the trust generates is taxable to the employer. McAllister v. Resol. Tr. Corp.,

201 F.3d 570, 573 (5th Cir. 2000). This allows “the participants to defer tax liability on their

individual shares until asset distribution under the terms of the plan.” Id.

       Occidental agrees that the Trust Agreement was drafted as a rabbi trust. The Trust

Agreement states that the Trust is “for the exclusive purpose of providing benefits under a Plan to

Participants,” but that Plan Participants have “no preferred claim on, or any beneficial interest in,”

the Trust. (Docket Entry No. 24-1 at 7). Occidental’s lack of power to direct refunds is consistent

with the requirement of a rabbi trust that “[f]unds held by the trust are out of reach of the



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employer.” In re IT Grp., Inc., 448 F.3d at 665. The facts that the Trust was drafted to be, and is,

a rabbi trust, further support finding that Occidental is not a beneficiary of the Trust. Wells Fargo

did not owe a fiduciary duty to Occidental as a beneficiary.

       Occidental’s second asserted basis that Wells Fargo owes it a fiduciary duty is that

Occidental is an “interested person” under the Texas Trust Code. The parties have not cited, and

the court has not found, authority under Texas law that directly addresses whether an entity with

Occidental’s relationship to the Trust is an “interested person”; if so, whether under the Texas

Trust Code, Occidental may bring an action as an “interested person” related to the Trust; and, if

so, whether the Trustee of that Trust owes Occidental, as an “interested person,” a fiduciary duty.

       An “interested person” is:

       a trustee, beneficiary, or any other person having an interest in or a claim against
       the trust or any person who is affected by the administration of the trust. Whether
       a person, excluding a trustee or named beneficiary, is an interested person may vary
       from time to time and must be determined according to the particular purposes of
       and matter involved in any proceeding.

Tex. Prop. Code § 111.004(7). An “interest” is “any interest, whether legal or equitable or both,

present or future, vested or contingent, defeasible or indefeasible.” Tex. Prop. Code § 111.004(6).

A “beneficiary” is a person for whose benefit property is held in trust, regardless of the nature of

the interest. Tex. Prop. Code § 111.004(2). An “interested person” includes beneficiaries but

extends to a broader category of persons or entities with an interest in property. Occidental argues

that it qualifies as an interested person because it is the owner and a beneficiary of the Trust assets.

       Texas courts have recognized that an interested person may have standing to bring suit

against a trustee for breach of a fiduciary duty, but interested person status alone is insufficient to

give rise to a fiduciary duty. In Moon v. Lesikar, 230 S.W.3d 800 (Tex. App.—Houston [14th

Dist.] 2007, pet. denied), the Texas Court of Appeals recognized that generally, “a contingent



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beneficiary would appear to meet the definition of an interested person with standing to bring suit

against a trustee for breach of fiduciary duty.” Id. at 803. But the court concluded that on the facts

of that case, the contingent beneficiary did not have standing to bring the claims. Moon involved

a contingent beneficiary’s claim against a settlor who was also the cotrustee of a revocable trust.

Id. The settlor had the power to revoke or amend the trust until his death, and he was the sole

beneficiary of the trust while he was alive. Id. The court concluded that the contingent beneficiary

did not have standing to bring a breach of fiduciary duty claim based on the settlor’s disposition

of assets while the settlor was alive. Id. at 806. Moon supports the argument that an interested

person with merely a contingent claim does not have standing to bring a breach of fiduciary duty

claim.

         Wells Fargo argues that even if Occidental qualifies as an interested person, interested

persons do not have standing to bring tort claims against trustees. An interested person is permitted

to bring an action for “proceedings concerning trusts,” in Texas district court, over which Texas

district courts have original and exclusive jurisdiction. Tex. Prop. Code §§ 115.001, 115.011. A

“proceeding concerning trusts” involves only certain administrative matters, not tort claims against

a trustee. Tex. Prop. Code § 115.001. See In re J.P. Morgan Chase Bank, N.A., 361 S.W.3d 703,

707 (Tex. App.—Corpus Christi 2011, no pet.) (“[N]othing in the amendment indicates the intent

to overrule those cases holding that section 115.001 does not encompass tort claims and non-

administrative matters against a trustee.”); In re NationsBank, N.A., No. 01-98-00582-CV, 1999

WL 213100, at *4 (Tex. App.—Houston [1st Dist.] 1999, no pet.) (“[W]e conclude that there was

no intent to broaden “proceedings concerning trusts” under section 115.001(a) to include

proceedings sounding in tort against the trustee.”). Occidental’s breach of fiduciary claim is not

brought under § 115.001. The question is not Occidental’s right to bring a claim against Wells



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Fargo relating to the administration of the Trust in Texas state district court. The question is

whether Wells Fargo as Trustee owed Occidental a fiduciary duty as an interested person in the

Trust.

         Occidental has not cited, and the court has not found, authority that supports extrapolating

from Occidental’s interested person status a right to demand fiduciary duties from Wells Fargo.

“It is well settled that ‘not every relationship involving a high degree of trust and confidence rises

to the stature of a fiduciary relationship.’” Meyer v. Cathey, 167 S.W.3d 327, 330 (Tex. 2005).

“[M]ere subjective trust does not . . . transform arm’s-length dealing into a fiduciary relationship.”

Ins. Co. of N. Am. v. Morris, 981 S.W.2d 667, 674 (Tex. 1998) (citation omitted). It is not clear

that Occidental “subjectively” trusted Wells Fargo. See Schlumberger Tech. Corp. v. Swanson,

959 S.W.2d 171, 177 (Tex. 1997). Both are highly sophisticated entities. Their duties and rights

were spelled out in the Trust Agreement, apparently negotiated at arms-length. Occidental paid

Wells Fargo to provide the services specified as Trustee. The fiduciary breach claim does not arise

from Wells Fargo’s general duties as Trustee, but from its agreement to carry out a request by

Occidental to sell certain shares from the Trust on certain dates. Even if Occidental and Wells

Fargo trusted each other, and Occidental trusted Wells Fargo to carry out the transactions that gave

rise to this suit as requested, the fact that parties to a transaction subjectively trust each other does

not establish a fiduciary relationship. See Schlumberger, 959 S.W.2d at 177. To impose a

fiduciary relationship “in a business transaction, ‘there must be a fiduciary relationship before, and

apart from, the agreement made the basis of the suit.’” Id. (citation omitted). Because the Trust

itself does not create a fiduciary duty owed by Wells Fargo to Occidental, Wells Fargo’s additional

agreement to sell the Occidental shares in January and March 2020, is insufficient to create a

fiduciary duty.



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       The structure and purpose of the Trust, as a rabbi trust, are for the future benefit of certain

high-level Occidental employees. The fact that these employees are the sole beneficiaries is an

additional basis to distinguish the Texas Court of Appeals cases involving vested remainder

interests. Cf. Snyder v. Cowell, No. 08-01-00444-CV, 2003 WL 1849145, at *6 (Tex. App.—El

Paso 2003, no pet.) (“Vested remaindermen are ‘interested persons’ under the Trust Code and can

bring a cause of action for breach of fiduciary duty.”). The Trust was not created to protect a

present or future right of Occidental to receive reversionary funds. As Wells Fargo argues,

Occidental’s interest is more speculative. Wells Fargo relies on Davis v. Davis, 734 S.W.2d 707

(Tex. App.—Houston[1st Dist.] 1987, writ refused n.r.e.), in which the court explained that under

Texas law, “[o]ne cannot maintain a suit for the enforcement or adjudication of a right in property

that he expects to inherit, because he has no present right or interest in the property.” Id. at 709–

10. In Davis, the father’s interest in the trust was based on a contingent right to inherit the assets

if one of his children died intestate, making him a “potential beneficiary” with a “possibility of

inheritance.” Id. at 709. Occidental’s future interest is similarly speculative because although the

Trust is irrevocable, Occidental will receive Trust assets only if there are remaining assets after all

benefits and expenses have been paid out from the Trust. There is no guarantee that Occidental

will receive any payout from the Trust. The nature of Occidental’s interest in the Trust does not

appear to meet the requirements for a fiduciary duty owed by Wells Fargo to Occidental.

       Wells Fargo additionally argues that that the economic-loss rule precludes recovery in tort

for what is actually a contract claim. The economic-loss rule “generally precludes recovery in tort

for economic losses resulting from the failure of a party to perform under a contract.” Lamar

Homes, Inc. v. Mid-Continent Cas. Co., 242 S.W.3d 1, 12 (Tex. 2007). But “even if the matter in

dispute is the subject of a contract, a party may elect a recovery in tort if the duty breached stands



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independent from the contractual undertaking, and the alleged damages are not solely the result of

a bargained-for contractual benefit.” Shopoff Advisors, LP v. Atrium Circle, GP, 596 S.W.3d 894,

909 (Tex. App.—San Antonio 2019, no pet.) (citation omitted). To decide whether the economic-

loss rule applies, courts “look to the source of the alleged duty and the nature of the claimed

injury.” Id.

       Occidental argues that Wells Fargo’s duties arise independently from the Trust Agreement,

and instead arise from the Texas Trust Code and Texas common law. But Occidental has not

alleged a relationship with Wells Fargo beyond its interest in the Trust. Nor has Occidental alleged

an injury separate from its breach of contract claim. Occidental argues that it is entitled to pursue

alternative theories of relief, and that the economic-loss doctrine is one theory of damage

calculation, not liability. The court agrees that it is premature to resolve this argument at the

motion to dismiss stage. Occidental is entitled to plead alternative theories for relief, and will face

the economic-loss rule if and when it recovers, depending on the basis of recovery. Hybrid Energy

Servs., Ltd. v. Magness Oilfield Brokerage, LLC, No. 5:16-CV-090-C, 2016 WL 11673473, at *3

(N.D. Tex. Aug. 5, 2016). See also Sunday Riley Mod. Skin Care, L.L.C. v. Maesa, No. CIV.A.

H-12-1650, 2014 WL 722870, at *5 (S.D. Tex. Feb. 20, 2014) (“The economic loss rule does not

prevent parties from pleading multiple theories of liability; it bars them from recovering economic

losses caused by a breach of contract on a negligence theory.”); Fed. R. Civ. P. 8(d)(3) (“A party

may assert as many separate claims as it has, regardless of consistency.”).

       The motion to dismiss the claim for breach of fiduciary duty is granted.               Because

amendment would be futile, the dismissal of the claim is with prejudice. The motion to dismiss on

the basis of the economic-loss rule is denied.




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       B.      Occidental’s Claim for Breach of the Indemnity Provision

       The Trust states that “[t]he Trustee hereby agrees to indemnify and hold harmless the

Company from and against losses, damages, liabilities, claims, costs or expenses (including

reasonable attorney’s fee) which the Company may reasonably incur by reason of the negligence

or willful misconduct of the Trustee.” (Docket Entry No. 24-1 at 29). Wells Fargo argues that

this clause does not apply to the claims between the parties to the Trust Agreement. Occidental

did not address the indemnity provision in its response and conceded at oral argument that it does

not intend to pursue the indemnity claim. Occidental’s claim for breach of the indemnity

agreement is dismissed, with prejudice, because amendment would be futile.

       C.      Wells Fargo’s Counterclaim under U.C.C. § 8-401

       Wells Fargo brings a counterclaim against Occidental under U.C.C. § 8-401 based on

Equiniti’s alleged failure to register the transfer of Occidental shares. Wells Fargo argues that it

“submitted requests to Equiniti to sell Occidental shares no later than January 9, 2020.” (Docket

Entry No. 27 at 20). Wells Fargo does not cite to the parallel provisions under Texas or Delaware

law, but both states have adopted U.C.C. § 8-401. See Tex. Bus. & Com. Code § 8.401; Del. Code

Ann. tit. 6, § 8-401.

       “To state a claim under Section 8-401, the plaintiff must plausibly allege that the shares

were presented to the issuer and that the seven additional conditions outlined in the statute are

met.” POSCO Energy Co. v. FuelCell Energy, Inc., No. 1:20-CV-7509-MKV, 2021 WL 4224956,

at *6 (S.D.N.Y. Sept. 16, 2021) (interpreting the parallel provision under Delaware law).

Occidental argues that Wells Fargo has failed to satisfy the pleading requirements because it relies

only on the conclusory allegation that the “request to transfer the Occidental shares owned by the

Trust met all of the requirements set forth in UCC § 8-401.” (Docket Entry No. 35 at 6 (citing



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Docket Entry No. 27 at 18). Wells Fargo cannot state a claim, Occidental argues, because Wells

Fargo’s allegations are based exclusively on Equiniti’s failure to sell Occidental shares, and § 8-

401 applies only to the duty to register a stock after it had been transferred.

        Wells Fargo relies on a series of cases for its argument that § 8-401 requires issuers to

transfer securities, not just to perform the ministerial act of registering them. The cases Wells

Fargo cites are distinguishable because they do not involve a party who failed to initiate any

transfer, as is the case here. See, e.g., Kanton v. U.S. Plastics, Inc., 248 F. Supp. 353, 361 (D.N.J.

1965) (the court directed a corporation to register a transfer after the corporation failed to do so

because of an alleged adverse claim to that stock).

        Additionally, Wells Fargo has not alleged that it presented the securities in registered form

to Occidental’s agent. “The issuer has a duty to register a transfer of shares that are presented to

the issuer in registered form together with a request to register the transfer.” Jing Jing v. Weyland

Tech, Inc., No. CV 17-446, 2017 WL 2618753, at *3 (D. Del. June 15, 2017) (citing Del. Code

Ann. tit. 6, § 8-401). “Perhaps the most obvious requirement that must be satisfied before the

issuer’s duty to register a transfer arises, is that the certificate be presented.” Id. (citation omitted).

When a plaintiff “has not presented the security in registered form to [the issuer], there is no duty

on        the        issuer        to        register        a        transfer.”         Id.       (citing

First Nat’l Bank in Dali. v. Dyes, 638 S.W.2d 957, 958 (Tex. App. 1982)).

        Wells Fargo argues that this is not a pleading issue subject to challenge under Rule

12(b)(6). Wells Fargo argues that because the transactions did not involve physical certificates,

all Wells Fargo needed to do was make a request for a transfer, rather than present anything. Wells

Fargo does not provide support for this lower standard, but even if it did, it has not alleged that it

requested registration, so the pleading still falls short. Wells Fargo argues that it satisfied the



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registration request by submitting “a stock transfer request to Equiniti in the form of medallion-

stamped directions to sell on January 8 and 9, 2020.” (Docket Entry No. 34 at 14). But this still

does not address the clear requirement of § 8-401 to present a qualifying instruction to register the

stock. Because Wells Fargo failed to present a qualifying instruction to register the stock, it has

still failed to meet the requirements.

        At oral argument, the parties disputed whether Campbell v. Liberty Transfer Co., No. CV-

02-3084, 2006 WL 3751529, at *1 (E.D.N.Y. Dec. 19, 2006), supports Wells Fargo’s standing to

assert this counterclaim as a nontransferee. In Campbell, the court explained, “§ 8-401 obligates

an issuer, or its transfer agent, to take the necessary steps to record a sale of its stock when the

seven preconditions in the statute have been satisfied. The failure to perform that duty may cause

harm to a transferee or a transferor and either, depending on the circumstances, may seek damages

for a statutory violation.” Id. at 10. But the issue here is that the prerequisite transfer was never

made, so regardless of its status as transferor, transferee, or prospective transferor, Wells Fargo

cannot argue that it has been harmed by a failure to register a transfer that had not occurred.

        Wells Fargo has failed to state a claim under § 8-401. The motion to dismiss the

counterclaim is granted, with prejudice, because amendment would be futile.

IV.     Conclusion

        Wells Fargo’s motion to dismiss the breach of fiduciary duty and indemnity claims,

(Docket Entry No. 24), is granted. Occidental’s motion to dismiss the counterclaim, (Docket Entry

No. 29), is also granted. The parties have made clear that much work remains to be done before




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this case can be framed for ultimate resolution. The next step is to define the most reliable, careful,

and efficient way to get to that point.

               SIGNED on November 30, 2021, at Houston, Texas.



                                                    ___________________________________
                                                                Lee H. Rosenthal
                                                         Chief United States District Judge




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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                June 21, 2022
                        FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

OCCIDENTAL PETROLEUM CORP.,                      §
                                                 §
                        Plaintiff,               §
                                                 §
VS.                                              §           CIVIL ACTION NO. H-21-1126
                                                 §
WELLS FARGO BANK, N.A.,                          §
                                                 §
                        Defendant.               §

                                 MEMORANDUM AND ORDER

        This case involves a delay in the sale of stock in late 2019 and early 2020. The stock price

had dropped between the dates the shares should have been sold and the dates they were sold.

Occidental Petroleum alleges that Wells Fargo, which placed the trades on Occidental’s behalf,

should pay the difference.

        Wells Fargo is the successor bank holding the money that Occidental’s predecessor placed

in a rabbi trust. A rabbi trust is a bank account that holds money set aside for a company to pay

high level executives deferred compensation to achieve favorable tax treatment. Occidental sued

Wells Fargo for the delay in placing the trades and the resulting price and payment drop, asserting

claims for breach of fiduciary duty, breach of contract, and breach of a duty to indemnify. Wells

Fargo counterclaimed. The court issued a memorandum opinion and order addressing those

claims. (Docket Entry No. 40). The remaining claims between Occidental and Wells Fargo are

not yet ripe for resolution.1


1
   The only remaining claim between Occidental and Wells Fargo was Occidental’s claim for
breach of contract, but Occidental has sought leave to file a third amended complaint. (Docket
Entry No. 74). Wells Fargo added a counterclaim against Occidental for Equiniti’s negligence
under a vicarious liability theory. (Docket Entry No. 65). Occidental and Wells Fargo filed cross
motions for summary judgment, which are not yet ripe. (Docket Entry Nos. 80, 81).



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       Wells Fargo filed a third-party complaint against Equiniti Trust Company, Occidental’s

transfer agent. (Docket Entry No. 25). Equiniti moved to dismiss for lack of personal jurisdiction.

(Docket Entry No. 47). Wells Fargo amended the third-party complaint, and Equiniti moved to

dismiss the amended third-party complaint. (Docket Entry Nos. 55, 64).

       Based on the pleadings, the motions and responses; the arguments; and the applicable law,

the court grants Equiniti’s motion to dismiss Wells Fargo’s amended third-party complaint for lack

of personal jurisdiction. (Docket Entry No. 64). The reasons are set out below.

I.     Background2

       Anadarko Petroleum Corporation entered into a Benefits Trust Agreement with Wachovia

Bank of North Carolina, N.A., in May 1995, for the benefit of certain highly compensated

Anadarko employees. (Docket Entry No. 55 at 3). Anadarko was headquartered in Houston,

Texas, and the Trust was created and governed under Texas law. (Docket Entry No. 55 at 3). The

Trust was established to guarantee payment to these high-level Anadarko employees under

deferred compensation plans or other employee benefit arrangements exempt from ERISA.

(Docket Entry No. 55 at 4).

       Anadarko is now a wholly owned subsidiary of Occidental Petroleum Corporation.

(Docket Entry No. 55 at 4). This change in control converted the Anadarko stock in the Trust to

Occidental stock. (Docket Entry No. 14 at ¶ 15). Wells Fargo, which is organized as a national




2
   The court “must accept as true the uncontroverted allegations in the complaint and resolve in
favor of the plaintiff any factual conflicts,” if it decides a motion to dismiss for lack of personal
jurisdiction without holding an evidentiary hearing. Stripling v. Jordan Prod. Co., LLC, 234 F.3d
863, 869 (5th Cir. 2000) (quoting Latshaw v. Johnston, 167 F.3d 208, 211 (5th Cir. 1999)). The
court is not obligated to credit conclusory allegations, even if uncontroverted. Panda Brandywine
Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 868 (5th Cir. 2001).


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bank under the laws of the United States, is the legal successor to Wachovia Bank and has its

principal place of business in South Dakota. (Docket Entry No. 55 at 1, 4).

       In December 2015, Occidental retained Wells Fargo as its transfer agent under a Transfer

Agent Services Agreement. (Docket Entry No. 55 at 4; Docket Entry No. 55-2). A transfer agent

acts as “a liaison between a company’s registrar and investors, and perform[s] tasks such as

maintaining investors’ financial records and account balances, recording transactions, cancelling

and issuing certificates, transferring securities, and executing securities transactions for holders of

a client company’s stock.” (Docket Entry No. 55 at 18).

       Wells Fargo sold its transfer agent line of business to Equiniti Group, plc, in July 2017.

(Docket Entry No. 55 at 5). Equiniti took over Equiniti Group, plc’s obligations to Wells Fargo

in February 2018. (Docket Entry No. 55 at 6). Equiniti is a limited trust company organized under

the laws of New York, with its principal place of business in New York. (Docket Entry No. 55 at

2). Equiniti is registered and qualified to do business in Texas. (Docket Entry No. 55 at 2). As

part of Equiniti’s purchase of the transfer agent business, Equiniti agreed to assume Wells Fargo’s

obligations to Occidental. (Docket Entry No. 55 at 5). Occidental could have terminated the

relationship with Equiniti but did not do so. (Docket Entry No. 55 at 6).

       The Trust held 1,907,100 shares of Occidental common stock after Occidental and

Anadarko merged. (Docket Entry No. 55 at 6). Wells Fargo alleges that it told Occidental in

December 2019 that it intended to sell the Occidental stock and reinvest in other financial

instruments. (Docket Entry No. 55 at 6). Occidental allegedly recommended that Wells Fargo

wait until January 2020 to sell the shares, and to do the sales in five tranches of 381,420 shares

each. (Docket Entry No. 55 at 6).

       Wells Fargo explains that securities exist in three different forms:



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       (a) Physical Certificate: The security is registered in the shareholder’s name on the
       issuer’s books, and the shareholder receives a hard copy stock certificate
       representing the shareholder’s ownership of the security.

       (b) “Street Name” Registration: The security is registered in the name of a
       brokerage firm on the issuer’s books, and the brokerage firm holds the security for
       the shareholder in book-entry form (meaning there is no physical certificate, but
       only an entry on the books denoting ownership).

       (c) “Direct” Registration: The security is registered in the shareholder’s name on
       the issuer’s books, and either the issuer or its transfer agent holds the security for
       the shareholder in book-entry form.

(Docket Entry No. 55). Wells Fargo alleges that it held some of the Occidental shares in “street

name” and others in “direct registration.” (Docket Entry No. 55 at 7). Wells Fargo alleges that to

execute a trade of the shares held in direct registration, Equiniti, as the transfer agent, needed to

transfer the shares to a broker-dealer so the shares could be registered in street name and sold in

the open market. (Docket Entry No. 55 at 8).3

       Wells Fargo alleges that the sale of the Occidental shares should have proceeded by Wells

Fargo asking Equiniti to sell the shares held in direct registration under Wells Fargo’s name on

Occidental’s books. Equiniti should have sent a statement of the shares to Wells Fargo and a

request to its brokerage firm to begin the transfer. Equiniti’s broker should have then sent a deposit

request to Equiniti, which in turn should have sent a deposit confirmation to its broker and



3
  The process of selling direct registration shares starts with the shareholder telling the transfer
agent that it wants to sell the shares. (Docket Entry No. 55 at 8). The transfer agent then contacts
a brokerage firm to begin transferring the registration on the books of company from the name of
the shareholder into the street name. (Docket Entry No. 55 at 8). The street name is “‘the nominee
name’ used by the central clearinghouse to allow the shares to be deposited with the clearinghouse
and held in a brokerage account.” (Docket Entry No. 55 at 8). The brokerage firm requests that
the transfer agent deposit the direct registration shares with the central clearinghouse. (Docket
Entry No. 55 at 8). The transfer agent transfers the shares from the name of the shareholder to the
street name. (Docket Entry No. 55 at 8). The broker then sells the shares on the open market and
forwards the proceeds to the transfer agent. (Docket Entry No. 55 at 8). The transaction concludes
when the transfer agent sends the sale proceeds back to the original shareholder. (Docket Entry
No. 55 at 9).
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simultaneously changed the registration on the Occidental books from Wells Fargo to the nominee

name, Cede & Co. Equiniti’s broker would then sell the shares out of Equiniti’s brokerage account

and send the sales proceeds to Equiniti, which would disburse the proceeds to the Trust. (Docket

Entry No. 55 at 9–10).

       Wells Fargo alleges that because the first tranche of shares was held in street name,

Equiniti’s involvement was not required for the sale. (Docket Entry No. 55 at 10). The first

tranche was sold as planned on January 6, 2020. (Docket Entry No. 55 at 10). Of the second

tranche, 352,080 shares were in street name and were sold by Wells Fargo on January 7, 2020.

(Docket Entry No. 55 at 10). Wells Fargo could not sell the remaining 29,340 shares directly into

the market because they were held in direct registration. (Docket Entry No. 55 at 10). Equiniti

was required to transfer the direct registration shares on the Occidental books to the street name

and to the broker-dealer so they could be sold in the open market. (Docket Entry No. 55 at 10).

       On January 7, 2020, a Wells Fargo representative called an Equiniti representative to

confirm the transfer process for the direct registration shares. (Docket Entry No. 55 at 11).

Equiniti instructed Wells Fargo to complete a direct registration Transaction Request and send it

back to Equiniti. (Docket Entry No. 55 at 11). Wells Fargo submitted the Transaction Request to

Equiniti on the same day, “instructing Equiniti to sell the remaining 29,340 shares in what Wells

Fargo had planned to be the balance of the second tranche.” (Docket Entry No. 55 at 11). Wells

Fargo alleges that Equiniti first confirmed the Transaction Request on January 7, 2020, but on

January 8, 2020, Wells Fargo learned that Equiniti had rejected the Transaction Request. (Docket

Entry No. 55 at 11). Wells Fargo resubmitted the Transaction Request on January 8, 2020, and on

January 9, 2020, Wells Fargo sent another Transaction Request to Equiniti to sell the remaining

three tranches of Occidental stock. (Docket Entry No. 55 at 11). Wells Fargo alleges that it used



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the Transaction Request forms Equiniti provided and filled each of them out the same way.

(Docket Entry No. 55 at 12). Wells Fargo alleges that Equiniti transferred the remaining 29,340

shares of the second tranche on January 13, 2020, to street name shares, and then sold the shares.

(Docket Entry No. 55 at 11). That same day, Equiniti informed Wells Fargo that it could expect

to receive the proceeds of the sale of the Occidental stock from the Trust by January 27, 2020.

(Docket Entry No. 55 at 12).

       On January 14, 2020, Equiniti sold an additional 29,340 shares, which had been direct

registered in Wells Fargo’s name. Wells Fargo alleges that this sale was unauthorized and in error

because Equiniti had already sold the remaining 29,340 shares from the second tranche. (Docket

Entry No. 55 at 12). On January 31, 2020, Wells Fargo told Occidental that Equiniti had not

completed the requested transfers and sales and that Wells Fargo was having difficulty

communicating with Equiniti. (Docket Entry No. 55 at 13). Occidental did not respond. (Docket

Entry No. 55 at 13).

       Wells Fargo alleges that between January 31, 2020, and February 14, 2020, Wells Fargo

monitored the status of the sales and attempted to obtain information from Equiniti. (Docket Entry

No. 55 at 13). On February 14, 2020, Wells Fargo learned that Equiniti had failed to complete the

sales in January. (Docket Entry No. 55 at 13). Wells Fargo learned that Equiniti had sent a written

request by U.S. mail to Wells Fargo in January 2020, asking Wells Fargo to confirm the number

of shares to be sold. (Docket Entry No. 55 at 13). Wells Fargo alleges that this information was

“unambiguously” written on the Transaction Requests, that Equiniti knew this request would not

arrive at Wells Fargo in less than 10 days, and that Equiniti did not use any other means—such as

by phone, fax, email, or overnight carrier—to notify Wells Fargo that it had not sold the remaining




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stock. (Docket Entry No. 55 at 13). Wells Fargo finally received the written request to confirm

the number of shares on February 16, 2020. (Docket Entry No. 55 at 14).

       Wells Fargo alleges that it immediately started filling out new Transaction Requests, but it

needed a new account statement from Equiniti. (Docket Entry No. 55 at 13–14). Wells Fargo

requested the account statement on February 19, 2020, and Wells Fargo agreed to pay for overnight

delivery of the requested statement. (Docket Entry No. 55 at 14). On February 20, 2020, Equiniti

informed Wells Fargo that it had pulled an incorrect statement and the mailing would be delayed.

(Docket Entry No. 55 at 14). Equiniti sent the requested statement on February 24, 2020, and

Wells Fargo received it on February 26, 2020, with obvious errors. (Docket Entry No. 55 at 14).

       As a result of the difficulties with Equiniti, Wells Fargo transferred the remaining stock to

the Depository Trust Company. All remaining stock was transferred to the Depository Trust

Company on March 18, 2020, and sold on March 20, 2020. (Docket Entry No. 55 at 15).

Occidental filed this action against Wells Fargo on April 6, 2021. (Docket Entry No. 55 at 15).

       Wells Fargo, in its capacity as Trustee, sued Equiniti, asserting claims for negligence and

negligence per se. Wells Fargo sued in its individual capacity for breach of contract, violations of

UCC §§ 8-401 and 8-407, and contribution or reimbursement from Equiniti for Wells Fargo’s

losses and damages from Occidental’s claim against Wells Fargo. (Docket Entry No. 55 at 15).

Equiniti has moved to dismiss based on lack of personal jurisdiction and failure to state a claim.

II.    Personal Jurisdiction

       A.      The Personal Jurisdiction Standard under Rule 12(b)(2)

       Federal    Rule    of   Civil    Procedure    12(b)(2)    governs    dismissal    for   lack

of personal jurisdiction. “Where, as here, the court rules on a motion to dismiss for lack of

personal jurisdiction without holding an evidentiary hearing, that burden requires only that the



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nonmovant make a prima facie showing.” Danziger & De Llano, L.L.P. v. Morgan Verkamp,

L.L.C., 24 F.4th 491, 495 (5th Cir. 2022) (quoting Herman v. Cataphora, Inc., 730 F.3d 460, 464

(5th Cir. 2013)). “To determine whether the plaintiff has met this burden, the court can consider

the assertions in the plaintiff’s complaint, as well as the contents of the record at the time of the

motion.” Frank v. PNK (Lake Charles) LLC, 947 F.3d 331, 336 (5th Cir. 2020) (quotation

omitted); see also Command-Aire Corp. v. Ontario Mech. Sales & Serv. Inc., 963 F.2d 90, 95 (5th

Cir. 1992) (when resolving a motion to dismiss based on personal jurisdiction, the court may

consider “pleadings, affidavits, interrogatories, depositions, oral testimony, exhibits, any part of

the record, and any combination thereof”).

       B.      Analysis

       A federal court sitting in diversity may exercise personal jurisdiction over a nonresident

defendant if (1) the long-arm statute of the forum state confers personal jurisdiction over that

defendant and (2) the exercise of jurisdiction by the forum state is consistent with due process

under the United States Constitution. Frank, 947 F.3d at 336 (citations omitted). The Texas long-

arm statute confers jurisdiction to the limits of federal due process. Id. Due process permits the

exercise of personal jurisdiction over a nonresident defendant when that defendant has “minimum

contacts” with the forum state and the exercise of jurisdiction over the defendant does not offend

“traditional notions of fair play and substantial justice.” Johnston v. Multidata Sys. Int’l Corp.,

523 F.3d 602, 609 (5th Cir. 2008) (quoting Wilson v. Belin, 20 F.3d 644, 647 (5th Cir. 1994)).

       “‘Minimum contacts’ can be established either through contacts sufficient to assert specific

jurisdiction, or contacts sufficient to assert general jurisdiction.” Alpine View Co. v. Atlas Copco

AB, 205 F.3d 208, 215 (5th Cir. 2000) (citation omitted). General jurisdiction exists over a non-

resident defendant when its “affiliations with the State are so ‘continuous and systematic’ as to



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render them essentially at home in the forum State.” Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 919 (2011) (citation omitted). “A company is [] deemed ‘at home’ when

the continuous corporate operations within a state are so substantial and of such a nature as to

justify suit on causes of action arising from dealings entirely distinct from those activities—which

more than likely is the business’s domicile.” Frank, 947 F.3d at 337 (quoting Daimler AG v.

Bauman, 571 U.S. 117, 127 (2014) (internal quotation marks and alterations in original omitted)).

“[G]enerally, a corporation’s ‘home’ falls in two paradigmatic places: (1) the state of incorporation

and (2) the state where it has its principal place of business.” Id. (citing BNSF Ry. Co. v. Tyrrell,

137 S. Ct. 1549, 1558 (2017)).

         Equiniti argues that the court lacks general jurisdiction over it because it is organized under

the laws of New York and has its principal place of business in New York. Wells Fargo seems to

agree, arguing that it is invoking only “this Court’s claim-specific jurisdiction.” (Docket Entry

No. 69 at 11). The court agrees that Equiniti is not subject to general jurisdiction in this state.

         “Specific jurisdiction applies when a non-resident defendant ‘has purposefully directed its

activities at the forum state and the litigation results from alleged injuries that arise out of or relate

to those activities.’” Halliburton Energy Servs., Inc. v. Ironshore Specialty Ins. Co., 921 F.3d 522,

539 (5th Cir. 2019) (quoting Panda Brandywine, 253 F.3d at 868). “The non-resident’s purposeful

availment must be such that the defendant should reasonably anticipate being haled into court in

the forum state.” Ruston Gas Turbines, Inc. v. Donaldson Co., Inc., 9 F.3d 415, 419 (5th Cir.

1993) (citation and internal quotation marks omitted); see also Rodeo Time Promotions LLC v.

Lawrenceburg Mun. Utilities, C.A. No. H-20-1740, 2020 WL 7322216, at *2 (S.D. Tex. Dec. 11,

2020).




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       Equiniti argues that there is no relationship between it and Texas related to Wells Fargo’s

claims. Courts consider three factors when assessing specific jurisdiction:

       (1) whether the defendant has minimum contacts with the forum state, i.e., whether
       it purposely directed its activities toward the forum state or purposefully availed
       itself of the privileges of conducting activities there;
       (2) whether the plaintiff’s cause of action arises out of or results from the
       defendant’s forum-related contacts; and
       (3) whether the exercise of personal jurisdiction is fair and reasonable.

       McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009). “The minimum contacts inquiry is

fact intensive and no one element is decisive.” Id. The “fair and reasonable” inquiry considers

“(1) the burden on the nonresident defendant, (2) the forum state’s interests, (3) the plaintiff’s

interest in securing relief, (4) the interest of the interstate judicial system in the efficient

administration of justice, and (5) the shared interest of the several states in furthering fundamental

social policies.” Id. at 760 (citation omitted). “A defendant must have ‘fair warning’ that his

activities may subject him to another state’s jurisdiction” and be able to “structure its primary

conduct to lessen or avoid exposure to a given State’s courts.” Johnson v. TheHuffingtonPost.com,

Inc., 21 F.4th 314, 318 (5th Cir. 2021).

       Wells Fargo’s claims against Equiniti for negligence, breach of contract, and Uniform

Commercial Code violations arise out of Equiniti’s alleged failed execution of the Transaction

Requests that Wells Fargo sent to Equiniti in January 2020. Wells Fargo argues that Equiniti also

has an ongoing transfer agent relationship with Occidental under the Transfer Agent Agreement

and Occidental was injured as a result of Equiniti’s conduct.

       Wells Fargo relies on Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017

(2021), to argue that the court has personal jurisdiction over Equiniti because Equiniti chose to

serve the Texas market and its services have injured residents of the forum—the Trust and

Occidental. Wells Fargo concedes that Equiniti does not have an office in Texas and that the

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wrongful conduct did not occur in Texas. (Docket Entry No. 69 at 13). Wells Fargo argues that

Equiniti could have avoided a business relationship with Occidental but it did not, and that Equiniti

is registered to do business in Texas. (Docket Entry No. 69 at 13). In Ford Motor Co., the Supreme

Court concluded that the forum had specific jurisdiction because “Ford serve[d] a market for a

product in the forum State and the product malfunction[ed] there.” 141 S. Ct. at 1027. In Ford

Motor Co., the Court rejected the argument that for purposes of specific jurisdiction, a plaintiff

needs to show a causal link between the injury in the forum and the defendant’s contacts with the

forum. Ford had “systematically served [the] markets” for the “very vehicles that the plaintiffs

alleged malfunctioned and injured them” in those states. Id., at 1028. Although Ford had not sold

the specific vehicles that were involved in the crashes at issue in the litigation, the Court concluded

that such a causal showing is not necessary. Id. at 1029. In doing so, the Court distinguished

between the defendants in World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 287

(1980), in which the Court concluded that an Oklahoma court did not have jurisdiction over a New

York car dealer who sold a car that later caught fire in Oklahoma. Ford Motor Co, 141 S. Ct. at

1027. In contrast, the Court would have had specific jurisdiction over the car’s nonresident

manufacturer and distributor if their business deliberately extended into Oklahoma, even though

the car was not manufactured or sold there. Id.

       The Fifth Circuit has clarified that “Ford Motor does not say . . . that any commercial

activities in a state support specific jurisdiction over a defendant there. The only relevant activities

of the defendant are those that relate to the plaintiff’s suit.” Johnson v. TheHuffingtonPost.com,

Inc., 21 F.4th 314, 325 (5th Cir. 2021) (quotations omitted). “A state cannot use a defendant’s

forum contacts—even purposeful ones—to invent jurisdiction over claims that do not relate to or

arise from those contacts.” Id. at 320. And the plaintiff must establish specific jurisdiction for



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each claim. McFadin, 587 F.3d at 759. The court must decide whether Wells Fargo’s claims arise

from Equiniti’s relationship with Texas.

       For the breach of contract claim, Wells Fargo alleges that Equiniti breached an implied

contract to transfer and sell the shares in five tranches on five different days in January 2020.

Wells Fargo alleges that the contract was formed when Equiniti agreed by phone and instructed

Wells Fargo to complete the Direct Registration Transaction Request forms that Equiniti had

provided. Wells Fargo alleges that it accepted Equiniti’s offer by completing the required

Transaction Request forms and that Equiniti breached the contract by failing to sell the shares as

specified in the Transaction Requests. Wells Fargo is not bringing this claim as a breach of the

Transfer Agent Agreement between Occidental and Equiniti. Wells Fargo has not alleged that that

the Transfer Agent Agreement between Occidental and Wells Fargo was breached.

       When determining whether a court has personal jurisdiction over a breach of contract

claim, “only those acts which relate to the formation of the contract and the subsequent breach are

relevant,” including “prior negotiations and contemplated future consequences, along with the

terms of the contract and the parties’ actual course of dealing.” Danziger, 24 F.4th at 500 (quoting

Trois v. Apple Tree Auction Ctr., Inc., 882 F.3d 485, 489 (5th Cir. 2018)). Importantly, “merely

contracting with a resident of the forum state does not establish minimum contacts.” Id. (quoting

Moncrief Oil Int’l Inc. v. OAO Gazprom, 481 F.3d 309, 311 (5th Cir. 2007)).

       The Transaction Requests, which Wells Fargo alleges were the basis of its implied contract

with Equiniti, show addresses for Wells Fargo in North Carolina and Georgia, and for Equiniti in

Minnesota.    (Docket Entry No. 64-1 at 2).       The requests were signed by a Wells Fargo

representative who is based in Georgia, and Equiniti mailed a clarification request to Wells Fargo’s

North Carolina address. (Docket Entry No. 64-1 at 2–3). Wells Fargo concedes that the wrongful



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conduct did not occur in Texas and does not argue that Equiniti communicated with anyone in

Texas during the formation or performance of the alleged implied contract. (Docket Entry No. 69

at 13). Wells Fargo is not a Texas resident, and the parties agree that none of the wrongful conduct

related to the alleged breach occurred in Texas. Equiniti does not have contacts with Texas through

the implied contract with Wells Fargo that relate to Wells Fargo’s breach of contract claim.

       The Transfer Agent Agreement between Occidental and Equiniti does not change the

personal jurisdiction analysis for Wells Fargo’s breach of contract claim. The Fifth Circuit has

“consistently held that merely contracting with a resident of a forum state does not create minimum

contacts sufficient to establish personal jurisdiction over a nonresident defendant.” Blakes v.

DynCorp Int’l, L.L.C., 732 F. App’x 346, 347 (5th Cir. 2018). “[A] plaintiff’s unilateral activities

in Texas do not constitute minimum contacts where the defendant did not perform any of its

obligations in Texas, the contract did not require performance in Texas, and the contract is centered

outside of Texas.” Id. (quoting Moncrief Oil, 481 F.3d. at 312). “An exchange of communications

in the course of developing and carrying out a contract also does not, by itself, constitute the

required purposeful availment of the benefits and protections of Texas law.” Danziger, 24 F.4th

at 500 (citation omitted).

       In Danziger, a Texas resident sued an Ohio-based law firm for fraud, unjust enrichment,

tortious interference, and breach of contract. Id. The nonresident defendant contacted the Texas

resident about a possible business venture, the parties exchanged emails and held conference calls

about the matter, and the nonresident allegedly breached the contract outside of Texas. Id. at 502.

The court explained that the defendant’s contacts with Texas were not “strategically advantageous

to the defendant . . . suggesting that the defendant had purposefully availed itself of doing business

in Texas.” Id. (quoting Moncrief Oil, 481 F.3d at 313). The communications related to the



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performance of a contract were insufficient to establish jurisdiction. Id. The “mere fortuity that

one company happens to be a Texas resident . . . is not enough to confer jurisdiction.” Id. (quoting

Moncrief Oil, 481 F.3d at 313). The court concluded that personal jurisdiction was lacking because

the defendant law firm did not perform, and was not required to perform, any of its obligations in

Texas. Id.

       The Court of Chancery of Delaware recently concluded that minimum contacts did not

exist when a transfer agent acted from its New York offices; the contract retaining the transfer

services provided for New York law; and the transfer agent did not have property, hold shareholder

meetings, or enter into any contract requiring it to perform in Delaware. Sorenson Impact Found.

v. Cont’l Stock Transfer & Tr. Co., No. CV 2021-0413-SG, 2022 WL 986322, at *9 (Del. Ch. Apr.

1, 2022). The court explained that the transfer agent’s contract with the Delaware corporation was

insufficient to confer personal jurisdiction, explaining that “the nature of the contract, being a

commonplace commercial contract, embodying New York law, bolsters this conclusion, as the

action does not seek to vindicate Delaware-specific law.” Id.

       The same is true with the Transfer Agent Agreement, which is the only alleged contact

between Equiniti and Texas. The Agreement did not require performance in Texas and was

governed by Delaware law. (Docket Entry No. 55-2 at 5). Wells Fargo does not allege that

Equiniti breached the Transfer Agent Agreement between Occidental and Equiniti; the Transfer

Agent Agreement is not the basis of Wells Fargo’s claims. Cf. Int’l Energy Ventures Mgmt., L.L.C.

v. United Energy Grp., Ltd., 818 F.3d 193, 213 (5th Cir. 2016) (finding no personal jurisdiction

when the parties entered into a contract with a Texas choice-of-law clause, but that contract was

not the subject of the breach of contract claim between the parties). The Transfer Agent Agreement

does not show that Equiniti has purposefully availed itself of the benefits of Texas law.



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       Wells Fargo brings its negligence claims on behalf of the Trust, relying on the Trust

Agreement provision that provides that Wells Fargo may, with prior written notice to the

Company:

       begin, maintain, or defend any litigation reasonably necessary in connection with
       the administration of the Trust, and the Company shall indemnify the Trustee
       against all reasonable expenses and liabilities sustained by the Trustee by reason of
       such litigation unless resulting from the negligence or intentional misconduct of
       Trustee.

(Docket Entry No. 55-1 at 14). Wells Fargo brings a claim under the Uniform Commercial Code

§ 8-401 (codified as Tex. Bus. & Com. Code § 8.401 and Del. Code Ann. tit. 6, § 8-401) and the

Uniform Commercial Code § 8-407 against Equiniti, as Occidental’s agent. The court dismissed

Wells Fargo’s counterclaim against Occidental under § 8-401. (Docket Entry No. 40). Both the

Uniform Commercial Code claims and the negligence claim arise from the same alleged failure to

transfer the securities following Wells Fargo’s submission of the Transfer Request to Equiniti in

January 2020. Wells Fargo must show that Equiniti’s only contact with Texas—contracting with

Occidental—relates to these claims, meaning that Equiniti has more than a “fortuitous connection”

with the State. See Libersat v. Sundance Energy, Inc., 978 F.3d 317, 317 (5th Cir. 2020).4

       In Libersat, a Louisiana lessor sued a Texas lessee for royalty payments under a Texas

mineral lease in Louisiana. Libersat v. Sundance Energy, Inc., 978 F.3d 317, 317 (5th Cir. 2020).

The Fifth Circuit concluded that minimum contacts were lacking even though the defendants had

contracted to assume a lease associated with a Louisiana lessor and had sent other communications




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 Wells Fargo points out that Equiniti registered to do business in Texas, but that did not occur
until November 2020, months after the alleged conduct occurred. (Docket Entry No. 71-1 at 1).
And Equiniti’s registration and qualification to do business in Texas is insufficient on its own to
confer jurisdiction. See Libersat v. Sundance Energy, Inc., 978 F.3d 317, 320 (5th Cir. 2020).



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and royalty payments about the lease to the lessor in Louisiana. Id. at 321–22. The court explained

that “[t]he fact that the landowner to whom royalty checks were due happened to reside in

Louisiana is, itself, the type of fortuitous connection to the proposed forum that this court has

repeatedly held is not sufficient for specific personal jurisdiction.” Id. at 322.

         Wells Fargo has not pointed to evidence that Equiniti “systematically offered services so

related to this particular controversy that [it] is subject to jurisdiction in Texas for these claims.”

Hughes v. Bank of Am. Corp., No. 3:21-CV-00218-N, 2022 WL 179600, at *4 (N.D. Tex. Jan. 19,

2022). “Merely doing business in a particular market is not enough.” Id. Although Wells Fargo

alleges that Occidental suffered the injury as a result of Equiniti’s conduct towards Wells Fargo,

“mere injury to a forum resident is not a sufficient connection to the forum.” Sangha, 882 F.3d at

103 (intentional tort context). Equiniti’s single Texas contact through its contract with Occidental

is insufficient. Equiniti’s obligations under the Transfer Agent Agreement did not give rise to

Wells Fargo’s negligence and Uniform Commercial Code claims because Wells Fargo does not

allege that Equiniti breached its obligations under that Agreement.

III.     Conclusion

         Equiniti’s motion to dismiss Wells Fargo’s counterclaim for lack of personal jurisdiction,

(Docket Entry No. 64), is granted. Equiniti’s motion to amend the scheduling and docket control

order, (Docket Entry No. 78). is denied as moot.

         SIGNED on June 21, 2022, at Houston, Texas.



                                                              _______________________________
                                                                 Lee H. Rosenthal
                                                                Chief United States District Judge




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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               August 18, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

OCCIDENTAL PETROLEUM CORP.                       §
AND ANADARKO PETROLEUM CORP.,                    §
                                                 §
                               Plaintiffs,       §
                                                 §
VS.                                              §            CIVIL ACTION NO. H-21-1126
                                                 §
WELLS FARGO BANK, N.A.,                          §
                                                 §
                               Defendant.        §

                                MEMORANDUM AND ORDER

        This case involves missteps in executing planned stock sales that delayed the sales long

enough for the global pandemic and stock market drop to greatly reduce the selling price. Wells

Fargo was the trustee for a so-called rabbi trust that held stock and money to pay deferred

compensation to high-level executives at an oil and gas company, with a favorable tax treatment.

The company recommended to Wells Fargo that it diversify the trust holdings and sell the

company’s shares in the trust on specific dates in January 2020. Wells Fargo agreed to follow the

recommendation, but it did not follow through. Wells Fargo failed to sell most of the shares until

March 2020. By that time, COVID had hit and the stock market had plummeted. The result was

a roughly $39 million drop between the share price in January and the price when the shares were

sold in March.

        The company, Occidental Petroleum, and its predecessor, Anadarko Petroleum, (together,

Occidental) sued Wells Fargo for the losses Occidental alleged resulted from the botched sales

efforts and the delay in the sales. Motions practice resulted in the dismissal of some of the claims.

Occidental’s breach of contract claim remains. Wells Fargo has filed a counterclaim against

Occidental based on the alleged negligence of Occidental’s transfer agent, Equiniti Trust




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Company, in selling the shares. Wells Fargo’s counterclaim against Equiniti was dismissed for

lack of personal jurisdiction.

       Occidental has moved for summary judgment to recover on its claims against Wells Fargo

and to have Wells Fargo’s counterclaim dismissed. Wells Fargo has moved for summary judgment

on its counterclaim against Occidental and to have Occidental’s claims dismissed. The court heard

oral argument on the cross motions.

       Based on the pleadings; the motions, responses, and replies; the applicable law; the

summary judgment record; and the arguments of able counsel, Occidental’s motion for summary

judgment, (Docket Entry No. 80), is granted as to its claim that Wells Fargo is liable for breach of

contract and that Wells Fargo’s counterclaim fails and is dismissed. Wells Fargo’s motion for

summary judgment is denied. (Docket Entry No. 81). Occidental’s motion for leave to amend

and the motions to seal are granted. (Docket Entry Nos. 74, 83, 92). No later than September 9,

2022, the parties must provide a proposed amended scheduling order, agreed upon if possible, to

resolve the remaining issues.

       The reasons for these rulings are explained below.

I.     Factual Background

       Anadarko, Occidental’s predecessor, established the rabbi trust in May 1995 through a

Benefits Trust Agreement between Anadarko, as grantor, and Wachovia Bank of North Carolina,

N.A., as Trustee. (Docket Entry No. 80-4 at 1). Wells Fargo acquired Wachovia in December

2008 and became the Trustee. (Docket Entry No. 80-4 at 2). Each benefit arrangement with a

Plan Participant is considered a Plan under the Benefits Trust Agreement. (Docket Entry No. 80-

3 at 5). The Plan Participants were the current or former highly compensated employees and

directors of Anadarko who were participating in a Plan, and the current or former directors,



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employees, and others who were not participating but who were eligible to receive benefits under

a Plan. (Docket Entry No. 80-3 at 8). Beneficiaries were designated under a Plan to receive

benefits in the event of the death of a Participant. (Docket Entry No. 80-3 at 7). Federal law

required the Plans to remain unfunded pending the payout of benefits, to allow the Plan Participants

to defer tax liability.

        The Trust Agreement provided that before a change in control, Anadarko could direct the

Trustee to acquire, retain, or dispose of investments. (Docket Entry No. 80-3 at 12). Anadarko

could also direct the Trustee to return to the company assets in excess of 100 percent of the current

aggregate accrued obligations under the Plans. (Docket Entry No. 80-3 at 9). Anadarko’s right to

direct the Trustee ended following a change in control. (Docket Entry No. 80-3 at 12, 24). When

the assets reached more than 125 percent of the current aggregate accrued obligations under the

Plans, the successor company could request a disbursement of assets, but the Trustee was not

required to make the disbursement. (Docket Entry No. 80-3 at 9–10).

        Occidental acquired Anadarko in August 2019. This was a change in control under the

Trust Agreement. (Docket Entry No. 80-4 at 3). When Occidental acquired Anadarko, the Trust

held 6.5 million shares of Anadarko common stock and roughly $30 million in cash from accrued

dividends on those shares. (Docket Entry No. 82-4). Upon closing, each share of the Anadarko

stock in the Trust converted to the right to receive .2934 shares of Occidental stock and $59 in

cash. (Docket Entry No. 80-4 at 2). Following conversion, the Trust held roughly $500 million

in assets—1,907,100 shares of Occidental stock, worth about $82 million as of August 31, 2019,

and $413 million in cash. (Docket Entry No. 80-4 at 10, 11; Docket Entry No. 82-5 at 3).

        The Trust account was considered a “Top-50” relationship for Wells Fargo. (Docket Entry

No. 80-7). Wells Fargo’s Institutional Retirement and Trust division assigned a three-person team



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of professionals to the Trust account: Monique Etheridge as the relationship manager; Terri

Montgomery as the client service associate; and Nikki Tanner as the investment manager. (Docket

Entry No. 80-5 at 3; Docket Entry No. 80-7 at 4, Docket Entry No. 80-12 at 3). Etheridge was

responsible for coordinating client resources, Montgomery was responsible for the Trust’s daily

operations, and Tanner was responsible for the Trust’s asset management and investment strategy.

(Docket Entry No. 80-7 at 5; Docket Entry No. 80-12 at 3).

       In October 2019, Tanner concluded that roughly $240 million of the almost $500 million

held in the Trust needed to be kept in cash to pay out employee benefits and separation agreements

in the near term. (Docket Entry No. 80-7 at 10–11). The Plan owed $185 million in future

obligations. Tanner intended that the Trust would keep the remaining $73 million in cash. (Docket

Entry No. 80-13).

       On October 24, 2019, Tanner presented an investment strategy to Occidental. (Docket

Entry No. 80-7 at 11; Docket Entry No. 81-1 at 323). Tanner explained the need to sell Occidental

stock because it was contrary to Wells Fargo’s investment guidelines to have the Trust assets in a

single stock. (Docket Entry No. 80-7 at 9). Occidental agreed. (Docket Entry No. 80-7 at 12).

Wells Fargo was aware that the sale could trigger tax liability for Occidental, so Wells Fargo asked

for Occidental’s input. (Docket Entry No. 80-7 at 12). Tanner first reached out to the Occidental

team immediately following the October 24, 2019, presentation. (Docket Entry No. 81-1 at 323).

She received no response and emailed again in November 2019. (Docket Entry No. 81-1 at 90,

339). On December 10, 2019, Etheridge sent Megan Bruegger, a legacy Anadarko employee, the

following email:

       Hi Megan,

       This email is a follow up to my voice message.



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       Please let Nikki and [me] know when the team has any additional input regarding the sale
       of Anadarko stock. If we do not hear from Oxy by 12/17/2019, we will assume that there
       is no additional input.

(Docket Entry No. 81-1 at 337).

       Bruegger forwarded this email to Karen Lippe, who was Occidental’s Director of

Corporate Accounting and who was involved in the October 2019 discussions, and to Jason

Schmitz, who was in the Occidental Treasury Department. (Docket Entry No. 81-1 at 173–75).

Occidental’s representatives explained that they were concerned that a “volume discount” would

result if many shares were sold at once, and that the structure and timing of the sale would disrupt

the stock market liquidity. (Docket Entry No. 80-15 at 19; Docket Entry No. 80-17 at 6).

       On December 16, 2019, Etheridge emailed Schmitz, Lippe, and Bruegger, as follows:

       Hi Everyone,

       Nikki and I are checking in. We have not received a response regarding the Oxy
       team conducting an internal meeting to discuss the liquidation of Oxy stock.
       Please provide an update. If we do not receive an update by Wed at 3 PM EST, we
       will assume there is no additional input and will proceed with the plan that was
       presented on October 24, 2019.

(Docket Entry No. 96-4 at 2-3).

       On December 17, 2019, Schmitz and Jessica Myers from Occidental’s Treasury

Department spoke with Etheridge and Tanner from Wells Fargo to discuss the liquidation and sale

process. (Docket Entry No. 80-7 at 14). On December 17, 2019, Schmitz emailed Tanner the

following proposal:

       Hi Nikki/Monique –
       Treasury would appreciate if Wells could agree to a ratable liquidation plan for Oxy
       Stock as follows:
       Beginning January 6, 2020, sell 381,420 shares each day over the course of the
       week with a final liquidation on January 10, 2020
       1,907,100/5 = 381,420
       Please let me know if you have any questions or would like to discuss. Regards,
       Jason.

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(Docket Entry No. 80-19).

       Tanner wrote back, saying:

       Wells Fargo accepts your recommendation for the ratable liquidation plan as follows:

       Beginning January 6, 2020, sell 381,420 shares each day over the course of the week with
       a final liquidation on January 10, 2020.
       1,907,100 / 5 = 381,420

(Docket Entry No. 80-32). Schmitz then replied to Tanner, “Hi Nikki – thanks for accepting the

recommendation.” (Docket Entry No. 81-1 at 352).

       Tanner testified that, “[a]s representative for Wells Fargo, I understood what was going to

happen” after Wells Fargo accepted Occidental’s proposal. (Docket Entry No. 80-7 at 17).

Tanner’s understanding was to sell the stock in the amounts and on the dates specified. Bruegger

testified that Schmitz was not an “authorized signer” who had authority to make binding decisions

for the Occidental relating to the Trust. (Docket Entry No. 91-1 at 19). But, as Etheridge testified,

“[t]here was a meeting of the minds” between Wells Fargo and Occidental’s representatives about

the share liquidation. (Docket Entry No. 80-5 at 20). The meeting of the minds was to execute

the sale of 381,420 shares each day from January 6 to January 10, with a final liquidation on

January 10.

       This was the largest trade of common stock that Tanner or any Wells Fargo investment

manager had handled, as far as Tanner knew. (Docket Entry No. 80-7 at 19). Neither Tanner or

any other Wells Fargo representative told Occidental of Tanner’s inexperience, and Tanner did not

ask for help or guidance from any more experienced Wells Fargo employees. Tanner copied and

pasted the text of the email from Schmitz into her calendar as a reminder, and she prepared a

spreadsheet detailing the trade amounts and planned dates. (Docket Entry No. 80-7 at 19).




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       On January 6, 2020, Tanner emailed Wells Fargo’s trading desk a five-day order to sell the

shares as set out in Schmitz’s email. (Docket Entry No. 82-8; Docket Entry No. 82-9). Tanner

intended that the shares would be sold as agreed. (Docket Entry No. 80-7 at 20). On January 6,

2020, Wells Fargo sold a full tranche of 381,420 shares at a price of $44.95 per share. (Docket

Entry No. 80-4 at 3). On January 7, 2020, Wells Fargo sold only 352,080 shares, instead of the

planned 381,420 shares, for a price of $44.75 per share. (Docket Entry No. 80-4 at 3). These were

all the shares that Wells Fargo held directly in its Depository Trust Company account. (Docket

Entry No. 80-4 at 4). The remaining Trust shares were held by Wells Fargo’s transfer agent,

Equiniti, in “book-entry” form, through the Direct Registration System. (Docket Entry No. 80-22

at 4). Tanner did not know this fact.

       Equiniti is not a brokerage house. Instead, it provides administrative services, such as

maintaining a company’s share ownership ledger or paying dividends. (Docket Entry No. 80-22

at 4). Equiniti’s corporate representative testified that to sell the stock, Wells Fargo should have

transferred the shares to its Depository Trust Company account in August 2019. (Docket Entry

No. 80-27 at 15). Wells Fargo’s standard position is to have “[a]ll the assets that are held on [its]

system of record that are eligible to be there” in its Depository Trust Company account. (Docket

Entry No. 80-22 at 5). “Industry standard is brokers and banks pull free shares if they are DRS

eligible at DTC as soon as they are available into the Depository Trust Company and do not leave

it in a registered form.” (Docket Entry No. 80-27 at 15). Wells Fargo had not followed its own

standard position.

       On August 20, 2019, Equiniti notified Wells Fargo that “[y]our shares of Occidental

common stock that you received as Merger Consideration are now being held in book-entry form

by EQ Shareowner Services.” (Docket Entry No. 82-11; Docket Entry No. 82-12). Wells Fargo



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did not move the shares to the Depository Trust Company before the attempted trades in January

2020. Despite Tanner’s position at Wells Fargo and her responsibility for executing the Occidental

stock sales for Wells Fargo as Trustee, Tanner did not know that Wells Fargo did not have control

over the shares or that Equiniti could not guarantee that the shares would be sold on a specific date.

(Docket Entry No. 80-7 at 21; Docket Entry No. 82-13). Tanner did not learn that Equiniti had

control until the attempted liquidation on January 7, 2020. (Docket Entry No. 80-7 at 21).

Etheridge testified that she did know that Equiniti held these shares, but she admitted that she

“totally forgot” that fact when the time came to liquidate them. (Docket Entry No. 80-5 at 27).

She did not tell Tanner or another Wells Fargo employee. (Docket Entry No. 80-5 at 27).

       Tanner testified that she did not know what the stock’s registration coding meant, and she

was not trained on the significance of whether stock is held in the Depository Trust Company by

a broker or in the Direct Registration position by a transfer agent. (Docket Entry No. 80-7 at 21).

Etheridge did not think that it was part of her job to confirm the location of the shares before the

sale. (Docket Entry No. 80-5 at 27). Another Wells Fargo supervisor, Tonya Inscore, testified

that it was Tanner’s responsibility to learn all she could about the account she was going to be

managing. (Docket Entry No. 80-28 at 8). Tanner admittedly had not learned facts critical to

executing the sales on the timetable Wells Fargo had agreed to follow.

       On January 7, 2020, Inscore directed Tanner to sell the shares through a transfer agent.

Inscore explained that the remaining shares “are held at the transfer agent. You have to instruct

them to sell the shares. . . . [T]he shares were always with a transfer agent.” (Docket Entry No.

80-23 at 4–5).

       Tanner tried to contact Equiniti on January 7, 2020, but her efforts fell short. She first

called the toll-free general customer service line, instead of directly calling the Equiniti



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representatives who were assigned to the Occidental account. (Docket Entry No. 80-49). She was

told that it could take five business days to complete a sale and that Equiniti could not do same-

day sales or guarantee any specific liquidation schedule. (Docket Entry No. 80-49). Tanner then

faxed Equiniti an instruction to sell 29,340 shares to complete selling that day’s tranche of 381,420

shares. (Docket Entry No. 80-31).

        Tanner called the customer service line again on January 8, 2020, again bypassing the

Equiniti representatives assigned to the account. Tanner was told that her Transaction Request

was “still active, so it’s still being processed . . . but it looks like it might not be accepted” because

of a missing notarization. (Docket Entry No. 80-55). Equiniti reviewed the request again and sold

the 29,340 shares. (Docket Entry No. 80-27 at 7–8). Equiniti did not tell Tanner that the first

request had been accepted, and neither Tanner nor anyone else at Wells Fargo made any effort to

confirm the status of the Transaction Request. Instead, without checking, Wells Fargo sent a

second Transaction Request to Equiniti to sell 29,340 shares. (Docket Entry No. 80-7 at 27;

Docket Entry No. 82-18). Equiniti sold another 29,340 shares on January 10, 2020. (Docket Entry

No. 80-4 at 4).

        Tanner emailed Montgomery and Etheridge on January 8, stating: “I need to sell all

shares.” (Docket Entry No. 82-26 at 3). In another January 9 submission, Wells Fargo grouped

together three identical Transaction Requests for 381,420 shares—1,144,260 shares in total—to

complete the liquidation. (Docket Entry No. 82-21). But because Equiniti had already processed

two orders to sell 29,340 shares, only 1,114,920 shares remained, so Equiniti rejected the three

Transaction Requests. (Docket Entry No. 80-7 at 33). On January 9, 2020, Tanner emailed

Montgomery and Etheridge again, stating: “I know at this point we have no control over how and

when the shares are sold but I thought it would be worthwhile to try.” (Docket Entry No. 82-26 at



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3). Equiniti issued checks to Wells Fargo that reflected the proceeds from the two duplicate sales.

Neither Tanner nor anyone else at Wells Fargo noticed that Equiniti had fulfilled the initial sales

order twice. (Docket Entry No. 80-12 at 8; Docket Entry No. 80-7 at 32).

       Equiniti mailed a letter to Wells Fargo’s address of record on January 16, 2020, explaining

that multiple requests have been received” and asked Wells Fargo to “[p]lease clarify the total

number of shares you would like to sell.” (Docket Entry No. 82-25 at 1). The letter was left

unopened on Terri Montgomery’s desk at Wells Fargo for a month. (Docket Entry No. 80-12 at

7). No one at Wells Fargo followed up until Tanner finally called Equiniti on February 14, 2020.

At that point, Tanner still did not know that the shares had not been sold. (Docket Entry No. 80-

57 at 8). Tanner testified that:

       [w]e did not know that [Equiniti had rejected the sale].…So I put in the request and
       the check went to Winston-Salem and I received notice, ‘Hey, these two checks
       came in and they’ve been deposited,’ but no one told me this one had been rejected.
       ... I’m concerned that – that – and it has nothing to do with you. I’m just concerned
       that on our side that no one on the team raised the hand to say, ‘Hey, this got
       rejected. Do we need to re-send that?’…. If I hadn’t put this call in, I don’t think
       anyone would have known.

(Docket Entry No. 80-57 at 8–10). On February 18, 2020, Wells Fargo finally found the unopened

letter from Equiniti asking for clarification in a stack of apparently ignored mail on Montgomery’s

desk. (Docket Entry No. 80-7 at 37).

       The Wells Fargo Trust service team did not know that it could transfer shares from Equiniti

to the Depository Trust Company. Tanner testified that she believed the trading was “out of Wells

Fargo’s hands because now we are behold[en] to this form that we have to overnight to Equiniti.”

(Docket Entry No. 80-7 at 29). Tanner prepared a new Transaction Request letter on February 18,

2020, asking Equiniti to sell all of the remaining shares. But Inscore, a Wells Fargo supervisor,

refused to approve the letter without first receiving an updated account statement from Equiniti



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showing the January sales. (Docket Entry No. 80-7 at 37–38; Docket Entry No. 80-28 at 10). This

caused further delay. (Docket Entry No. 80-7 at 38).

       On February 26, 2020, Occidental and Wells Fargo held a quarterly investment review

meeting and discussed the delayed sales. (Docket Entry No. 80-7 at 38). Occidental arranged a

call with Equiniti and Wells Fargo, and Equiniti recommended that Wells Fargo transfer the shares

to the Depository Trust Company and sell them. (Docket Entry No. 80-46 at 5; Docket Entry No.

80-7 at 38–39). Tanner emailed internally to confirm that this was possible. (Docket Entry No.

80-7 at 38–39). On March 9, 2020, Tanner emailed that she needed help to make Wells Fargo the

registered custodian for the remaining shares. (Docket Entry No. 82-29 at 7). On March 16, 2020,

Tanner emailed her colleagues suggesting that they should revisit the liquidation plan that Wells

Fargo had agreed to implement, given Wells Fargo’s delay in selling the shares and the ensuing

market downturn. (Docket Entry No. 82-31 at 3). On March 17, 2020, Wells Fargo submitted the

instructions to have the shares transferred to its Depository Trust Account to be sold. (Docket

Entry No. 82-30). On March 18, 2020, the shares were transferred. (Docket Entry No. 82-30).

Therese Brown, the Wells Fargo employee who carried out the transfer, testified that it was an

“easy,” “straightforward,” “familiar,” and “standard DRS transfer.” (Docket Entry No. 80-22 at

8–10). On March 20, 2020, Wells Fargo sold the remaining 1,114,920 shares at $9.98 per share

in a block sale. (Docket Entry No. 80-4).

       The market improved in 2020, and the value of the reinvested assets in the Trust grew

throughout the rest of the year. The Trust made all benefits payments to Plan Participants in 2020,

and the value of the assets in the Trust on December 31, 2020, exceeded 125% of the then current

aggregate accrued obligations under the Plans. (Docket Entry No. 81-1 at 220–23).              The

reimbursement claims Occidental made in 2020 were paid. (Docket Entry No. 81-1 at 222). In



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April 2021, shortly after this lawsuit was filed, Wells Fargo transferred $23,696,213.01 to

Occidental as a discretionary disbursement of excess assets. (Docket Entry No. 80-4 at 4).

II.      The Motion for Leave to Amend

         Occidental and Anadarko seek leave to file a third amended complaint to clarify that

Anadarko is an injured party under the agreements and to allege that Wells Fargo breached the

Trust Agreement, in addition to breaching the contract formed in the December 2019 emails in

which Wells Fargo agreed to sell the shares on the timetable and in the amounts Occidental had

recommended. (Docket Entry No. 74). The second amended complaint alleged that Wells Fargo

breached contractual duties owed to both Occidental and Anadarko and added Anadarko as an

intervening plaintiff, but it did not consistently refer to Anadarko as an injured party under the

agreements. (Docket Entry No. 62).

         Wells Fargo argues that the plaintiffs’ proposed Third Amended Complaint “introduces an

entirely new claim by adding a sentence that alleges that Wells Fargo breached not one contract,

as currently pled, but two contracts: ‘Wells Fargo’s failure to timely sell the Occidental shares also

breached the Trust Agreement.’” (Docket Entry No. 98 at 4). Wells Fargo argues that the Third

Amended Complaint adds allegations about the breach of sections 1.5 and 5.5 of the Trust

Agreement that were not previously pleaded as part of Occidental’s and Anadarko’s breach of

contract claim. Wells Fargo argues that allowing the third amended complaint to proceed would

cause prejudice because the parties have already completed extensive discovery and filed

dispositive motions, the amendment is a futile attempt to resurrect the previously dismissed claim

for breach of fiduciary duty, and there is no good cause for the late amendment.

         Federal Rule of Civil Procedure 15(a) provides that leave to amend pleadings “shall be

freely given when justice so requires.” Rule 15 “evinces a bias in favor of granting leave to



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amend.” Jones v. Robinson Prop. Grp., L.P., 427 F.3d 987, 994 (5th Cir. 2005) (citations omitted).

“A district court must possess a ‘substantial reason’ to deny a request for leave to amend, but ‘leave

to amend is by no means automatic.’” Id. (citation and quotations omitted). “The policy of the

federal rules is to permit liberal amendment to facilitate determination of claims on the merits and

to prevent litigation from becoming a technical exercise in the fine points of pleading.” Dussouy

v. Gulf Coast Inv. Corp., 660 F.2d 594, 597–98 (5th Cir. 1981).

        The second amended complaint outlines Wells Fargo’s duties under the Benefits Trust

Agreement and alleges breaches of those obligations. The Second Amended Complaint alleges

that:

              At all times, when Wells Fargo accepted an instruction to sell securities, the
               Trust Agreement and applicable law obligated it to execute that sale timely
               and at the market price, in accordance with the directions to sell it had
               received, a service for which it was fully compensated under Section 5.7.
               The Trust Agreement was amended at various times thereafter, but none of
               the amendments divested Wells Fargo of its obligation to execute sales
               instructions it had accepted timely and at the market price.

              Wells Fargo was also obligated under [the] Trust Agreement Section
               5.5 and under applicable law to execute the trade prudently, competently,
               and on the dates specified, at the prevailing market prices, so as to ensure
               that the shares were liquidated as and when Wells Fargo had agreed to
               liquidate them. Wells Fargo breached all of these obligations.

              Wells Fargo’s failure to inquire and act swiftly in January to remedy its
               failure to sell the shares as it had agreed was another breach of the Trustee’s
               duties under the Trust Agreement and a breach of its agreement with
               Occidental to sell the shares timely and on the dates specified.

              Having agreed and undertaken the obligation to timely sell all of the shares
               . . . it was Wells Fargo’s obligation at law and under the Trust Agreement
               to ensure it had all the shares in hand and ready to sell as of the date the
               sales were to begin.

(Docket Entry No. 62 at 5, 7, 10) (emphasis added).




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          Wells Fargo’s argument that Occidental failed to allege in the Second Amended Complaint

that Wells Fargo breached its obligations under both the Trust Agreement and the December 2019

email contract is unpersuasive. Occidental clearly pleaded both breaches. Indeed, Wells Fargo

argued in an earlier motion to dismiss that there were breach of contract claims arising from both

the Trust Agreement and the December 2019 emails. “As an initial matter, the Trust Agreement

governs the precise subject matter of this dispute, and its text is contrary to the purported ‘contract’

that Occidental alleges the parties created via an exchange of correspondence.” (Docket Entry No.

11 at 10). Wells Fargo did not object at the hearing on the motion to dismiss to the allegations that

there were two bases for the breach of contract claim. (Docket Entry No. 80-2 at 47, 55). Wells

Fargo did not move to dismiss the breach of contract claim on either basis. The third amended

complaint reflects the breach of contract theories that both sides have recognized. Wells Fargo

has not shown that it was unable to fully discover the grounds for the breach of contract claims or

shown that it would otherwise be prejudiced by the amendment.

          Occidental’s motion for leave to amend is granted. (Docket Entry No. 74).

III.      The Motion to Seal

          Wells Fargo moves to seal certain materials that contain confidential financial information,

consistent with the terms of the parties’ agreed protective order. (Docket Entry Nos. 83, 92). Both

parties designated discovery materials as confidential under the protective order. There is no

opposition to the motion.

          Despite the public’s “general right to inspect and copy public record,” a court may order

documents sealed where, on balance, the party’s interest in having them sealed outweighs the

public’s interest in open access to judicial records. Seals v. Herzing Inc.-New Orleans, 482 F.

App’x 893, 896 (5th Cir. 2012) (the district court did not abuse its discretion by concluding that



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the parties’ agreement to seal the documents and the importance of keeping the materials sealed

outweighed the public’s interest in the records). Courts in this circuit have sealed documents to

prevent the disclosure of confidential business information. See, e.g., Doe v. A Corp., 709 F.2d

1043, 1045 (5th Cir. 1983) (noting the district court granted a motion to seal documents “to prevent

possible disclosure of confidential information concerning [a company’s] affairs”); Decapolis

Grp., LLC v. Mangesh Energy, Ltd., No. 3:13-CV-1547-M, 2014 WL 702000, at *2 (N.D. Tex.

Feb. 24, 2014) (granting a motion to seal an arbitration award in part to protect sensitive business

information such as strategic data).

         The parties seek to protect confidential business information and have agreed to the

protective order. The court grants the motions to seal. (Docket Entry No. 83, 92).

IV.      The Summary Judgment Standard and Evidence

         A.     The Summary Judgment Standard

         “Summary judgment is appropriate only when ‘the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.’”

Shepherd ex rel. Est. of Shepherd v. City of Shreveport, 920 F.3d 278, 282–83 (5th Cir. 2019)

(quoting Fed. R. Civ. P. 56(a)). “A material fact is one that might affect the outcome of the suit

under governing law,” and “a fact issue is genuine if the evidence is such that a reasonable jury

could return a verdict for the non-moving party.” Renwick v. PNK Lake Charles, LLC, 901 F.3d

605, 611 (5th Cir. 2018) (citations and internal quotation marks omitted). The moving party

“always bears the initial responsibility of informing the district court of the basis for its motion,”

and identifying the record evidence “which it believes demonstrate[s] the absence of a genuine

issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).




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       “When the moving party has met its Rule 56(c) burden, the nonmoving party cannot

survive a summary judgment motion by resting on the mere allegations of its pleadings.” Duffie

v. United States, 600 F.3d 362, 371 (5th Cir. 2010). The nonmovant must identify specific

evidence in the record and articulate how that evidence supports that party’s claim. Willis v. Cleco

Corp., 749 F.3d 314, 317 (5th Cir. 2014). “A party cannot defeat summary judgment with

conclusory allegations, unsubstantiated assertions, or only a scintilla of evidence.” Lamb v.

Ashford Place Apartments LLC, 914 F.3d 940, 946 (5th Cir. 2019) (citation and internal quotation

marks omitted). In deciding a summary judgment motion, “the evidence of the nonmovant is to

be believed, and all justifiable inferences are to be drawn in his or her favor.” Waste Mgmt. of La.,

LLC v. River Birch, Inc., 920 F.3d 958, 972 (5th Cir. 2019) (alterations omitted) (quoting Tolan v.

Cotton, 572 U.S. 650, 656 (2014)).

       When the parties cross-move for summary judgment, the court must review

“each motion independently, viewing the evidence and inferences in the light most favorable to

the nonmoving party.” Mid–Continent Cas. Co. v. Bay Rock Operating Co., 614 F.3d 105, 110

(5th Cir. 2010) (alteration omitted) (quotation marks omitted). The moving party bears a heavier

burden when seeking summary judgment on a claim or defense on which it would bear the burden

of proof at trial. Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986). In that case, it

“must establish beyond peradventure all of the essential elements of the claim or defense to

warrant [summary] judgment in [its] favor.” Id. (emphasis in original). “If the moving party fails

to meet this initial burden, the motion must be denied, regardless of the nonmovant’s

response.” Meecorp Capital Mkts., 265 F. App’x 155, 158 (quoting Little v. Liquid Air Corp., 37

F.3d 1069, 1075 (5th Cir. 1994)). When the nonmoving party raises an affirmative defense, the

moving party must first show that there is no genuine issue of material fact as to that defense. If



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the moving party meets its initial burden, the nonmoving party must point to “admissible evidence

legally sufficient to sustain a finding favorable . . . on each element of that defense.” Exxon Corp.

v. Oxxford Clothes, Inc., 109 F.3d 1070, 1074 (5th Cir. 1997).

       B.      The Summary Judgment Evidence

       Occidental submitted the follow evidence in support of the motion for summary judgment

and its response to Wells Fargo’s motion for summary judgment:

           a monthly invoice dated Oct. 11, 2019, (Docket Entry No. 80-1);

           excerpts from November 5, 2021 Hearing Transcript, (Docket Entry No. 80-2);

           the Benefits Trust Agreement, (Docket Entry No. 80-3);

           a Joint Statement of Stipulated Facts, (Docket Entry No. 80-4);

           excerpts from Deposition of Monique Etheridge, dated May 6, 2022, (Docket Entry
            No. 82-1; Docket Entry No. 95-7);

           a Trust Agreement Fee Schedule dated Sept. 1, 2019, (Docket Entry No. 80-6);

           excerpts from Deposition of Nikki Tanner, dated May 3, 2022, (Docket Entry No. 80-
            7; Docket Entry No. 95-10);

           the First Quarter Invoice dated April 7, 2020, (Docket Entry No. 82-2);

           the Second Quarter Invoice dated July 16, 2020, (Docket Entry No. 82-3);

           the July 2019 Trust Statement, (Docket Entry No. 82-4);

           the August 2019 Trust Statement, (Docket Entry No. 82-5);

           excerpts from Deposition of Terri Montgomery, dated April 13, 2022, (Docket Entry
            No. 80-12);

           the Anadarko Benefits Trust Spreadsheet, (Docket Entry No. 80-13);

           an email from N. Tanner to M. Bruegger, Karen Lippe, and Monica Etheridge, dated
            Oct. 25, 2019, (Docket Entry No. 82-6);

           excerpts from the deposition of Jason A. Schmitz, dated April 18, 2022, (Docket Entry
            No. 80-15; Docket Entry No. 95-14);
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      excerpts from the deposition of Karen Lippe, dated March 28, 2022, (Docket Entry No.
       80-16);

      excerpts from the deposition of Jessica Myers, dated March 30, 2022, (Docket Entry
       No. 80-17; Docket Entry No. 95-17);

      an OXY Stock Trading Analysis dated Dec. 17, 2019, (Docket Entry No. 80-18);

      an email thread between J. Schmitz and N. Tanner, et al., dated Dec. 19, 2019, (Docket
       Entry No. 82-7);

      a Liquidation Spreadsheet detailing Jan. 6-10, 2020 stock sales, (Docket Entry No. 82-
       8);

      a Trade Order dated Jan. 6, 2020, (Docket Entry No. 82-9);

      excerpts from the deposition of Therese A. Brown, dated April 26, 2022, (Docket Entry
       No. 80-22);

      an email thread between K. Ly and N. Tanner and others dated January 7, 2020,
       (Docket Entry No. 82-10);

      Wells Fargo’s Response to EQ’s Interrogatory No. 2 dated May 31, 2022, (Docket
       Entry No. 80-24);

      an EQ statement dated Aug. 20, 2019, (Docket Entry No. 82-11);

      an email from EQ’s A. Elfstrom to T. Inscore and others dated Aug. 21, 2019, (Docket
       Entry No. 82-12);

      excerpts from the deposition of Kathryn Sevcik, dated April 28, 2022, (Docket Entry
       No. 80-27);

      excerpts from the deposition of Tonya Inscore, dated May 10, 2022, (Docket Entry No.
       80-28);

      a “chat” between N. Tanner and M. Etheridge dated Jan. 7, 2020, (Docket Entry No.
       82-13);

      an email thread from T. Inscore to L. Dahle dated August 20, 2019, (Docket Entry No.
       82-14);

      a Transaction Request dated Jan. 7, 2020, (Docket Entry No. 82-15);



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      a transcript of a January 8, 2020 call from N. Tanner to EQ, (Docket Entry No. 80-32);

      an EQ Order Processing Log dated Jan. 8-10, 2020, (Docket Entry No. 82-16);

      an EQ Sale Processing Information dated Jan. 7-14, 2020, (Docket Entry No. 82-17);

      a Transaction Request dated January 9, 2020, (Docket Entry No. 82-18);

      an EQ Sale Processing Information form dated January 9-15, 2020, (Docket Entry No.

       82-19);

      an EQ Check to Wells Fargo dated January 10, 2020 sale, payable Jan. 15, (Docket
       Entry No. 82-20);

      a Transaction Request dated January 9, 2020, (Docket Entry No. 82-21);

      a “Liquidate Oxy” reminder for January 6-10, 2020, created December 19, 2019,
       (Docket Entry No. 82-22);

      a Jan. 2020 Trust Statement, (Docket Entry No. 82-23);

      a Change of Control Best Practices, (Docket Entry No. 82-24);

      a recording of a February 14, 2020, call from N. Tanner to EQ, (Docket Entry No. 80-
       42);

      a sale-request rejection letter from EQ to Wells Fargo dated January 16, 2020, (Docket
       Entry No. 82-25);

      an email thread between N. Tanner and M. Russell, et. al, dated Feb. 18, 2020, (Docket
       Entry No. 82-26);

      a Transaction Request dated Feb. 18, 2020, (Docket Entry No. 82-27);

      excerpts from the deposition of Elizabeth Hyatt Gooch, dated March 29, 2022, (Docket
       Entry No. 80-46);

      an email thread between E. Gooch and N. Tanner and others dated February 26, 2020,
       (Docket Entry No. 82-28);

      an email thread between N. Tanner and M. Russell and others dated March 12, 2020,
       (Docket Entry No. 82-29);

      a recording of a January 7, 2020 call from Tanner to EQ, (Docket Entry No. 80-49);

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      an email thread between T. Brown and N. Tanner and others dated March 18, 2020,
       (Docket Entry No. 82-30);

      an email thread between N. Tanner and J. Mason dated March 20, 2020, (Docket Entry
       No. 82-31);

      a transcript of a January 7, 2020, call from Tanner to EQ, (Docket Entry No. 80-52);

      a chat between N. Tanner and M. Etheridge dated March 16, 2020, (Docket Entry No.
       82-32);

      a Sale Order from N. Tanner dated March 20, 2020, (Docket Entry No. 82-33);

      a recording of Jan. 8, 2020 call from N. Tanner to EQ, (Docket Entry No. 80-55);

      an EQ Check to Wells Fargo dated January 9, 2020, payable on January 14, (Docket
       Entry No. 82-34);

      a transcript of a February 14, 2020, call from N. Tanner to EQ, (Docket Entry No. 80-
       57);

      emails between T. Montgomery and N. Tanner dated February 14, 2020, (Docket Entry
       No. 82-35);

      emails between N. Tanner and M. Russell and others dated February 28, 2020, (Docket
       Entry No. 82-36);

      a recording of a March 12, 2020, call from N. Tanner to EQ, (Docket Entry No. 80-
       60);

      a transcript of a March 12, 2020, call from N. Tanner to EQ, (Docket Entry No. 80-61);

      an email thread between N. Tanner and J. Myers and others, dated February 5, 2020,
       (Docket Entry No. 80-61);

      an email from M. Etheridge to A. Frazier, dated December 20, 2019, (Docket Entry
       No. 95-23);

      chat between N. Tanner and M. Etheridge, dated December 19, 2019, (Docket Entry
       No. 95-24); and

      the plaintiffs’ Rule 30(b)(6) Deposition Notice to Wells Fargo, (Docket Entry No. 95-
       25).



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       Wells Fargo submitted evidence in support of its motion for summary judgment and in

response to Occidental’s motion for summary judgment, as follows:

          the joint statement of stipulated facts;

          Wells Fargo’s Shareowner Services Transfer Agent Agreement;

          the Purchase and Assumption Agreement;

          the Notice of Change in Control dated August 8, 2019;

          an email exchange dated October 2019;

          an email exchange dated December 17-19, 2019;

          a table of historical stock prices;

          a reversion request dated April 12, 2021;

          a reversion response dated April 21, 2021;

          excerpts from the deposition of Jason Schmitz, dated April 18, 2022;

          excerpts from the deposition of Megan Bruegger, dated February 16, 2022;

          excerpts from the deposition of Jessica Myers, dated March 30, 2022;

          excerpts from the deposition of Nikki Tanner, dated May 3, 2022;

          excerpts from the deposition of Karen Lippe, dated March 28, 2022;

          excerpts from the deposition of Elizabeth Gooch, dated March 29, 2022;

          the Anadarko Petroleum Benefits Trust Agreement

          email correspondence dated July 31 to August 1, 2019;

          email correspondence dated August 8, 2019;

          email correspondence dated October 22, 2019;

          email correspondence dated October 25, 2019;

          email correspondence dated December 10, 2019;

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          internal Occidental correspondence dated December 12, 2019;

          email correspondence dated December 10-17, 2019;

          email correspondence dated October 25-November 21, 2019;

          email correspondence dated December 10, 2019;

          email correspondence dated December 10-16, 2019;

          email correspondence dated December 10-19, 2019;

          email correspondence dated February 5, 2020;

          email correspondence dated January 31, 2020;

          the First Amendment to the Anadarko Petroleum Corporation Benefits Trust
           Agreement;

          the Second Amendment to the Anadarko Petroleum Corporation Benefits Trust
           Agreement;

          email correspondence dated March 26-May 2, 2020;

          email correspondence dated April 6, 2021;

          internal correspondence between Monique Etheridge and Nikki Tanner, dated
           December 19, 2019;

          excerpts from the deposition of Monique Etheridge;

          excerpts from the deposition of Stephen Eubank;

          excerpts from the deposition of Kathryn Sevcik;

          internal correspondence dated January 15-16, 2020;

          correspondence from Shareholder Communications, dated January 16, 2020;

          Occidental Petroleum corporation transaction requests; and

          a slip-sheet for a January 13, 2020, telephone call.

(Docket Entry No. 81-1; Docket Entry No. 91-1).


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V.      The Summary Judgment Motions

        Occidental moved for summary judgment on its claims that Wells Fargo breached the Trust

Agreement and the contract that was formed through the email exchanges in December 2019.

Wells Fargo argues that the facts are undisputed and, as a matter of law, do not show a breach of

contact.   Wells Fargo argues in the alternative that there are factual disputes material to

determining whether a contract was formed by email in December 2019, whether Wells Fargo

breached that contract, and whether Occidental suffered damages.

        If the facts are undisputed, a court determines contract formation. X Techs., Inc. v. Marvin

Test Sys., Inc., 719 F.3d 406, 414 (5th Cir. 2013). A court also determines what a contract means

unless it is ambiguous. D.E.W., Inc. v. Local 93, Laborers’ Int’l Union, 957 F.2d 196, 199 (5th

Cir. 1992). The fact that parties may disagree about what a contract requires does not make the

contract ambiguous. REO Indus., Inc. v. Natural Gas Pipeline Co. of America, 932 F.2d 447, 453

(5th Cir. 1991). “The primary concern of a court in construing a written contract is to ascertain

the true intent of the parties as expressed in the instrument. If a written contract is so worded that

it can be given a definite or certain legal meaning, then it is not ambiguous.” Nat’l Fire Ins. Co.

of Pittsburgh, Pa. v. CBI Indus., 907 S.W.2d 517, 520 (Tex. 1995). However, if the court finds

the contract to be ambiguous, summary judgment is not proper because its interpretation becomes

a question of fact for the jury. Fireman’s Fund Ins. Co. v. Murchison, 937 F.2d 204, 207 (5th Cir.

1991). “‘The court determines what conduct is required by the parties,’ and, to the extent the

parties dispute whether or not they have performed that conduct, the court submits that factual

dispute to the jury.” X Techs., Inc., 719 F.3d at 413–14 (quoting Meek v. Bishop Peterson & Sharp,

P.C., 919 S.W.2d 805, 808 (Tex. App.—Houston [14th Dist.] 1996, writ denied)).




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        Under Texas law, the elements of a breach of contract are (1) existence of a valid contract,

(2) the plaintiff performed or tendered performance, (3) the defendant breached the contract, and

(4) the plaintiff suffered damages because of that breach. Case Corp. v. Hi-class Bus. Sys. Of Am.,

Inc., 184 S.W.3d 760, 769 (Tex. App.—Dallas 2005, pet. denied).

       A.      The Breach of the Trust Agreement

       Occidental argues that the Trust Agreement is a valid contract, under which Wells Fargo

agreed to prudently invest the funds held in the Trust, and that Wells Fargo breached this

agreement by failing to timely sell the Occidental shares in January 2020. Occidental points to the

provisions requiring that Wells Fargo:

           “invest and reinvest part or all of the Trust Fund in any real or personal
            property”;

           “diversify such investments so as to minimize the risk of large losses unless
            under the circumstances it is clearly prudent not to do so,” (Docket Entry No.
            80-3 at § 5.5(a));

           “retain in cash such amounts as the Trustee considers advisable,” (Docket Entry
            No. 80-3 at § 5.5(b));

           “invest and manage trust assets as a prudent investor would” and in so doing,
            “exercise reasonable care, skill, and caution,” (Docket Entry No. 80-3 at § 5.5);
            TEX. PROP. CODE § 117.004(a);

           “manage, sell, … and otherwise deal with all real and personal property held by
            the Trustee on such terms and conditions as the Trustee shall decide,” (Docket
            Entry No. 80-3 at § 5.5(c)); and

           “perform all other acts which, in the Trustee’s judgment, are appropriate for the
            proper management, investment, and distribution of the Trust Fund to the extent
            such duties have not been assigned to others as provided herein;” Docket Entry
            No. 80-3 at § 5.5(n)).

       Occidental argues that Wells Fargo recognized that it was at least prudent to sell the

Occidental shares to diversify the Trust holdings. Occidental also argues that Wells Fargo agreed

to carry out Occidental’s recommended liquidation plan because it was at least prudent to avoid a

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single huge sale that could depress the market price. Wells Fargo did not, however, sell the shares

when prudence had led to its agreement to do so. (Docket Entry No. 80-4 at 3–4; Docket Entry

No. 80-7 at 20).

       Wells Fargo responds that the Trust Agreement did not impose contractual duties but

instead imposed only the fiduciary obligations of a Trustee. Wells Fargo argues that those duties

are the general duties of prudent trust management imposed by the Texas Property Code and

common law, duties that cannot give rise to a common-law breach of contract claim.

       As noted above, Wells Fargo’s argument that the Trust Agreement is not a contract is

inconsistent with the position it has taken throughout this litigation. For example, at the hearing

on the motions to dismiss, counsel had the following exchange with the court:

       Counsel:       “Your Honor, there is no fiduciary duty owed to Wells Fargo.”
       The court:     “What is the duty?”
       Counsel:       “The duty would be the contractual duties that are set forth in the
                      Trust Agreement[.]”

(Docket Entry No. 80-2 at 5).

       Wells Fargo points to cases holding that beneficiaries cannot bring breach of contract

claims based on a fiduciary relationship. See e.g., Harry & Jeanette Weinberg Found. Inc. v. ANB

Inv. Mgt. & Tr. Co., No. 97 C 4362, 1997 WL 652342, at *4 (N.D. Ill. Oct. 10, 1997) (a beneficiary

could not bring a claim for breach of contract based on a trust agreement because the relationship

was governed by the law of fiduciary duties). This court earlier ruled that Wells Fargo did not

owe the plaintiffs fiduciary duties, and that the parties’ relationship was governed by the Trust

Agreement as a contract. And even if there is no breach of contract claim for an allegation that a

defendant trustee generally breached fiduciary duties, courts allow claims for breach of trust

agreements when the alleged breach arises from failing to execute or implement a specific

decision, rather than a breach of fiduciary duties generally. See, e.g., Thompson ex rel. Thorp

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Family Charitable Remainder Unitrust v. Federico, 324 F. Supp. 2d 1152, 1167–69 (D. Or. 2004)

(a plaintiff could bring a breach of contract claim but not a breach of fiduciary duty claim when

the parties had signed an agreement “sharply proscribing the exercise of independent judgment”

by the trust manager). Although Wells Fargo had discretion under the Trust Agreement, its

discretion was constrained by the duties imposed in that Agreement as well as by its agreement in

the email exchange to accept and implement Occidental’s recommendation on when to sell certain

numbers of shares. Wells Fargo has not pointed to evidence showing genuine factual disputes

material to determining that the Trust Agreement was a binding contract between the parties that,

in itself and in combination with other documents, imposed specific contractual duties on Wells

Fargo.

         Wells Fargo argues that there are genuine factual disputes material to determining whether

time was of the essence of any contract because Occidental: (1) delayed providing input about the

sale for months; (2) Schmitz testified that his concern was the trading volume and liquidity, not

the expected market price on a certain date; and (3) Occidental did nothing after learning on

January 31, 2020, that the sales had not been completed as Wells Fargo had agreed, until it filed

this suit.

         Occidental points to the five specific sales dates that were listed in Schmitz’s email—

January 6 to 10, 2020—and points to the testimony that both Occidental and Wells Fargo fully

intended the sales to occur on those dates to “get out as soon as practicable” from the risky

Occidental stock concentration in the Trust. (Docket Entry No. 80-16 at 5). Schmitz testified that

Occidental was concerned with market liquidity around the holidays and “the thought was that we

were looking to the earliest date where liquidity would return to the market.” (Docket Entry No.

80-16 at 5). Tanner testified that on January 7, 2022, when she realized that she could not trade



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the shares on the planned timetable, she felt time was of the essence. (Docket Entry No. 80-7 at

26).

       Even if Occidental had been relatively indifferent to the specific dates for stock sales before

its email recommendation and Wells Fargo’s agreement in December 2019, and even if before that

agreement Wells Fargo had discretion as to whether and when to sell the shares in the Trust, Wells

Fargo agreed to use that discretion to make specific sales on five specific dates in January 2020.

Wells Fargo communicated that agreement to Occidental. Wells Fargo has not pointed to any

record evidence creating a factual dispute material to determining that the sales amounts and dates

were part of Wells Fargo’s agreement communicated to Occidental in the December 19, 2019,

email. Wells Fargo breached its agreement to sell the shares on the dates specified. Even if Wells

Fargo’s evidence did support an inference that the specific dates in January were immaterial to

Occidental—which the record refutes—factual disputes as to whether a breach is material cannot

defeat summary judgment on a breach of contract claim. “[S]ettled Texas law regarding the

elements of a contract claim . . . requires a finding of breach, not a finding of material breach.”

See Bartush-Schnitzius Foods Co. v. Cimco Refrigeration, Inc., 518 S.W.3d 432, 436 (Tex. 2017).

Nor do disputes as to whether Equiniti exacerbated the delay in selling the stock by poor

communications between Wells Fargo and Equiniti starting on January 7, 2020, create a factual

dispute material to determining that Wells Fargo breached its agreement to sell all the shares in

specific increments between January 6 and January 10, 2020.

       Wells Fargo also has not pointed to any evidence showing factual disputes material to

determining that it breached the agreement to sell the shares in the specified amounts and on the

specified dates. On January 6, 2020, Tanner emailed Wells Fargo’s trading desk a five-day order

to sell the shares as specified in Schmitz’s email. (Docket Entry No. 82-8; Docket Entry No. 82-



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9). Tanner intended to sell the shares as and when Wells Fargo had agreed to do so. (Docket Entry

No. 80-7 at 20). Tanner did not know that because of the way Wells Fargo held the shares, it did

not have control over them and could not sell them as Tanner had specified in the five-day order.

(Docket Entry No. 7 at 21). This does not create a factual dispute as to whether Wells Fargo failed

to perform as agreed. It did.

       The fact that Wells Fargo had discretion as a Trustee under the Trust Agreement on when

and what to sell from the Trust is consistent with the undisputed evidence in the record that Wells

Fargo exercised that discretion by committing to sell the stock in specified tranches on specified

dates. Indeed, the record shows that Wells Fargo accepted Occidental’s recommendation to

execute the sales in this fashion in Wells Fargo’s role as a prudent Trustee under the Trust

Agreement. The undisputed evidence shows Wells Fargo decided to diversify Occidental’s

portfolio and hold only enough cash to meet the Trust obligations under the relevant benefit Plans.

These decisions were made within the scope of Wells Fargo’s responsibilities under § 5.5(a) and

§ 5.5(n) of the Trust Agreement, as well as other duties imposed by law under § 5.5. “Other duties”

includes the “prudent investor” provision under the Texas Property Code §§ 117.001–117.012.

Under § 117.004(a), “[a] trustee shall invest and manage trust assets as a prudent investor would,

by considering the purposes, terms, distribution requirements, and other circumstances of the

trust.” Wells Fargo agreed to diversify by selling the Occidental stock, and agreed to do so on the

dates specified to reduce the risk of selling all the stock at once, and to reduce the risk of extending

the sale dates too far into the uncertain future. Wells Fargo has not shown that there are factual

disputes material to determining that it breached because the evidence indisputably shows that

Wells Fargo believed it urgently needed to diversify the Trust holdings, recommended that to

Occidental, agreed to accept Occidental’s recommendation as to when to sell the shares, but failed



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to execute the sales as agreed. Wells Fargo did not reconsider its decision not to sell the shares;

through a series of clumsy missteps, it simply failed to do so. In short, Wells Fargo failed to

implement what it agreed to do to prudently manage the Trust, in breach of its obligations under

the Trust Agreement.

       B.      The Breach of the Email Contract

       Occidental argues that Wells Fargo’s failure to sell the shares as it had agreed not only

breached its contractual duties under the Trust Agreement, but also breached the contract formed

when Wells Fargo agreed to sell the Occidental stock by accepting Schmitz’s proposal on

December 19, 2019. Occidental argues that Schmitz offered the liquidation plan by email on

December 17, 2019, Wells Fargo accepted that plan on December 19, 2019, there was a meeting

of the minds on the terms of the liquidation, the agreement was signed by Tanner electronically,

and Wells Fargo followed up the email exchange by preparing to and attempting to carry out the

agreement, failing to do so only because of its own missteps.

       Etheridge, the relationship manager, testified that “[t]here was a meeting of the minds. I

can agree to that.” (Docket Entry No. 91-1 at 50). Wells Fargo responds that when read in context,

Etheridge’s testimony shows that she did not think that Wells Fargo needed Occidental’s input on

a proposal to sell the shares in the Trust but instead sought that input as a courtesy, and that Wells

Fargo never intended to relinquish the discretion provided under the Trust Agreement. (Docket

Entry No. 91-1 at 45). Wells Fargo points to Bruegger’s testimony that Schmitz did not have

authority to bind Occidental or Anadarko. (Docket Entry No. 91-1 at 19). Wells Fargo then argues

that even if Schmitz’s email was an offer, Tanner responded to the email that she was accepting it

as a “recommendation,” which makes her response a rejection and a counteroffer. Wells Fargo

argues that Occidental’s subsequent failure to check on the sales or follow up with Wells Fargo



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when Occidental became aware of the delay in the sales shows that Occidental did not understand

the email exchange as Wells Fargo’s binding agreement to sell the specified amounts on the

specified dates. The court addresses each of these arguments in turn.

       The exchange of emails between Tanner and Schmitz on December 19, 2019, shows an

agreement that “[b]eginning January 6, 2020,” Wells Fargo would sell “381,420 shares each day

over the course of the week with a final liquidation on January 10, 2020.” (Docket Entry Nos. 80-

19, 80-32). This is unambiguous. “Wells Fargo accepts your recommendation for the ratable

liquidation plan[.]” (Docket Entry No. 80-32). The parties’ shared understanding is obvious from

the fact that Wells Fargo performed in part by selling 733,500 shares on January 6 and 7, 2020, in

accordance with the email agreement. “Part performance under an agreement may remove

uncertainty and establish that a contract enforceable as a bargain has been formed[.]” Fischer v.

CTMI, L.L.C., 479 S.W.3d 231, 240 (Tex. 2016). The fact that the parties used the word

“recommendation” does not change that the recommendation was “accepted” and that the parties’

performance show their shared belief that they had agreed that Wells Fargo would sell the specified

number of shares on specified dates.

       The fact that Schmitz did not have signing authority under the Trust does not change the

fact or effect of the email agreement. “Actual authority is authority that the principal intentionally

conferred on the agent or allowed the agent to believe was conferred.” Matter of Russell, 941 F.3d

199, 204 (5th Cir. 2019) (quoting Ebner v. First State Bank of Smithville, 27 S.W.3d 287, 300

(Tex. App.—Austin 2000, pet. denied)). Schmitz testified that he reviewed the liquidation plan

with Jamie Casas, Occidental’s Vice President and Treasurer, who was an authorized Trust

signatory, and that Casas approved the plan. (Docket Entry No. 95-13 at 11, 13). Etheridge and

Tanner sent messages to each other on December 19, 2019, acknowledging that Schmitz was not



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an authorized signer but concluding that they could proceed. Etheridge explained that waiting for

a different signature would slow things down and that they needed to keep things moving. (Docket

Entry No. 96-10).

       Occidental emphasizes that that it is not challenging Schmitz’s authority to act on its behalf,

and Wells Fargo has not pointed to authority that a contract can be avoided because one party

argues that the other party’s agent did not have authority, even though that party accepted the

agent’s authority to perform the acts at issue. Wells Fargo ignored any concerns that it had with

Schmitz’s authority and moved forward on its agreement to follow Schmitz’s recommendation by

selling the shares. Wells Fargo cannot now be excused from its failures to perform as agreed by

arguing that it does not believe that Schmitz’s authority was binding. The undisputed evidence is

that Occidental intended Schmitz’s recommendation to be binding, and that Wells Fargo intended

to accept and implement Schmitz’s recommendation.

       Wells Fargo again argues that even if the emails did create a contract, there are factual

disputes material to determining whether timing was of the essence under this contract and whether

Wells Fargo’s attempt to perform under the contract was reasonable. There is no evidence

supporting an inference that the dates were not a part of the contract after the parties agreed to the

dates by email on December 19, 2019. Whether the dates were material is a different question

from whether they were a part of the agreement. Cf. Breof BNK Texas, L.P. v. D.H. Hill Advisors,

Inc., 370 S.W.3d 58, 63 (Tex. App.—Houston [14th Dist.] 2012, no pet.) (analyzing whether

timing was a material term as a fact question). Occidental does not need to show that the dates

were material to show that Wells Fargo breached. See Bartush-Schnitzius Foods Co., 518 S.W.3d

at 436. And the undisputed evidence is that the dates were material. Occidental wanted the shares

sold as soon as the 2019 holiday season ended. Occidental proposed and Wells Fargo agreed to



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sell the shares in tranches from January 6, 2020, through January 10, 2020. Wells Fargo

understood that agreement and attempted to sell the shares on those dates. Wells Fargo has not

shown that there is a factual basis to dispute that those sale dates were a material part of the

agreement.

        Wells Fargo also argues that the evidence shows that it diligently tried to sell the shares,

and that Occidental and Equiniti were responsible for the delays in the sales. But this does not

provide a factual basis to dispute that Wells Fargo committed to selling the shares on January 6

through January 10, 2020, and should have taken steps before then to ensure that the transactions

would go through—such as finding out where the shares were held and making sure that its

employees knew how to execute the trades. Wells Fargo did not do so. The undisputed evidence

is that the team Wells Fargo tasked with making the trades and managing this multi-million dollar

Trust did not have the knowledge, training, or experience to do so. Wells Fargo’s arguments as to

Equiniti’s alleged negligence following the January 7, 2020, botched sales attempt do not address

the undisputed evidence as to Wells Fargo’s failure to sell the shares as agreed, before its

communications with Equiniti began.1

        Wells Fargo argues that there was no consideration under the liquidation agreement

because the fees Wells Fargo was receiving as Trustee were only for it to continue doing what it

was already required to do under the Trust Agreement. Consideration is a “bargained-for”

exchange of promises. Roark v. Stallworth Oil & Gas, Inc., 813 S.W.2d 492, 496 (Tex. 1991). It



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  Wells Fargo argues that there are factual disputes as to Equiniti’s negligence in responding to its requests,
executing a duplicate transaction request, and providing misleading explanations to Wells Fargo’s
representatives for the transaction problems in February 2020. These issues are irrelevant to whether Wells
Fargo breached its obligations to Occidental. And Wells Fargo has not alleged that Equiniti owed it a duty
under Texas law. “It is fundamental that the existence of a legally cognizable duty is a prerequisite to all
tort liability.” Perry v. S.N., 973 S.W.2d 301, 304 (Tex. 1998). For this reason, Occidental is entitled to
summary judgment on the negligence counterclaim.

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can be either a benefit to the promisor or a detriment to the promisee. Fort Worth Indep. Sch. Dist.

v. City of Fort Worth, 22 S.W.3d 831, 841 (Tex. 2000). It can consist of a right, interest, profit, or

benefit that accrues to one party, or some forbearance, loss, or responsibility undertaken or

incurred by the other party. Copeland v. Alsobrook, 3 S.W.3d 598, 606 (Tex. App.—San Antonio

1999, pet. denied). Even an exchange of promises is sufficient consideration in Texas. Saenz v.

Martinez, No. 04-07-00339-CV, 2008 WL 4809217, at *4 (Tex. App.—San Antonio 2008, no

pet.).

         In the first quarter of 2020, Occidental paid Wells Fargo more than $140,000 for its

investment services as Trustee, plus additional fees and expenses. (Docket Entry No. 82-2). The

Trust Agreement did not provide extra payments for specific tasks that Wells Fargo undertook in

order to carry out or as part of its duties as Trustee. The Trust Agreement fees are themselves

consideration. And, as Occidental argues, Wells Fargo “sought, wanted, and obtained Plaintiffs’

consent to the time, place, and manner of the liquidation, thus eliminating the risk Wells Fargo

faced that [Occidental] might later claim Wells Fargo has chosen an imprudent means or method

to conduct the liquidation,” which would have been contrary to its duties as Trustee, for which it

was paid an annual amount.

         Occidental cites Saenz, in which the defendant trustee had discretion under a trust

agreement to make distributions, and exercised that discretion to agree to pay the plaintiff a specific

amount within a specific time.       2008 WL 4809217, at *4.          The court explained that the

consideration was the benefit from converting “what had been a discretionary distribution by the

trustee into a mandatory distribution of income.” Id. Wells Fargo received the benefit of its

agreement to sell the stock in specified tranches in order to prudently manage the Trust assets. It

was attempting to fulfill its duties under the Trust Agreement. Occidental also gave up its



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opportunity to pursue a different plan with the stock, such as by redeeming the stock for equal or

fair value.   Both parties minimized risk through this agreement.            There was sufficient

consideration. Occidental has shown that there was a valid contract, it performed by paying Wells

Fargo for its services, and Wells Fargo breached.

       To the extent that Occidental’s or Equiniti’s conduct after January 6, 2020, bears on Wells

Fargo’s affirmative defenses, Occidental has met its burden of showing the absence of factual

disputes material to determining that Wells Fargo breached its contract to sell the shares as

promised in the email exchange. “If the burden of proof at trial lies with the nonmoving party, the

movant may satisfy its initial burden by ‘showing’—that is, pointing out to the district court—that

there is an absence of evidence to support the nonmoving party’s case.” Duffie v. United States,

600 F.3d at 371. As the party with the burden on its affirmative defenses at trial, Wells Fargo

“must identify specific evidence in the record and articulate the manner in which that evidence

supports that party’s claim.” Id. Wells Fargo has not recited the elements of its affirmative

defenses, nor pointed to evidence supporting its affirmative defenses. “[T]he nonmoving party

cannot survive a summary judgment motion by resting on the mere allegations of its pleadings.”

Id. Among other things, the record shows that Wells Fargo did not know to transfer the shares to

its own Depository Trust Company position and sell them from there; that Wells Fargo then

compounded its own errors of not knowing how to execute the trades by entering duplicate sell

orders and by not checking whether they had been executed before trying to enter a third sell order;

that Wells Fargo for some reason sought help from Equiniti by calling the general customer help

line instead of the Equiniti personnel specifically assigned to the Wells Fargo account; and that

Wells Fargo left ignored and unopened a letter notifying Wells Fargo of problems in its efforts to

execute trades. These are among the undisputed facts in the record. Wells Fargo’s affirmative



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defenses do not provide a basis to deny summary judgment in favor of Occidental on the breach

of contract claims. Wells Fargo’s efforts to avoid summary judgment in favor of Occidental or to

support its own motion for summary judgment by blaming Occidental for steps taken by Equiniti

as Occidental’s agent fail for lack of any evidentiary or legal support. Wells Fargo has not pointed

to factual disputes that would permit the court to deny Occidental’s motion for summary judgment

or shown that it is entitled to judgment as a matter of law based on the undisputed facts. Wells

Fargo’s motion for summary judgment is denied.

       C.      Damages

       The remaining element of Occidental’s breach of contract claims is damages, whether

direct or consequential. Dallas/Fort Worth Int’l Airport Bd. v. Vizant Techs., LLC, 576 S.W.3d

362, 373 (Tex. 2019). Direct damages often include restoration of “the benefit of a plaintiff’s

bargain.” Signature Indus. Servs., LLC v. Int’l Paper Co., 638 S.W.3d 179, 186 (Tex. 2022) (citing

Quigley v. Bennett, 227 S.W.3d 51, 56 (Tex. 2007). Consequential damages compensate the

plaintiff for foreseeable losses that were caused by the breach but were not a necessary

consequence of that breach. Id. (citing Stuart v. Bayless, 964 S.W.2d 920, 921 (Tex. 1998)).

       “The normal measure of damages in a breach-of-contract case is the benefit-of-the-bargain

measure, the purpose of which is to restore the injured party to the economic position it would

have been in had the contract been performed.” Mays v. Pierce, 203 S.W.3d 564, 577 (Tex.

App.—Houston [14th Dist.] 2006, pet. denied). “The correct standard for assessing loss of benefit

of the bargain damages measures the difference between the value as represented and the value as

received by the nonbreaching party.” Sacks, 481 S.W.3d at 247; see DaimlerChrysler Motors Co.,

LLC v. Manuel, 362 S.W.3d 160, 180 (Tex. App.—Fort Worth 2012, no pet.) (“One measure of




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direct damages is the ‘benefit of the bargain’ measure, which utilizes an expectancy theory and

evaluates the difference between the value as represented and the value received.”).

       Wells Fargo argues that Occidental cannot show that it suffered damages because the Trust

Agreement provides only for discretionary payments and Wells Fargo had sole discretion over

those payments. Wells Fargo additionally argues that the decline in share price between January

6 to 10 and March 2020 was unforeseeable and that the price could just as easily have increased

because of the delay in the sales. Wells Fargo also argues that damages must be calculated as the

difference between the contract price and the fair market value of the shares at the time of breach.

Wells Fargo argues that are no direct damages because the shares had the same price on the date

of the alleged agreement and the day that agreement was allegedly breached in January 2020. Any

damages suffered after the breach are a consequential, not direct damage.

       Occidental argues that it is entitled to damages measured by the difference between the

value of the shares in January 2020 and in March 2020, when the shares were finally sold. Wells

Fargo made a discretionary payment to Occidental in April 2021 because the Trust was

substantially overfunded. Occidental argues that this payment would have been $39.4 million

higher if Wells Fargo had not breached its obligations to sell the shares in January 2020.

Occidental also argues that the difference in stock price between December 2019 and January 2020

does not address its injury because under the agreement to sell, it would have had cash, not shares,

on January 10, 2020. Occidental agrees that Wells Fargo can subtract the cash that the Trust

eventually received from the stock sales in March 2020.

       The proper method for measuring damages is a question of law. Yazdani-Beioky v.

Sharifan, 550 S.W.3d 808, 834 (Tex. App.—Houston [14th Dist.] 2018, pet. denied). In Miga v.

Jensen, 96 S.W.3d 207 (Tex. 2002), the defendant offered the plaintiff a stock option but refused



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to honor the agreement when the plaintiff tried to exercise it. Id. at 209. The court explained that

the option was a contract to sell the stock at a certain time and price. Id. at 215. “[D]amages for

failure to deliver stock, like failure to deliver other marketable goods, are measured precisely as

they were 150 years ago: the difference between the value of the goods bargained for and the

contract price at the time set for delivery.” Id. at 216. The plaintiff in Miga “simply did not claim

lost profits,” and the court explained that its holding would not preclude the award of lost profits

in contract disputes involving stock and stock options. Id. at 215.

       Wells Fargo argues that the Miga calculation applies here, and because there is no

difference between the price at the time of the parties’ December 2019 agreement and the price at

the time of the botched stock sales attempts in January 2020, Occidental is not entitled to any

damages. Occidental distinguishes Miga because the injury here is from the failed sales of stock,

not the delivery of shares. The court agrees. “Applying the Miga measure of damages makes

sense where an option holder’s exercise of his right to buy stock was rejected and no delivery of

stock occurred.” Yazdani-Beioky, 550 S.W.3d at 834. The Miga calculation is inapplicable here

because Occidental is seeking the difference between the price at the time the stock should have

been sold had Wells Fargo properly executed the sales and the price at the time the stock was sold.

Occidental seeks lost profits.

       Occidental agrees that the Trustee had no obligation to make interim payments. But

Occidental’s damages measure is not only from receiving a smaller cash distribution in April 2021.

The damages measure reflects the loss in value in the assets held in the Trust, assets that were

worth $39.4 million less than they would have been had the stock been sold according to the

parties’ agreement.




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         Occidental has sufficiently shown that it suffered damages to prove Wells Fargo’s liability

for its breach of contract claim. Occidental did not move for summary judgment as to the

calculation of its damages. It reaffirmed this position at the hearing on these motions:

         The court:    If I can interrupt, Ms. Patrick, are you asking the Court to deny
         Wells Fargo's motion for summary judgment that there are no damages that are
         recoverable and leave the issue of what damages might be recoverable and in what
         amount for another day?

         Ms. Patrick:   Correct.

         As a matter of law, based on the record evidence, Occidental is entitled to summary

judgment that Wells Fargo is liable for breaching its contractual duties under the Trust Agreement

and the December 2019 email agreement.

VI.      Conclusion and Order

         Occidental’s motion for summary judgment, (Docket Entry No. 80), is granted as to

liability for the breach of contract claim, and granted as to the dismissal of the Wells Fargo

counterclaim. Wells Fargo’s motion for summary judgment is denied. (Docket Entry No. 81).

The motion for leave to amend and the motions to seal are granted. (Docket Entry Nos. 74, 83,

92).

         No later than September 9, 2022, the parties must provide a proposed amended scheduling

order, agreed upon if possible, to resolve the remaining issues.

                        SIGNED on August 18, 2022, at Houston, Texas.



                                                   ___________________________________
                                                               Lee H. Rosenthal
                                                        Chief United States District Judge




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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                       IN THE UNITED STATES DISTRICT COURT                                May 31, 2023
                       FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

OCCIDENTAL PETROLEUM CORP.,                     §
                                                §
                      Plaintiff,                §
                                                §
VS.                                             §           CIVIL ACTION NO. H-21-1126
                                                §
WELLS FARGO BANK, N.A.,                         §
                                                §
                      Defendant.                §

                               MEMORANDUM AND ORDER

        The Occidental Petroleum Corporation and its predecessor Anadarko Petroleum (together,

“Occidental”) sued the Trustee of their rabbi trust, Wells Fargo Bank, for failing to sell hundreds

of thousands of shares of stock in the trust on specified dates in January 2020. When Wells Fargo

finally sold the shares, months later, the price had steeply declined. Occidental sued Wells Fargo

for breach of contract.    Wells Fargo counterclaimed based on the alleged negligence of

Occidental’s transfer agent, Equiniti Trust Company, in selling the shares.

        In August 2022, this court granted Occidental’s motion for summary judgment, (Docket

Entry No. 80), and denied Wells Fargo’s motion for summary judgment, (Docket Entry No. 81).

(Docket Entry No. 116). The court found that “the evidence indisputably show[ed] that Wells

Fargo . . . accept[ed] Occidental’s recommendation as to when to sell the shares, but failed to

execute the sales as agreed. Wells Fargo did not reconsider its decision not to sell the shares;

through a series of clumsy missteps, it simply failed to do so.” (Docket Entry No. 116 at 28–29).

As to Wells Fargo’s counterclaim, the court found that “Wells Fargo ha[d] not recited the elements

of its affirmative defenses, nor pointed to evidence supporting its affirmative defenses,” and

accordingly denied summary judgment in Wells Fargo’s favor. (Docket Entry No. 116 at 34).




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       The remaining issue is the measure of damages. Occidental has moved for summary

judgment, seeking about $38 million in damages as the amount it would have received had Wells

Fargo followed the parties’ agreement to sell a specified number of shares on specified days,

subtracting the amount it did receive when Wells Fargo finally sold the shares. (Docket Entry No.

122). Wells Fargo calculated Occidental’s damages as $9.764 million on the low end and $18.529

million on the high end. (Docket Entry No. 127). Its low-end measure uses a different price per

share than Occidental and takes into consideration the effect of reinvestment. (Docket Entry No.

127). The high-end measure uses the same price per share as Occidental and also takes into

consideration the effect of reinvestment. (Docket Entry No. 127). Wells Fargo argues that the

difference between the proposed measures used to calculate damages presents a factual dispute

that precludes summary judgment. (Docket Entry No. 127 at 11–12). Occidental argues that the

measure of damages is a legal question.

       The court heard oral argument on the summary judgment motion, (Docket Entry No. 137),

and requested and received a series of supplemental briefs, (Docket Entry Nos. 142, 143, 146,

147). Based on the pleadings; the motions, responses, and replies; the applicable law; the summary

judgment record; and the arguments of able counsel for both parties, Occidental’s motion for

summary judgment, (Docket Entry No. 122), is granted. The method for calculating damages is a

question of law, and the amount that results from applying the appropriate method is a matter of

arithmetic.

       The court holds that the appropriate method for calculating the damages is the difference

between the price of the stock on the dates Occidental and Wells Fargo agreed Wells Fargo would

sell and the price on the dates Wells Fargo did sell. Reinvestment should not be taken into account.




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Using this method, Occidental is entitled as a matter of law to damages in the amount of

$38,008,313. The reasons are explained below.

I.     Factual Background

       The factual background is set out detail in the court’s earlier summary judgment

memorandum and order. (Docket Entry No. 116 at 2–12). As a brief overview, in May 1995,

Anadarko, Occidental’s predecessor, established a rabbi trust through a Benefits Trust Agreement

with Wachovia Bank of North Carolina as the Trustee. (Docket Entry No. 80-4 at 1). Wells Fargo

became the Trustee after acquiring Wachovia in December 2008. (Docket Entry No. 80-4 at 2).

The Trust Agreement allowed Anadarko to direct the Trustee to acquire, retain, or dispose of

investments before a change in control, but Anadarko’s right to direct the Trustee ended after a

change in control. (Docket Entry No. 80-3 at 12, 24). Occidental acquired Anadarko in August

2019, which was a change in control under the Trust Agreement. (Docket Entry No. 80-4 at 3).

After the conversion of Anadarko shares to Occidental shares, the Trust held roughly $500 million

in assets. (Docket Entry No. 80-4 at 10, 11); (Docket Entry No. 82-5 at 3).

       Wells Fargo considered the Trust account a “Top-50” relationship and assigned a team of

professionals to the account. (Docket Entry No. 80-7). In October 2019, the investment manager

responsible for the Trust’s asset management and investment strategy concluded that about $240

million of the almost $500 million held in the Trust needed to be kept in cash to pay out employee

benefits and honor separation agreements in the near term. (Docket Entry No. 80-7 at 10–11).

The Plan owed $185 million in future obligations, and Wells Fargo intended the Trust to keep the

remaining $73 million in cash. (Docket Entry No. 80-13).

       On October 24, 2019, the Wells Fargo investment manager presented an investment

strategy to Occidental. The proposed strategy was to sell Occidental stock in compliance with



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Wells Fargo’s investment guidelines. (Docket Entry No. 80-7 at 12). In December 2019,

Occidental expressed concerns about the discount and disruption to its liquidity that could result

from the sale of so many shares at once. After back-and-forth discussions, a classic meeting of

the minds occurred: Wells Fargo agreed to follow Occidental’s recommendation to execute the

sale of 381,420 shares each day from January 6, 2020, to January 10, 2020. (Docket Entry No.

80-7 at 17); (Docket Entry No. 80-5 at 20).

       So much for a meeting of the minds. On January 7, 2020, Wells Fargo sold only 352,080

shares, the number it held directly in its Depository Trust Company account, instead of the 381,420

shares it had agreed to sell on that date. (Docket Entry No. 80-4 at 3). The remaining Trust shares

were held by Wells Fargo’s transfer agent, Equiniti, in “book-entry” form through the Direct

Registration System. Wells Fargo did not transfer these shares into its Depository Trust Company

account before the January 2020 trades. (Docket Entry No. 80-22 at 4). The investment manager

responsible for executing the Occidental stock sales for Wells Fargo, Nikki Tanner, apparently did

not know that Equiniti had control of the shares. No other Wells Fargo representative told her.

(Docket Entry No. 80-7 at 21). Ms. Tanner testified that despite her position at Wells Fargo and

her assignment to the Occidental account, she did not know the significance of whether stock is

held in the Depository Trust Company by a broker or in the Direct Registration position by a

transfer agent. Her Wells Fargo supervisor was similarly uninformed. (Docket Entry No. 80-7);

(Docket Entry No. 80-23 at 5–6).

       On January 7, 2020, Tonya Inscore, another Wells Fargo supervisor, directed Tanner to

instruct the transfer agent to sell the shares. (Docket Entry No. 80-23 at 5–6). Tanner then

submitted a request to Equiniti to sell the remaining 29,340 shares that Wells Fargo had agreed to

sell on January 7, 2020. Equiniti did so on January 9, 2020. But for some reason, Wells Fargo



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was not aware of the sale and made a second request to Equiniti to sell the same shares. Equiniti

sold an additional 29,340 shares on January 10, 2020.

       Tanner also submitted three requests to Equiniti to sell 381,420 shares on January 8,

January 9, and January 10. But because Equiniti had sold 29,340 shares on January 9 and another

29,340 shares on January 10, it rejected the transaction request because the numbers did not match

up. (Docket Entry No. 80-7 at 33). Equiniti mailed a letter to Wells Fargo’s address of record on

January 16, 2020, asking for clarification. No one from Wells Fargo followed up with Equiniti

until February 14, 2020. After further discussions with Equiniti and Occidental, Wells Fargo

requested that the remaining shares be transferred to the Depository Trust Account on March 17,

2020. They were transferred on March 18, 2020. Wells Fargo sold the remaining 1,114,920 shares

at $9.98 per share in a block sale on March 20, 2020. (Docket Entry No. 80-4 at 4).

       Occidental sued Wells Fargo for breach of contract in April 2021. The parties filed cross

motions for summary judgment on liability. (Docket Entry Nos. 80, 81). The court entered

summary judgment in favor of Occidental, finding Wells Fargo liable for breaching its agreement

to sell certain amounts of shares on certain dates. (Docket Entry No. 116).

       In granting summary judgment on liability, the court found that the Trust Agreement

between Wells Fargo and Occidental was a valid contract, under which Wells Fargo agreed to sell

the funds held in the Trust, and that Wells Fargo breached the December 2019 agreement by failing

to timely sell the Occidental shares on the promised dates in January 2020. The court found that

the undisputed evidence showed that Wells Fargo decided to diversify Occidental’s portfolio and

hold only enough cash to meet the Trust obligations under the relevant benefit Plans, consistent

with the scope of Wells Fargo’s responsibilities under § 5.5(a) and § 5.5(n) of the Trust

Agreement, as well as with other duties imposed by law under § 5.5. Wells Fargo agreed to help



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Occidental diversify its holdings by selling the Occidental stock and agreed to sell specified

amounts on the specified dates. Wells Fargo agreed to follow this timing arrangement to reduce

the risk of selling all the stock at once and to reduce the risk of extending the sale dates too far into

the uncertain future. Knowing these risks and the agreed plan to reduce these risks, Wells Fargo

simply failed to execute the sales when and as specified in the agreed plan. The risks materialized.

        The court also found that the parties entered a separate agreement when Wells Fargo

accepted Occidental’s recommended liquidation plan by email on December 19, 2019. More

specifically, the court found that Wells Fargo entered into an agreement that “[b]eginning January

6, 2020,” Wells Fargo would sell “381,420 shares each day over the course of the week with a

final liquidation on January 10, 2020.” (Docket Entry Nos. 80-19, 80-32). The undisputed

evidence showed that Wells Fargo intended to accept and implement this agreement. The

undisputed evidence also showed that Wells Fargo knew that the dates were material to Occidental,

which wanted the shares sold as soon as the 2019 holiday season ended. Wells Fargo agreed to

sell the shares in equal tranches from January 6th to January 10th in 2020. It did not do so.

        Finally, the court rejected Wells Fargo’s affirmative defense, which attempted to shift the

blame to Occidental and Equiniti. The court found that Wells Fargo failed to meet its burden to

identify “specific evidence in the record and articulate the manner in which that evidence supports

[Wells Fargo’s] claim.” Duffie v. United States, 600 F.3d 362, 371 (5th Cir. 2010). Instead, the

record provided ample undisputed evidence supporting the conclusion that Wells Fargo breached

its agreement with Occidental; that Wells Fargo did not know to transfer the shares to its own

Depository Trust Account before January 2020 so that it did not need to order Equiniti to sell the

shares; that Wells Fargo then compounded its own error of not knowing how to execute the trades

by entering duplicate sell orders and by not checking whether those orders had been executed



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before trying to enter yet another order; that Wells Fargo for some reason sought help from Equiniti

by calling the general customer help line instead of the Equiniti personnel specifically assigned to

the Wells Fargo account; and that Wells Fargo left ignored and unopened a letter notifying Wells

Fargo of the problems in its efforts to execute the trades. Wells Fargo’s affirmative defense

provided no basis to grant summary judgment in Wells Fargo’s favor.

        The court’s prior order decided only liability. Occidental has now filed a summary

judgment motion on damages, which Wells Fargo opposes. (Docket Entry Nos. 122, 127).

IV.     The Summary Judgment Standard and Evidence

        A.     The Summary Judgment Standard

        “Summary judgment is appropriate where ‘the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.’”

Springboards to Educ., Inc. v. Pharr-San Juan-Alamo Indep. Sch. Dist., 33 F.4th 747, 749 (5th

Cir. 2022) (quoting FED. R. CIV. P. 56(a)). “A fact is material if it might affect the outcome of the

suit and a factual dispute is genuine if the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Thompson v. Microsoft Corp., 2 F.4th 460, 467 (5th Cir. 2021)

(quoting reference omitted).     The moving party “always bears the initial responsibility of

informing the district court of the basis for its motion[] and identifying” the record evidence

“which it believes demonstrate[s] the absence of a genuine issue of material fact.” Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986).

        “When ‘the [nonmovant] bears the burden of proof at trial,’ a party moving for summary

judgment ‘may merely point to the absence of evidence and thereby shift to the [nonmovant] the

burden of demonstrating by competent summary judgment proof that there is [a dispute] of

material fact warranting trial.” MDK S.R.L. v. Proplant Inc., 25 F.4th 360, 368 (5th Cir. 2022)



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(quoting reference omitted). “However[,] the movant ‘need not negate the elements of the

nonmovant’s case.’” Terral River Serv., Inc. v. SCF Marine Inc., 20 F.4th 1015, 1018 (5th Cir.

2021) (quoting Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per

curiam)). “If ‘reasonable minds could differ’ on ‘the import of the evidence,’ a court must deny

the motion.” Sanchez v. Young County, 956 F.3d 785, 791 (5th Cir. 2020) (quoting Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 250–51 (1986)).

       After the movant meets the Rule 56(c) burden, “the [nonmovant] must come forward with

‘specific facts’ showing a genuine factual issue for trial.” Houston v. Tex. Dep’t of Agric., 17 F.4th

576, 581 (5th Cir. 2021) (quoting references omitted). The nonmovant “must identify specific

evidence in the record and articulate the ‘precise manner’ in which the evidence” aids their case.

Shah v. VHS San Antonio Partners, L.L.C., 985 F.3d 450, 453 (5th Cir. 2021) (quoting reference

omitted). All reasonable inferences are drawn in the nonmovant’s favor, Loftin v. City of Prentiss,

33 F.4th 774, 779 (5th Cir. 2022), but a nonmovant “cannot defeat summary judgment with

‘conclusory allegations, unsubstantiated assertions, or only a scintilla of evidence.’” Jones v. Gulf

Coast Rest. Grp., Inc., 8 F.4th 363, 369 (5th Cir. 2021) (quoting reference omitted).

       B.      The Summary Judgment Evidence

       Occidental submitted the following evidence in support of the motion for summary

judgment:

           The court’s memorandum and order dated August 18, 2022, (Docket Entry No. 122-1);

           The expert report of Joseph J. Thomas dated July 18, 2022, (Docket Entry No. 122-2);

           The expert report of Vinita Juneja dated July 18, 2022, and her accompanying affidavit
            dated September 23, 2023, (Docket Entry No. 122-3);

           The joint statement of stipulated facts, (Docket Entry No. 122-4);


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          The quarterly account statement for account 020065900 for the quarter ending on
           March 31, 2020, (Docket Entry No. 122-5);

          A check from Equinity Trust Co. dated January 9, 2020, (Docket Entry No. 122-6);

          A check from Equinity Trust Co. dated January 10, 2020, (Docket Entry No. 122-7);

          The monthly account statement for account 020065900 for the month ending on April
           30, 2020, (Docket Entry No. 122-8);

          Excerpts of the deposition of Wells Fargo’s Rule 30(b)(6) representative, Monique
           Etheridge, dated May 6, 2022, (Docket Entry Nos. 122-9, 142-1); and

          An email dated July 29, 2020, attaching letter from Melissa Hunt at Occidental to
           Monique Etheridge and Diana S. Dietsch at Wells Fargo, (Docket Entry No. 122-10).

       Wells Fargo submitted evidence in response to Occidental’s motion for summary

judgment, as follows:

          The declaration of Megan McKennon, an attorney for Wells Fargo, which included as
           exhibits: (A) the October 14, 2022, premotion conference letter, (B) excerpts of the
           August 4, 2022, hearing, (C) excerpts of the deposition of Jason Schmitz at Occidental,
           (D) excerpts of the deposition of Nikki Tanner at Wells Fargo and (E) excerpts of the
           deposition of Jane Mason at Wells Fargo. (Docket Entry No. 127-2);

          The declaration of Rebecca Lindahl, an attorney for Wells Fargo, which included as
           exhibits: (A) discovery requests, (B) an email correspondence over several days in
           September 2022, and (C) excerpts of the Jason Schmitz deposition, (Docket Entry No.
           127-3);

          The declaration of Nikki Tanner at Wells Fargo, (Docket Entry No. 127-4);

          The declaration and expert report of David Blackwell, (Docket Entry No. 127-5); and

          The declaration, expert report, and rebuttal expert report of Joseph Thomas, (Docket
           Entry No. 127-6).




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V.      Analysis

        The remaining element of Occidental’s breach of contract claim is damages. Undisputed

record evidence establishes that Wells Fargo agreed to sell five batches of 381,420 shares on each

day beginning January 6 and continuing through January 10, 2020. Wells Fargo sold 381,420

shares on January 6, but then sold only 352,080 shares on January 7; no shares on January 8;

29,340 shares on January 9; and 29,340 shares on January 10. The remaining 1,114,920 shares

were sold on March 20, 2020.

        The dates, number of shares actually sold, the price per share, and the sale proceeds

(rounded to the nearest dollar) on the dates Wells Fargo agreed to sell the stock but did not are set

out in the first five entries in the chart below. The last line in the chart shows those same values

for the date in March 2020 when Wells Fargo finally sold the remaining shares.


                       Number of Shares
        Date                                     Sale Price Per Share           Sale Proceeds
                         Actually Sold


  January 6, 2020            381,420                     $44.95                  $17,137,914

  January 7, 2020            352,080                     $44.75                  $15,748,740

  January 8, 2020               0                          n/a                      $0.00

  January 9, 2020             29,340                     $44.78                  $1,310,257

 January 10, 2020             29,340                     $46.03                  $1,346,955

  March 20, 2020            1,114,920                    $9.98                   $11,104,469



(Docket Entry No. 122 at 3); (Docket Entry No. 122-4 at 4–5).




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       The price per share on the dates Wells Fargo had agreed to sell ranged from $44.75 to

$46.03. The price per share on the date Wells Fargo actually sold the remaining shares was $9.98.

(Docket Entry No. 122 at 3); (Docket Entry No. 122-4 at 4–5). The question is what “economic

position . . . would [Occidental] have been in had the contract been performed” as agreed? Mays

v. Pierce, 203 S.W.3d 564, 577 (Tex. App.—Houston [14th Dist.] 2006, pet. denied).

       Occidental’s expert, Dr. Vinita Juneja, answered that question by estimating what the price

per share on January 7 to January 10 would have been had the agreed upon sales been performed.

Dr. Juneja then calculated the sale proceeds assuming that Wells Fargo had sold 381,420 shares

on the dates the parties agreed to. Using that method, the dates the specific numbers of shares

were supposed to have been sold, the number of shares that should have been sold on those dates,

the estimated sale price per share, and the estimated sale proceeds if those sales had taken place as

the parties had agreed, are summarized in the chart below.

                                                 Estimated Sale Price         Estimated Sale
                      Number of Shares
                                                  Per Share Had the          Proceeds Had the
       Date           That Should Have
                                                 Shares Been Sold As        Shares Been Sold As
                     Been Sold As Agreed
                                                       Agreed                     Agreed

 January 6, 2020             381,420                     $44.95                  $17,137,914


 January 7, 2020             381,420                     $44.74                  $17,060,719


 January 8, 2020             381,420                     $44.75                  $17,059,746


 January 9, 2020             381,420                     $44.36                  $16,912,895


 January 10, 2020            381,420                     $45.21                  $17,236,759




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(Docket Entry No. 122 at 4); (Docket Entry No. 122-3).

       Using this method, the sale proceeds should have totaled $85,408,032. (Docket Entry No.

122 at 4); (Docket Entry No. 122-3). Subtracting $46,648,334 (the amount Occidental actually

received when Wells Fargo sold the shares) from $85,408,032 (the amount Occidental would have

received if Wells Fargo had sold the shares when agreed) equals $38,759,698. Occidental seeks

$38,008,313 in damages, which is the difference in the sale proceeds had Wells Fargo sold when

and as agreed from the sale proceeds when Wells Fargo did sell, minus the fees, expenses, and

interest that each sale involved.

       Wells Fargo does not argue that Dr. Juneja was wrong in her estimated volume-weighted

average price for each of the days in question or in her arithmetic. (Docket Entry No. 127 at 10–

11). Instead, Wells Fargo offers two different methods to calculate damages. (Docket Entry No.

127 at 11). In the first model, Wells Fargo’s expert, Mr. Joseph Thomas, valued the share price at

$38.70 per share because that was the early January 2020 share price the parties expected in

December 2019, when they agreed to sell in early January 2020. (Docket Entry No. 127 at 11).

Mr. Thomas estimated the value of the proceeds had Wells Fargo reinvested them between January

6 and March 20, 2020, which was also part of the agreement. (Docket Entry No. 127 at 11).

Applying this method, Mr. Thomas calculated Occidental’s damages at $9.764 million. (Docket

Entry No. 127 at 11).

       The second method Wells Fargo proposes begins with Dr. Juneja’s estimates for price per

share, and then anticipates the loss in proceeds that would have occurred had Wells Fargo

reinvested the proceeds between January 6, 2020, and March 20, 2020. (Docket Entry No. 127 at

11). Applying this method, Mr. Thomas calculated Occidental’s damages at $18.529 million.

(Docket Entry No. 127 at 11).



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        Wells Fargo argues that the disputes over the appropriate method for calculating damages

are fact issues that should be tried before a jury and preclude summary judgment. (Docket Entry

No. 127 at 6). Occidental argues that the method used to calculate damages is a legal issue, and

that the rest is arithmetic.

        The court has three issues to decide. First, does a material factual dispute exist and preclude

summary judgment? Second, if summary judgment is appropriate, what is the correct method for

valuing the price per share? Is it the volume-weighted average price (which is essentially an

estimate of the actual price on each of the days in question), or is it the early January 2020 price

the parties expected in December 2019 (that is, what the parties expected in December the price

per share would be in January)? Third, regardless of the price per share calculation, should the

reinvestment value be taken into account?

        There is no factual dispute that precludes summary judgment. Wells Fargo does not argue

that either Dr. Juneja’s arithmetic or her estimates of the price per share using the volume-weighted

average price method were inaccurate. To the contrary, the second model Wells Fargo offers relies

on Dr. Juneja’s estimates. Wells Fargo does not dispute the facts but rather the method for

measuring damages that Dr. Juneja used to calculate Occidental’s damages. The proper method

for measuring damages is a question of law. Yazdani-Beioky v. Sharifan, 550 S.W.3d 808, 834

(Tex. App.—Houston [14th Dist.] 2018, pet. denied). This is a legal issue for the court to decide.

        So, what is the proper method for calculating damages in this case? “The normal measure

of damages in a breach-of-contract case is the benefit-of-the-bargain measure, the purpose of

which is to restore the injured party to the economic position it would have been in had the contract

been performed.” Mays, 203 S.W.3d at 577. “The correct standard for assessing loss of benefit

of the bargain damages measures the difference between the value as represented and the value as



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received by the nonbreaching party.” Sacks v. Hall, 481 S.W.3d 238, 247 (Tex. App.—Houston

[1st Dist.] 2015, no pet.); see DaimlerChrysler Motors Co., LLC v. Manuel, 362 S.W.3d 160, 180

(Tex. App.—Fort Worth 2012, no pet.) (“One measure of direct damages is the ‘benefit of the

bargain’ measure, which utilizes an expectancy theory and evaluates the difference between the

value as represented and the value received.”).

       Wells Fargo spends much of its brief in opposition to summary judgment arguing that

Occidental failed to identify whether the damages it seeks are direct or consequential. (Docket

Entry No. 127 at 16–21). This argument not only appears to misstate Occidental’s brief, but also

appears to misunderstand the legal standard that applies. Direct damages are the amount that the

plaintiff would have received as “the benefit of [the] plaintiff’s bargain.” Signature Indus. Servs.,

LLC v. Int’l Paper Co., 638 S.W.3d 179, 186 (Tex. 2022) (citing Quigley v. Bennett, 227 S.W.3d

51, 56 (Tex. 2007)). Consequential damages are the amount that would compensate the plaintiff

for foreseeable losses caused by the breach but were not a necessary consequence of, and would

not result in every case involving, that breach. Id. (citing Stuart v. Bayless, 964 S.W.2d 920, 921

(Tex. 1998)).

       Wells Fargo argues that the price of the stock from January 6 to January 10, 2020, was

unforeseeable, noting that “everyone to address the issue—whether an expert or fact witness (on

either side)—agrees that movements in the price of a stock are unpredictable and unforeseeable.”

(Docket Entry No. 127 at 17). From that, Wells Fargo concludes that the damages amount was

unforeseeable, reasoning that because the damages do not flow from the breach, they are not direct;

therefore, the damages must be consequential; and Occidental cannot recover because

consequential damages require foreseeability, and the damages here were not foreseeable.




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       This is circular reasoning that incorrectly applies the law. Damages can directly and

foreseeably flow from a breach, even if the exact amount cannot be foreseen. Consider the

following hypothetical. James enters into an agreement with Betty to sell her gold bracelet. The

terms are that the sale must occur on September 1st and the bracelet must be sold for whatever the

fair market price of gold is on that date. The fair market price for this bracelet on September 1st

is $10,000. But James does not sell the bracelet on September 1st. Instead, he forgets about it

until October 1st, when he sells it for the fair market value that day, $8,000. James breached the

contract and owes Betty $2,000, the difference between what the bracelet would have sold for on

September 1st had James not breached the contract and sold, and what the bracelet actually sold

for on October 1st. Those are direct damages.

       James could not argue that Betty’s damages do not directly flow from the breach because

the price of gold fluctuates (and could have even fluctuated to Betty’s advantage). That logic

would turn a basic contract-law principle on its head. Direct damages are about putting the

nonbreaching party in the position it would have been in had the breaching party performed the

duties owed, as established by the evidence.          Direct damages are not about putting the

nonbreaching party in the position it could have been in based on predictions or assumptions about

possible future circumstances or events.

       Wells Fargo’s failure to sell hundreds of thousands of shares of stock on specified dates

and then selling the stocks later when the price per share had declined is a textbook example of

direct damages. See RESTATEMENT (SECOND) OF CONTRACTS § 347 cmt. b (AM. LAW INST. 1981)

(noting in its explanation of direct damages that “[i]f defective or partial performance is rendered,

the loss in value caused by the breach is equal to the difference between the value that the

performance would have had if there had been no breach and the value of such performance as



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was actually rendered”). As Occidental aptly summarizes, “Wells Fargo challenges Plaintiffs’

entitlement to damages—an issue already decided—rather than the amount of damages needed to

restore the benefit of Plaintiffs as determined by the Court.” (Docket Entry No. 130 at 8).

        The parties seem to agree that the starting point for calculating damages is figuring out the

price per share on the dates the parties agreed to sell the shares, that is, from January 6 to 10, 2020.

The parties agree that the next step is multiplying those share prices for each day from January 6

to 10, 2023, by the 381,420 shares that should have been sold on each of those days. Wells Fargo

argues that the share value should be $38.70, the January 2020 price that Wells Fargo argues the

parties anticipated in December 2019. (Docket Entry No. 127 at 11). Wells Fargo argues that the

parties’ expectation of what the price per share would be is the correct standard because “the

purpose of damages in a case such as this is to fulfill the parties’ reasonably foreseeable

expectations about the benefits each would receive and would convey at the time they entered into

their bargain.” (Docket Entry No. 127 at 16).

        Wells Fargo relies primarily on two recent Texas Supreme Court cases to make this point:

Signature Industrial Services, LLC v. International Paper Co., 638 S.W.3d 179 (Tex. 2022), and

MSW Corpus Christi Landfill, Ltd. v. Gulley-Hurst, L.L.C., No. 21-1021, 2023 WL 2618531 (Tex.

Mar. 24, 2023). (Docket Entry No. 127 at 16); (Docket Entry No. 146). Both cases largely concern

consequential damages, and both are easily distinguishable.

        In Signature Industrial, a construction company entered into an agreement to upgrade

equipment for a paper company for $775,000, but the project ended up costing significantly more.

638 S.W.3d at 184. The construction company sought to recover the additional costs that it

incurred (approximately $2.4 million) and sued the paper company when the paper company

refused. Id. at 184–85. The issue in that case did not concern whether the construction company



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was entitled to the additional costs it incurred while upgrading the paper company’s equipment—

it was. Id. at 186. Instead, the issue was whether the paper company’s breach foreseeably led to

the construction company’s inability to be acquired by another company, an acquisition that could

have been worth $42 million. Id. at 185–86. The court held that it was not. “It stands to reason

that losing business opportunities will often contribute to a decline in a company’s market value,

but whether this will be the case—and to what extent—depends on many factors typically beyond

the reasonable contemplation of the breaching party.” Id. at 189–90. The loss of an entirely

separate contract—that the defendant was not even aware was being negotiated—was too

speculative and unforeseeable to support consequential damages. Id.

         In MSW, two companies entered into an agreement, requiring one party to sell an interest

in property to the other for $7.5 million if certain conditions did not occur. 2023 WL 2618531, at

*1. They did not, and the seller conveyed clear title to the buyer. Id. But the buyer did not fully

pay for the interest in the property. Id. Meanwhile, the interest in the property had appreciated

significantly in value, up to $17.735 million. Id. The Texas Supreme Court addressed two issues.

First, did the seller owe the market value of the interest in the property at the time of the breach or

did the seller owe the contract price? Id. at *2. Second, was the seller owed consequential damages

for the money the seller could have obtained by investing the proceeds received from the sale? Id.

at *3.

         As to the first issue, the Texas Supreme Court held that the appropriate measure of damages

was tied to the contract price of the property, not its market value at the time of the breach of the

contract. Id. at *2–3. The reasoning is particularly helpful:

                 The general rule for measuring benefit of the bargain damages is to calculate
         the difference between what was promised and what was received. Although courts
         have noted that “[w]hen the breached contract is for real estate, the measure of [the
         seller’s] damages is the difference between the contract price and the property’s

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       market value at the time of the breach,” Barry v. Jackson, 309 S.W.3d 135, 140
       (Tex. App.—Austin 2010, no pet.), this formula applies only when the value of the
       property has remained the same or decreased after the purchaser’s breach, leaving
       the seller unable to receive the expected value of the contract. When the property’s
       market value at the time of breach exceeds the contract price, the correct measure
       of actual, compensatory, benefit-of-the-bargain damages is the difference between
       the promised contract price and what the seller received.
               Policy and precedent both support this conclusion. The purpose of actual,
       benefit-of-the-bargain damages is to place the seller “in the same economic position
       he would have been in had the contract been performed.” Id. at 140. A party
       “generally should be awarded neither less nor more than his actual damages.”
       Stewart v. Basey, 245 S.W.2d 484, 486 (Tex. 1952). Permitting a seller to recover
       more than the contract price would place the seller in a better economic position
       than had the contract been performed. Worse, this windfall would come at the
       buyer’s expense.
               Conversely, calculating benefit-of-the bargain damages as the difference
       between what the seller expected and what the seller received causally connects the
       seller’s compensation to the buyer’s breach. The breach cost the seller the
       previously agreed-upon contract price, not the property’s market value. The seller
       lost the opportunity to sell the property at market value not because of the buyer’s
       actions, but because the seller decided to contract with the buyer for a lower price.
Id. at *2–3 (citations omitted).

       The second issue was whether the seller was entitled to consequential damages for the

money the seller could have obtained by getting a loan (which it could not do because of the

buyer’s breach) and investing the loan proceeds. The court held that the seller was not entitled to

these damages. Id. at *3. “A plaintiff may recover consequential damages only if ‘the parties

contemplated at the time they made the contract that such damages would be a probable result of

the breach.’” Id. (quoting reference omitted). Because the seller’s inability to invest was too

attenuated from the relevant breach, the court held that it was not a foreseeably or probable result

of the buyer’s breach. Id.

       Applying Signature Industrial and MSW to this case backs the conclusion that the correct

calculation of damages requires use of the price per share on each day of the breach, and an
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adjustment for reinvestments is unwarranted because the reinvestment effect is speculative and

attenuated from the relevant breach.

       Signature Industrial and MSW held that a plaintiff is entitled to damages in the amount

expected under the contract. Here, both Wells Fargo and Occidental expected that the shares

would be sold at the market value of the shares was on each day from January 6 to January 10,

2020. The correct measure of damages, accordingly, requires using the price per share on each

day from January 6 to January 10, 2020. That’s what the parties agreed to. That’s what the parties

expected. That’s what would have happened had the parties’ agreement been performed.

       Wells Fargo attempts to reframe Signature Industrial and MSW as supportive of its

arguments by taking the word “expect” out of context. Wells Fargo does so by relying on

statements such as the following: “calculating benefit of the bargain damages as the difference

between what the seller expected and what she received causally connects the seller’s

compensation to the buyer’s breach. The breach in that case cost the seller the previously agreed-

upon contract price, not the property’s market value.” MSW, 2023 WL 2618531 at *2–3 (emphasis

added); (Docket Entry No. 146 at 2). Wells Fargo takes this to mean that the price per share should

be $38.70 because that is what the parties expected the price per share to be in December 2019,

when they entered the agreement. (Docket Entry No. 127 at 11).

       But an expectation cannot be stripped from the context of the parties’ agreement. The

parties did not agree to sell each share for $38.70. The parties agreed that Wells Fargo would sell

specified amounts of shares for the market value on each day from January 6 to January 10, 2020.

(Think back to the James and Betty hypothetical.). That’s what the parties expected. Occidental

expected to receive the proceeds from selling the specified amounts of shares at whatever the price

was on the dates the shares were sold, when and as specified. The actual price per share on the



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specified dates when Wells Fargo breached the agreement by failing to sell the specified number

of shares on those specified dates is the basis of Occidental’s expert’s damages calculation: $44.74

per share on January 7, 2020; $44.75 per share on January 8, 2020; $44.36 per share on January 9,

2020; and $45.21 per share on January 10, 2020. (Docket Entry No. 122 at 4); (Docket Entry No.

122-3). Subtracting out additional expenses brings the total damages to $38,008,313.

        The final question is whether that total should be reduced to take into account the value of

possible reinvestments. Wells Fargo argues that the agreement required Wells Fargo to reinvest

the proceeds from the sale. Wells Fargo argues that if it had reinvested the proceeds obtained from

finally selling the shares in March 2020, the total amount of the proceeds and the benefit

Occidental received would have gone down.

        But the record does not establish that the agreement required Wells Fargo to reinvest the

proceeds during a specific time period as opposed to keeping the money in cash. As Jason Schmitz,

an Occidental representative, testified, although “the proceeds would have been reinvested across

a diversified portfolio of assets,” “if the trustee . . . decided that they wanted to hold cash, they

could have decided to hold cash and chosen the time to reinvest.” (Docket Entry No. 127-2 at 60–

61). Wells Fargo’s only evidence contradicting this point is the declaration of Nikki Tanner, in

which she stated that she “never intended to wait until April or May 2020” to reinvest. (Docket

Entry No. 127-4 at 4). Although the record supports that the parties had an agreement to reinvest,

it does not support a finding that the agreement required reinvestment to occur on specific dates in

2020.

        Moreover, whether Wells Fargo would have actually reinvested the proceeds after the

planned January 2020 sales (which Wells Fargo failed to execute) is also speculative and not

supported by the record. The record shows that Wells Fargo did not reinvest over $80 million of



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trust assets. The record shows at best an attenuated connection between the breach (Wells Fargo’s

failure to sell the shares in January 2020) and any reinvestments. In other words, Wells Fargo

cannot show that the results of reinvestments not made “would be a probable result of the breach.’”

2023 WL 2618531, at *3 (quoting reference omitted).

        Wells Fargo admits as much, stating in its brief in opposition to summary judgment that

“the value of the reinvestment portfolio, including assets purchased with the proceeds of the share

sales, . . . could not have been foreseeable.” (Docket Entry No. 127 at 12). Wells Fargo appears

to be attempting to avoid liability for the damages amounts on the ground that they were

unforeseeable, while also arguing that it should benefit from reinvestments not made, which are

even more unforeseeable. See also (Docket Entry No. 130 at 13 (“Indeed, [Wells Fargo] made no

attempt to account for reinvestment losses when presenting its own alleged damages sought by its

counterclaim and third-party claims against Equiniti.”).

V.      Conclusion and Order

        Occidental’s motion for summary judgment, (Docket Entry No. 122), is granted. Judgment

is entered in the amount of $38,008,313, with prejudgment interest accruing at a rate of 5.5 percent

as of January 25, 2021, and postjudgment interest accruing at a rate of 5.15 percent as of the date

of this judgment, per annum. Occidental’s motion for attorney’s fees and the accompanying

affidavits must be filed no later than July 7, 2023. Wells Fargo must respond no later than August

4, 2023. Final judgment will be entered separately. See FED. R. CIV. P. 54(d)(2), 58(a).

                       SIGNED on May 31, 2023, at Houston, Texas.



                                                     ___________________________________
                                                                 Lee H. Rosenthal
                                                            United States District Judge



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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               August 31, 2023
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

                                                  §
 OCCIDENTAL PETROLEUM CORP. and                   §
 ANADARKO PETROLEUM CORP.,                        §
                                                  §
        Plaintiffs,                               §    CIVIL ACTION NO. H-21-1126
 v.                                               §
                                                  §
 WELLS FARGO BANK, N.A.,                          §
                                                  §
        Defendant, Third-Party Plaintiff.         §
                                                  §


                                MEMORANDUM AND ORDER

       The plaintiffs, Occidental Petroleum Corp. and Anadarko Petroleum Corp. (“Oxy”) sued

Wells Fargo Bank, alleging that it failed to follow its agreement to sell stocks on certain dates and

in certain amounts. (Docket Entry No. 76). Oxy has now moved to recover the attorneys’ fees it

incurred in prosecuting its breach of contract claim. (Docket Entry No. 157).

       The parties agree that Oxy prevailed on the breach of contract claim and did not prevail on

the breach of fiduciary duty claims. (Docket Entry No. 157 at 8; Docket Entry No. 167 at 5). The

parties also agree that Oxy successfully defended against Wells Fargo’s counterclaim. (Docket

Entry No. 167 at 11). After Wells Fargo pointed out problems in Oxy’s fee submission—some

billing entries were mistakenly submitted for a motion that was not filed and some were for work

in an unrelated lawsuit—Oxy reduced its fee request by $7,096.50. (Docket Entry No. 167 at 14).

The primary issues raised by Wells Fargo’s objections to Oxy’s motion for attorneys’ fees are that:

Oxy did not sufficiently segregate the fees it incurred in its successful breach of contract claims

from the fees it incurred in its unsuccessful claims for breach of fiduciary duty and

indemnification; Oxy did not sufficiently segregate the fees it incurred from the fees incurred by




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Anadarko; Oxy did not sufficiently segregate the fees it incurred against Wells Fargo in its

individual capacity from those fees incurred against Wells Fargo in its trustee capacity; and Oxy’s

claimed fees are excessive and unreasonable, and its billing records overly redacted. (Id.). Oxy

has replied to the objections. (Docket Entry No. 168).

       Based on the motion and exhibits, the objections, and the response, the court grants the

motion for fees and overrules the objections. The court awards Oxy $1,497,529.66 in fees. The

reasons for the rulings are set out below.

I.     The Legal Authorities

       “[A]ttorney’s fees are recoverable only if authorized by statute or by a contract between

the parties.” Intercontinental Grp. P’ship v. KB Home Lone Star L.P., 295 S.W.3d 650, 653 (Tex.

2009). The Texas Civil Practice and Remedies Code allows for the recovery of attorneys’ fees for

a litigant who succeeds on a breach of contract claim. Tex. Civ. Prac. & Rem. Code § 38.001(b)(8).

“To recover fees under this statute, a litigant must do two things: (1) prevail on a breach of contract

claim, and (2) recover damages.” MBM Fin. Corp. v. Woodlands Operating Co., L.P., 292 S.W.3d

660, 666 (Tex. 2009). The party seeking attorneys’ fees must segregate recoverable fees from

unrecoverable fees. Tony Gullo Motors I, L.P. v. Chapa, 212 S.W.3d 299, 313–14 (Tex. 2006).

       The calculation of reasonable attorneys’ fees is a two-step process. See Migis v. Pearle

Vision, Inc., 135 F.3d 1041, 1047 (5th Cir. 1998). First, the court calculates a “lodestar.” Id. “In

determining the appropriate amount of attorney’s fees, a district court first must calculate the

‘lodestar’ by ‘multiplying the reasonable number of hours expended on the case by the reasonable

hourly rates for the participating lawyers.’” Rodney v. Elliott Sec. Sols., L.L.C., 853 F. App’x 922,

924 (5th Cir. 2021) (quoting Migis, 135 F.3d at 1047). Whether an hourly rate is reasonable




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depends on whether that rate is consistent with the “hourly rate in the community for the work at

issue.” Smith & Fuller, P.A. v. Cooper Tire & Rubber Co., 685 F.3d 486, 490 (5th Cir. 2012).

       Second, the court considers whether the circumstances of the case warrant an upward or

downward lodestar adjustment. Migis, 135 F.3d at 1047. To determine whether “appropriate

adjustments to the lodestar are necessary,” the court “examine[s] the Johnson factors.” Rodney,

853 F. App’x at 924 (citing Migis, 135 F.3d at 1047). The Johnson factors are: (1) time and labor

required for the litigation; (2) novelty and difficulty of the questions presented; (3) skill requisite

to perform the legal services properly; (4) preclusion of other employment; (5) customary fee; (6)

whether the fee is fixed or contingent; (7) limitations imposed by the client or circumstances; (8)

amount involved and the result obtained; (9) experience, reputation, and ability of the attorneys;

(10) undesirability of the case; (11) nature and length of the professional relationship with the

client; and (12) awards in similar cases. Johnson v. Ga. Highway Express, Inc., 488 F.2d 714,

717–19 (5th Cir. 1974), abrogated on other grounds by Blanchard v. Bergeron, 489 U.S. 87, 91–

93 (1989). “[T]he most critical factor in determining an attorney’s fee award is the degree of

success obtained.” Hensley v. Eckerhart, 461 U.S. 424, 436 (1983). “This factor is particularly

crucial when plaintiffs only ‘prevail’ on some of their claims.” Id. at 434.

II.    Segregation

       Wells Fargo objects that Oxy—Occidental and Anadarko—failed to segregate fees based

on which was awarded which amount. (Docket Entry No. 167 at 12). Wells Fargo also objects

that Oxy failed to segregate fees based on whether they relate to claims against Wells Fargo in its

individual or trustee capacity. (Id. at 10). Neither objection is persuasive.

       Oxy did segregate the fees it incurred in working solely on its unsuccessful claims for

breach of fiduciary duty and indemnification. These fees Oxy excluded from its award request.



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Specifically, the declaration of lead counsel for Oxy, Kathy Patrick, estimated that only 2.3 percent

of Oxy’s total fees, or $36,000, were incurred in work that related only to the breach of fiduciary

duty and indemnification claims. (Docket Entry No. 157-1 ¶ 14). This amount was excluded from

the total fee award Oxy sought. (Id.). Two factors support Oxy’s argument to recover the

remaining fees: the number of hours was reasonable in relationship to the complexity of the issues

and the number of arguments presented; and the hourly rates were reasonable in relationship to the

experience and expertise of counsel.

       The record shows that Wells Fargo vigorously defended against Oxy’s breach of contract,

breach of fiduciary duty, and indemnification claims. Wells Fargo moved to dismiss Oxy’s First

Amended Complaint, and Oxy responded. (Docket Entry No. 24; Docket Entry No. 30). Wells

Fargo also moved for summary judgment on its counterclaim. (Docket Entry No. 81). The court

analyzed the arguments in light of the record and the applicable law and determined that Occidental

prevailed on its breach of contract claim but did not prevail on the breach of fiduciary duty or

indemnification claims. (Docket Entry No. 116). Occidental segregated the work it did before

Anadarko intervened and only on the breach of contract claim. (Docket Entry No. 157-1 ¶ 14).

The segregation requirement was met.

       There is no support presented for Wells Fargo’s argument, asserted for the first time here,

that its liability depends on whether it is sued in its individual or trustee capacity. (Docket Entry

No. 167 at 10). No basis for the distinction is identified. Wells Fargo is the only defendant, and

its novel (as in not presented earlier in the case) argument that its liability must be separately

analyzed for claims against it individually or as a trustee does not find a footing in the record or

the case law.




                                                 4

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       Finally, Wells Fargo argues that Oxy cannot recover fees for defending against Wells

Fargo’s counterclaim that alleged that Oxy was liable for Equiniti’s negligence. (Id. at 11). This

argument is also unpersuasive. Under Texas law, if a defendant counterclaims and the plaintiff

has to overcome the counterclaims to recover on a breach of contract claim, the fees incurred in

doing so are also recoverable. Varner v. Cardenas, 218 S.W.3d 68, 69–70 (Tex. 2007). Wells

Fargo counterclaimed and asserted an affirmative defense against Oxy based on its alleged liability

for Equiniti’s negligence. (Docket Entry No. 27). Oxy was required to rebut Wells Fargo’s

counterclaim and affirmative defense in order to prevail on its breach of contract claim. Oxy has

presented evidence that the lodestar calculation of the fees incurred in asserting its claim and in

opposing Wells Fargo’s counterclaim were reasonable in the number of hours and the hourly rates.

(Docket Entry No. 157-1 ¶ 12). Wells Fargo’s objections to Oxy’s motion for attorneys’ fees are

overruled. Wells Fargo is ordered to pay Oxy (Occidental Petroleum Corp. and Anardarko

Petroleum Corp.) the total sum of $1,497,529.66 in attorneys’ fees.

       Oxy has not moved to recover, and this court does not rule on, post-judgment fees.



       SIGNED on August 31, 2023, at Houston, Texas.



                                                    ________________________________
                                                                 Lee H. Rosenthal
                                                            United States District Judge




                                                5

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Case: 23-20318   Document: 60   Page: 164   Date Filed: 10/16/2023




                     TAB 11
   Case:
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                     TAB 12
     Case:
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        4:21-cv-01126 Document:43-5
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                                                              Page 2 of 4


From:              nikki.tanner@wellsfargo.com
To:                Megan_Bruegger@oxy.com; Elizabeth_Gooch@oxy.com; karen_lippe@oxy.com;
Cc:                Monique.O.Etheridge@wellsfargo.com;
Subject:           RE: Investment Strategy Discussion


Good morning,

Hope you all are well. As we head into the holidays, we wanted to follow up with you
on the items below. Specifically we would like to resolve the following:
       •         The /Occidental team will have internal discussions regarding the sale of
       Occidental shares (recommendations of how much and when)
       •         Wells Fargo should expect a reimbursement request for approximately
       $102.9M early next week (Monday) for the combined Individual Key
       Employees and Key Manager Change of Control Agreements, Severance
       agreement executed for R.A. Walker and Anadarko/ Kerr McGee NQDCP.

Who should I reach out to discuss the first bullet point?
Thank you,

Nikki T. Tanner, CIMA®
Tel: (678) 627-3787 | Cell: (336) 406-8474

           From: Tanner, Nikki T
           Sent: Friday, October 25, 2019 3:06 PM
           To: 'Megan_Bruegger@oxy.com' <Megan_Bruegger@oxy.com>; 'Gooch, Elizabeth'
           <Elizabeth_Gooch@oxy.com>; 'karen_lippe@oxy.com' <karen_lippe@oxy.com>
           Cc: Etheridge, Monique O. <Monique.O.Etheridge@wellsfargo.com>
           Subject: RE: Investment Strategy Discussion

           Good afternoon,

           Thank you all for your time yesterday. I’ve put together bullet points covering
           items discussed and identified for follow up:

                      ·       Wells Fargo will need the September 30, 2019 plan Balances by
                              fund and participant for the following:
                                 o   Anadarko Petroleum Corporation Savings Restoration Plan
                                 o   Anadarko Petroleum Corporation Deferred Compensation
                                      Plan
                                 o   Kerr - McGee Corporation Deferred Compensation Plan
                      ·       The /Occidental team will have internal discussions regarding the
                              sale of Occidental shares (recommendations of how much and
                              when)
                      ·       Wells Fargo will work with its trading desk to examine whether
                              there will be any challenges to selling all shares in one trade
                      ·       Wells Fargo should expect a reimbursement request for
                              approximately $102.9M early next week (Monday) for the

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                    combined Individual Key Employees and Key Manager
                    Change of Control Agreements, Severance agreement
                    executed for R.A. Walker and Anadarko/ Kerr McGee
                    NQDCP.
            ·       Wells Fargo should expect a reimbursement request for
                    remaining balance of the combined Individual Key Employees
                    and Key Manager Change of Control Agreements and the
                    Severance agreement executed for R.A. Walker sometime
                    early 1Q2020.     
            ·       Wells Fargo should expect monthly reimbursement requests from
                    Legacy Anadarko for participant payments until approximately
                    February 2020 then every calendar quarter thereafter
            ·       The Anadarko/ Kerr McGee NQDCP mirrors the Anadarko 401k
                    plan which will soon terminate (approx. 2Q2020). As are result,
                    the NQDCP will “delink” from the 401K plan. At this time, there
                    are no plans to change add or remove funds from the NQDCP
                    lineup. Wells Fargo and Occidental will work together to develop
                    solutions for mapping the Managed Income Portfolio II (Stable
                    Value) and the Company Stock Fund (now frozen)
            ·       We discussed potential fund and share class restrictions from the
                    Vanguard and Fidelity fund families. For Fidelity, the “K” share
                    class is an option for participants in the plans. Traditionally, the
                    “K” share plan is offered to qualified plans only. For Vanguard,
                    aggregate fund balances do not meet the minimum for purchase
                    in the institutional share class ($5M). Occidental will work with its
                    internal partners to identify the dedicated Relationship Managers
                    from the respective funds to determine if Wells Fargo can obtain
                    a waiver
            ·       We ran out of time before we could discuss the investment
                    strategy for the SERPs. They are:
                        o   Anadarko Retirement Restoration Plan – the Action Plan
                             calls for 60% equity /40% fixed income allocation. This is
                             was driven by the estimated cash flows and estimated
                             time horizon of the plans. Participant ages range from 36
                             to 71. The largest balance is $22m (age 62). If the
                             participant exercised the option to retire it would reduce
                             the liability and projected cash flows which in turn would
                             cause us to revisit the allocation presented.
                        o   Kerr-McGee Benefit Restoration Plan – The Action Plan
                             calls for a 50% equity/ 50% fixed income allocation.
                             Similar the APC RRP the allocation for the KMG BRP was
                             driven by the estimated cash flows and estimated time
                             horizon. Participant ages range from 38 to 93. There are
                             more participants in payout ranging from 54 years old to
                             93 years old. Two have lump sums pending while it
                             appears the other participants in payout receive periodic
                             payments.


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                            o   Kerr–McGee Supplemental Executive Retirement Plan -
                                 The Action Plan calls for a 20% Equity/ 80% Fixed Income
                                 allocation. All of the participants are in payout and range
                                 in ages 77 to 93. We think a conservative approach is
                                 more appropriate given the estimate cash flows and time
                                 horizon.
                ·       All of the Action Plans presented are up for further discussion. As
                        we discussed, future organizational decisions will occur resulting
                        in terminations and retirements. As result, the projected liabilities
                        will be directly impacted by personnel changes. Page 9 of the
                        materials provided details the projected range of returns for all of
                        the allocations presented.

   Please let me know if any discussion points from yesterday were missed.
   Have a great weekend and we look forward to connecting with you soon.

   Nikki T. Tanner, CIMA®
   Vice President, Senior Investment Manager
   Wells Fargo Institutional Retirement and Trust
   360 Interstate North Pkwy SE|MAC G0147-051|5th Floor| Atlanta, GA, 30339
   Tel: (678) 627-3787 | Cell :(336) 406-8474
   nikki.tanner@wellsfargo.com
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                     TAB 13
To:      Schmitz, Jason A[Jason_Schmitz@oxy.com]; Etheridge, Monique O.[Monique.O.Etheridge@wellsfargo.com]; Lippe, Karen
                     Case:
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E[Karen_Lippe@oxy.com];      23-20318
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                          Bruegger,         Document:43-6
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                                    Megan D[Megan_Bruegger@oxy.com]         DateinFiled:
                                                                       12/01/21    TXSD10/16/2023
                                                                                           Page 2 of 6
Cc:      Myers, Jessica L[Jessica_Myers@oxy.com]; Knight, Angela[Angela_Knight@oxy.com]
From:    Tanner, Nikki T[/O=WELLS FARGO & CO./OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=A624011]
Sent:    Thur 12/19/2019 12:37:52 PM (UTC-05:00)
Subject: RE: ANADARKO STOCK
2018 SERP Disclosure Report.pdf
2018 BRP Disclosure Report.pdf
2018 RRP Disclosure Report.pdf

 Good afternoon Jason,

 Wells Fargo accepts your recommendation for the ratable liquidation plan for Oxy Stock as follows:

 Beginning January 6, 2020, sell 381,420 shares each day over the course of the week with a final liquidation
 on January 10, 2020

 1,907,100 / 5 = 381,420

 We also would like to have permission to speak with, Willis Towers Watson, the authors of the actuarial
 reports. We have a couple follow up questions to the report specifically around duration. This additional
 information will help us with the fixed income allocation of the assets. They are Terry McFadden and Amy
 Doslich. I’ve attached the reports for your reference.

 Thank you and speak with you soon.

 Nikki T. Tanner, CIMA®
 Tel: (678) 627-3787 | Cell: (336) 406-8474

         From: Tanner, Nikki T
         Sent: Tuesday, December 17, 2019 4:16 PM
         To: 'Schmitz, Jason A' <Jason_Schmitz@oxy.com>; Etheridge, Monique O. <Monique.O.Etheridge@wellsfargo.com>; 'Lippe,
         Karen E' <Karen_Lippe@oxy.com>; 'Bruegger, Megan D' <Megan_Bruegger@oxy.com>
         Cc: 'Myers, Jessica L' <Jessica_Myers@oxy.com>; 'Knight, Angela' <Angela_Knight@oxy.com>
         Subject: RE: ANADARKO STOCK

         Hello Jason,

         Confirming receipt of Occidental’s request. We’ll respond shortly. Thank you.

         Nikki T. Tanner, CIMA®
         Tel: (678) 627-3787 | Cell: (336) 406-8474

                 From: Schmitz, Jason A <Jason_Schmitz@oxy.com>
                 Sent: Tuesday, December 17, 2019 4:06 PM
                 To: Etheridge, Monique O. <Monique.O.Etheridge@wellsfargo.com>; Lippe, Karen E <Karen_Lippe@oxy.com>;
                 Bruegger, Megan D <Megan_Bruegger@oxy.com>
                 Cc: Tanner, Nikki T <nikki.tanner@wellsfargo.com>; Myers, Jessica L <Jessica_Myers@oxy.com>; Knight, Angela
                 <Angela_Knight@oxy.com>
                 Subject: RE: ANADARKO STOCK

                 Hi Nikki / Monique – Treasury would appreciate if Wells could agree to a ratable liquidation plan for Oxy Stock as
                 follows:

                 Beginning January 6, 2020, sell 381,420 shares each day over the course of the week with a final liquidation on
                 January 10, 2020
                                                                                                             23-20318.891
                 1,907,100 / 5 = 381,420
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                                                             Page 3 of 6
Please let me know if you have any questions or would like to discuss.

Regards,
Jason

Occidental Petroleum Corporation
Associate Director, Treasury Finance
Tel: 713.497.2059
jason_schmitz@oxy.com

From: Monique.O.Etheridge@wellsfargo.com <Monique.O.Etheridge@wellsfargo.com>
Sent: Monday, December 16, 2019 11:01 AM
To: Schmitz, Jason A <Jason_Schmitz@oxy.com>; Lippe, Karen E <Karen_Lippe@oxy.com>; Bruegger, Megan D
<Megan_Bruegger@oxy.com>
Cc: nikki.tanner@wellsfargo.com; Myers, Jessica L <Jessica_Myers@oxy.com>; Knight, Angela
<Angela_Knight@oxy.com>
Subject: [EXTERNAL] RE: ANADARKO STOCK

Hi Everyone,

Nikki and I are checking in. We have not received a response regarding the Oxy team
conducting an internal meeting to discuss the liquidation of the Oxy stock.

Please provide an update. If we do not receive an update by Wed at 3 PM EST, we will
assume there is no additional input and will proceed with the plan that was presented on
10/24/2019.

Warmest Regards,

Monique Etheridge, CEBS
Vice President | Relationship Manager

Wells Fargo Bank, N.A. | Institutional Retirement and Trust
Executive Benefits
MAC | G0147-056 360 Interstate North Parkway Suite 500
Atlanta, Ga. 30339
Work 678-589-4300
Monique.O.Etheridge@Wellsfargo.com


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                                                                                 operate   Page
                                                                                         and      4 the
                                                                                             service of 6IRT business for the
    benefit of Principal®, including providing recordkeeping, trustee, and/or custody services.




From: Schmitz, Jason A <Jason_Schmitz@oxy.com>
Sent: Tuesday, December 10, 2019 7:24 PM
To: Lippe, Karen E <Karen_Lippe@oxy.com>; Bruegger, Megan D <Megan_Bruegger@oxy.com>
Cc: Tanner, Nikki T <nikki.tanner@wellsfargo.com>; Etheridge, Monique O.
<Monique.O.Etheridge@wellsfargo.com>; Myers, Jessica L <Jessica_Myers@oxy.com>; Knight, Angela
<Angela_Knight@oxy.com>
Subject: RE: ANADARKO STOCK

Hi Karen – Treasury is not aware of any timeline for liquidation of Oxy Stock in a “trust” either. If possible, please
provide details and Treasury is happy to participate as required.

Regards,
Jason

Occidental Petroleum Corporation
Associate Director, Treasury Finance
Tel: 713.497.2059
jason_schmitz@oxy.com

From: Lippe, Karen E
Sent: Tuesday, December 10, 2019 6:23 PM
To: Schmitz, Jason A <Jason_Schmitz@oxy.com>; Bruegger, Megan D <Megan_Bruegger@oxy.com>
Cc: nikki.tanner@wellsfargo.com; Monique.O.Etheridge@wellsfargo.com; Myers, Jessica L
<Jessica_Myers@oxy.com>; Knight, Angela <Angela_Knight@oxy.com>
Subject: RE: ANADARKO STOCK

Not 401K – its the trust.

Karen Lippe
Director - Corporate Accounting
Office: 713-366-5619
Fax: 713-215-7513

From: Schmitz, Jason A <Jason_Schmitz@oxy.com>
Sent: Tuesday, December 10, 2019 6:22 PM
To: Bruegger, Megan D <Megan_Bruegger@oxy.com>; Lippe, Karen E <Karen_Lippe@oxy.com>
Cc: nikki.tanner@wellsfargo.com; Monique.O.Etheridge@wellsfargo.com; Myers, Jessica L
<Jessica_Myers@oxy.com>; Knight, Angela <Angela_Knight@oxy.com>
Subject: RE: ANADARKO STOCK

Hi Megan – does this refer to the liquidation of Oxy Stock in the Anadarko 401(k)?

Treasury is not aware of the plan(s) regarding the liquidation. Please let us know the current timeline.

Regards,
Jason

Occidental Petroleum Corporation
Associate Director, Treasury Finance
Tel: 713.497.2059
jason_schmitz@oxy.com                                                                                23-20318.893
From:
  Case Megan_Bruegger@oxy.com
       Case:  23-20318 Document
           4:21-cv-01126         <Megan_Bruegger@oxy.com>
                             Document:  60 Filed
                                       43-6    Page:on182      DateinFiled:
                                                        12/01/21      TXSD10/16/2023
                                                                            Page 5 of 6
Sent: Tuesday, December 10, 2019 9:10 AM
To: Lippe, Karen E <Karen_Lippe@oxy.com>; Schmitz, Jason A <Jason_Schmitz@oxy.com>
Cc: nikki.tanner@wellsfargo.com; Monique.O.Etheridge@wellsfargo.com
Subject: FW: ANADARKO STOCK

Hi Karen and Jason,
Please see below and forward to anybody else that should be included in the matter.

I also clarified with them that this is referring to the now Occidental stock from the previously converted Anadarko
stock.
Thanks,
Megan

From: Monique.O.Etheridge@wellsfargo.com <Monique.O.Etheridge@wellsfargo.com>
Sent: Tuesday, December 10, 2019 8:36 AM
To: Megan_Bruegger@oxy.com
Cc: nikki.tanner@wellsfargo.com
Subject: [EXTERNAL] ANADARKO STOCK

HI Megan,

This email is a follow up to my voice message.

Please let Nikki and I know when the team has any additional input regarding the sale of the Anadarko stock. If we
do not hear from Oxy by 12/17/2019, we will assume that there is no additional input.

Warmest Regards,

Monique Etheridge, CEBS
Vice President | Relationship Manager

Wells Fargo Bank, N.A. | Institutional Retirement and Trust
Executive Benefits
MAC | G0147-056 360 Interstate North Parkway Suite 500
Atlanta, Ga. 30339
Work 678-589-4300
Monique.O.Etheridge@Wellsfargo.com


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    months. During the transition period, Wells Fargo Bank, N.A. will continue to operate and service the IRT business for the
    benefit of Principal®, including providing recordkeeping, trustee, and/or custody services.
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                     TAB 14
        Case:
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           4:21-cv-01126 Document:80
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                                            on 06/10/22    Filed: 10/16/2023
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


 OCCIDENTAL PETROLEUM CORP.                  §
 and ANADARKO PETROLEUM CORP.,               §
           Plaintiffs,                       §
                                             §
 v.                                          §
                                             §        Civil Action No. 4:21-CV-01126
 WELLS FARGO BANK, N.A.,                     §
                                             §
               Defendant, Third-Party        §
               Plaintiff,                    §
                                             §
 v.                                          §
                                             §
 EQUINITI TRUST COMPANY,                     §
                                             §
               Third-Party Defendant.        §



                   PLAINTIFF’S AND INTERVENING PLAINTIFF’S
                       MOTION FOR SUMMARY JUDGMENT



       Plaintiff Occidental Petroleum Corporation (“Occidental”) and Intervening Plaintiff

Anadarko Petroleum Corporation (“Anadarko,” and together “Plaintiffs”) file this Motion for

Summary Judgment against Defendant Wells Fargo Bank, N.A. (“Wells Fargo”).




                                                                                 23-20318.1468
       Case:
     Case    23-20318
          4:21-cv-01126 Document:80
                        Document  60 Filed
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                                           on 06/10/22    Filed: 10/16/2023
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                                     I.      INTRODUCTION

       This case arises out of a sophisticated national bank’s failure to perform a routine stock

sale agreement, costing Plaintiffs almost $40 million in lost sale proceeds. The essential facts

supporting Plaintiffs’ claims are undisputed: Wells Fargo, as a trustee, accepted and agreed to a

plan to liquidate almost two million shares of Occidental common stock, for which it was

handsomely compensated. Wells Fargo failed to perform the agreement and, for a period of

months, failed to take basic actions that would have averted a precipitous loss in the value of those

shares. On this basis alone, Plaintiffs are entitled to summary judgment.

       Fully aware that its performance is indefensible, Wells Fargo changes the subject, arguing

that its agreements were unenforceable and that it was thus free to fail in its duties—not once, but

over and over and over again—leaving Plaintiffs to suffer the foreseeable consequences of Wells

Fargo’s profound defaults. Wells Fargo also points the finger at third-party defendant Equiniti

Trust Company (“EQ”) for following established procedures that Wells Fargo itself repeatedly

botched or simply ignored.

       These defenses raise no genuine issue of material fact that prevents entry of summary

judgment in Plaintiffs’ favor. Wells Fargo made a binding, contractual commitment to sell the

shares on agreed dates, at the market price, to protect itself from the fiduciary risks that it faced if

it continued to hold a large, undiversified block of a single publicly traded stock in a trust over

which it held—as a result of the merger of Anadarko and Occidental—investment discretion. This

contract was supported by consideration, it was binding, and Wells Fargo breached it.

       Ignoring its duties, Wells Fargo entrusted the share sale to employees who had no relevant

training, no experience in selling shares held by transfer agencies, and no operational support other




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reasonable jury to find for the nonmovant—and the movant is entitled to judgment as a matter of

law. FED. R. CIV. P. 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Here:

          (1) There is no genuine issue of material fact to dispute that Wells Fargo breached two

contracts with Plaintiffs—the Trust Agreement and a stock liquidation agreement.

          (2) There is no genuine issue of material fact whether EQ was negligent or otherwise

injured the Trust, such that Occidental can be vicariously liable for EQ’s alleged negligence.

                        II.      BACKGROUND AND UNDISPUTED FACTS

          A.      Wells Fargo contracts to serve as trustee of the Anadarko rabbi trust.

          This case arises out of Wells Fargo’s actions as the trustee of a so-called “rabbi trust” that

relates to certain of Anadarko’s deferred-compensation and employee-benefit plans.4 To allow

participants to defer tax liability, federal law requires the plans to remain unfunded pending payout

of benefits.5 Anadarko therefore established a rabbi trust (the “Trust”) through a 1995 Benefits

Trust Agreement between Anadarko (as grantor) and Wachovia Bank (as trustee) (the “Trust

Agreement”).6 Plan participants do not own and have no beneficial interests in Trust assets.7

Instead, they have contractual relationships with Anadarko under their respective benefits plans.8

Under the Trust Agreement, the Trust’s assets remain assets of the Company, but are segregated

to protect against wrongful denials of payment, subject to the claims of the Company’s unsecured

creditors in the event of an insolvency.9 Should the Trust become overfunded relative to plan



     4
      See Ex. 3 (Benefits Trust Agreement) at 1.
     5
      See Ex. 3; Alexander v. Brigham & Women’s Physicians Org., 513 F.3d 37, 43 (1st Cir. 2008); In re
Worldcom, Inc., 364 B.R. 538, 543-44 (S.D.N.Y Bankr. 2007).
    6
      See Ex. 4 (Joint Statement of Stipulated Facts, ECF 43) ¶¶ 1-5. Texas law applies to this suit. See Ex. 3 § 5.5.
    7
      See, e.g., Ex. 3 §§ 1.3, 7.5, 8.1.
    8
      See id.
     9
       See, e.g., Ex. 3 §§ 1.3 (funds “shall continue to be assets of the Company” and employee participants “shall
have no preferred claim on, or any beneficial ownership interest in, the Trust”), 8.1. Wells Fargo understood this.
See Ex. 5 at 41:3-18, 128:1-14.


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       •    From August 8, 2019 through January 7, 2019, Wells Fargo had investment
            control of the Occidental shares but made no effort to obtain custody of them,
            so it could carry out the liquidation. EQ played no role in this failure.
       •    On January 7, 2019, when Wells Fargo’s team belatedly learned the shares were
            with EQ, it should have immediately transferred the shares to DTC and then
            sold them. EQ played no role in this failure.
       •    EQ did not cause Wells Fargo to make duplicate requests to sell 29,320 shares
            of stock. Wells Fargo submitted duplicate sales requests, which EQ properly
            executed.
       •    Further, EQ advised Wells Fargo that submitting multiple transaction requests
            could delay the sale, yet Wells Fargo sent three identical requests anyway.
       •    EQ is not to blame for Wells Fargo’s failure to open and read EQ’s January 16
            letter rejecting Wells Fargo’s instruction to sell more shares than the Trust held.
       •    EQ was not responsible for Wells Fargo’s failure to locate that rejection letter
            for an additional four days after learning of it, or Wells Fargo’s delays for an
            additional week while it sought an unnecessary account statement.
       •   After advising Wells Fargo of the option to transfer the shares on February 26,
           EQ played no role in Wells Fargo’s failure to execute a transfer for an additional
           three weeks.
       In sum, the delays associated with the share sales—and the enormous losses they caused—

are the fault of Wells Fargo alone.

       B.      EQ was not negligent, which dooms Wells Fargo’s counterclaim.

       The elements of a claim for negligence are: (1) the defendant owed a legal duty to the

plaintiff, (2) the plaintiff breached the duty; and (3) the breach proximately caused the plaintiff’s

injury. Nabors Drilling, U.S.A., Inc. v. Escoto, 288 S.W.3d 401, 404 (Tex. 2009). On the

undisputed record of this case, Wells Fargo cannot show that EQ breached any duty of care owed

to Wells Fargo (or to the Trust), or that EQ proximately caused the losses giving rise to this

litigation. As discussed above, the undisputed facts demonstrate that the delayed liquidation and

resulting loss were Wells Fargo’s fault, and not EQ’s—and that the lengthy delays in executing

the share sales were caused by Wells Fargo’s acts and omissions, and not EQ.

       Thus, Wells Fargo cannot reasonably claim to have been obstructed by EQ’s allegedly

“antiquated” procedures. Wells Fargo should certainly have known how to follow those


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1        system in a separate drive where we keep track of all

2        our contracts.

3              Q.   Did your email exchange with Wells Fargo,

4        trustee between December 17, 2019 and December 19, 2019

5        get into that contract management system?

6              A.   No.     So the -- the trade instruction, uh, would

7        have been filed and it is filed in my personal inbox as

8        I file all trade instructions, but those trade

9        instructions are not filed separately on the S drive.

10             Q.   Okay.     I'm doing this 'cause it's a lawyer

11       thing.     Okay?

12                            MR. JOYCE:       Objection, nonresponsive.

13             Q.   If you can answer yes or no, then do that.                If

14       you think you need to explain something, then do it

15       after that.        Is the -- is the email exchange between you

16       for Occidental and Wells Fargo, trustee dated December

17       17, 2019 through December 19, 2019, is that in the

18       contract management system maintained by the treasury

19       department at Occidental?

20             A.   No, it's not.

21             Q.   Now, what you were saying was, it's in your

22       email inbox.

23             A.   Yes, where I file all trade instructions.

24             Q.   Is that the only place that it is within the

25       treasury department?

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1              A.    Yes, sir.
2              Q.    And you never did say in writing we now have a
3        binding agreement, right?
4              A.    No, sir.
5              Q.    You never -- meaning that's correct?
6              A.    Correct.
7              Q.    Okay.     And you never said to Wells Fargo,
8        trustee, this is a binding trade instruction, right?
9              A.    No, sir.      Again, as I told you in previous
10       answers countless times is that, uh, this is such a
11       commonplace occurrence to, uh, enter into a trade
12       instruction.        Companies and banks and other investment
13       providers do this all the time as normal course.
14       There's no need, uh, to explicitly say, uh, the trade
15       directive that we have mutually agreed to is a binding
16       agreement to contract -- to transact as agreed.
17             Q.    Do you have anything in writing after December
18       19, 2019 that describes Exhibit 56 as a binding trade
19       instruction?
20             A.    No, sir.
21             Q.    Nothing at all?
22             A.    No, sir.
23             Q.    Not -- not anywhere within all of Occidental?
24             A.    No, sir.
25             Q.    When did you first refer to the Exhibit 56

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1        accounting ever that Exhibit 56, the emails back and

2        forth, was a binding trade instruction?

3              A.   No.

4              Q.   Did you tell anybody, uh, in your direct line of

5        reporting?       So Mr. Casas or his boss or his boss, did

6        you tell any of them that Exhibit 56 was a binding trade

7        instruction?

8              A.   No.    As I told you, I wouldn't have had to

9        explicitly explain that to Wells Fargo nor would I have

10       had to explicitly explain that to Jessica Myers, Jaime

11       Casas, or anyone in the treasury function.                 This is

12       again a normal course trade that happens all the time.

13       Wells Fargo transacts in these types of trades all the

14       time as do the other big money center banks as do the

15       large investment firms.           It is understood that once a

16       trade is agreed between the parties, that that trade

17       will be effected as agreed and nothing else, full stop.

18                            MR. JOYCE:       Objection, nonresponsive.

19             Q.   So I understand fully what was going on between

20       your ears.       Okay?     Because you've told me several times

21       today.     What I want to know is who else did you express

22       that to?     Okay?       You never told Wells Fargo, trustee

23       that you viewed this as a binding trade instruction,

24       right?

25             A.   No.

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1               Q.     Correct?

2               A.     Correct.

3               Q.     Okay.     You never told corporate accounting at

4        Occidental you viewed Exhibit 56 as a binding trade

5        instruction, correct?

6               A.     Correct.

7               Q.     You never told anybody in your line of

8        reporting, either down or up, that you viewed Exhibit 56

9        as a binding trade instruction, correct?

10              A.     Well, we never discussed it that way, no.

11              Q.     Meaning that's correct.

12              A.     Correct.

13              Q.     I can't ask you what you discussed with your

14       counsel, but I want to ask you if you ever self reported

15       to the legal department at Occidental anything at all

16       about the nature of Exhibit 56.

17              A.     No.     This is a trade directive.         A trade

18       directive would, uh, not go through a legal review.

19                               MR. JOYCE:     Objection, nonresponsive.

20              Q.     So is the answer, no, you never did?

21              A.     No, it did not -- it did not go through legal.

22              Q.     Okay.     (Flipping pages.)        Turn please to Exhibit

23       58.     Exhibit 58 is an email note from Nikki Tanner to

24       you.        Monique Etheridge is copied.            It's dated January

25       31, 2020.           Is this the email note that you say you never

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1        Exhibit 4 is a Fee Schedule, correct?

2              A.   Yes.

3              Q.   And you referenced a Fee Schedule in your

4        testimony just a minute ago, right?

5              A.   Yes.

6              Q.   And Exhibit 5 is that Fee Schedule, isn't it?

7              A.   That's correct.        (Flipping pages.)

8              Q.   Okay.    And has Anadarko paid Wells Fargo for its

9        services as trustee of the Trust pursuant to this fee

10       scheduled that we marked as Exhibit 5?

11             A.   Well, again, I understand that Wells Fargo has

12       been compensated for its services, but I'm not positive

13       who actually has paid them, whether it's Anadarko or the

14       Trust or both.

15             Q.   Okay.    Has Occidental paid Anadarko anything for

16       its services as trustee?            I'm sorry, has Occidental paid

17       Wells Fargo anything for its services as trustee?

18             A.   (Flipping pages.)          I don't have any knowledge on

19       that on who's actually made the payments.

20             Q.   So you're not aware of Occidental making any

21       payment to Wells Fargo for services provided as trustee,

22       are you?

23             A.   That's correct.        I'm not aware.

24             Q.   And to your knowledge has Wells Fargo received

25       any incremental compensation as trustee from anyone for

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1        making specific trades and securities held by the Trust?

2              A.   Well, I believe there's provisions in here for

3        that type of work.

4              Q.   Can you point me to it?

5              A.   What's the question again?

6              Q.   Point me to the provision you were referring to.

7              A.   Well, there's, uh, provisions, uh, about basis

8        points I think for investment fees.

9              Q.   So that wasn't my question.                 My question was

10       whether there was any incremental compensation paid to

11       Wells Fargo, as trustee for making specific trades in

12       securities held by the Trust?

13             A.   Well, the -- the document speaks for itself,

14       but, uh, I am not aware of a provision specific to that

15       topic.

16             Q.   Okay.    And I don't think there's one in here.

17       You know, I don't think that there is anything in here

18       that would provide for the incremental payment or

19       payment of incremental compensation for making a

20       specific trade.        My question to you was:              Whether you

21       were aware of Wells Fargo receiving any incremental

22       compensation as trustee from either Occidental or

23       Anadarko for making specific trades.

24             A.   I'm not aware of that.

25             Q.   Okay.    You're not aware of that happening,

                                                                           Page 99

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1        right?

2              A.   That's correct.

3              Q.   To the best of your knowledge, it hasn't

4        happened?

5              A.   To the best of my knowledge.

6              Q.   All right.      (Flipping pages.)            Do you know if

7        there is a separate fee schedule like this Exhibit 5

8        between Occidental and Wells Fargo relating to the

9        Trust?

10             A.   I don't think there is one.

11             Q.   And, Mr. Eubank, who had authority to make

12       investment decisions for the Trust before the

13       acquisition?

14             A.   Well, I mean there's a provision in there, uh,

15       and I -- I'm not exactly sure.                 It's probably referenced

16       as the administrator, but I'm drawing a blank right now.

17       And by that I mean the Benefits Trust Agreement.

18             Q.   (Flipping pages.)          Mr. Eubank, are you referring

19       to Section 7.4 of the Trust agreement?

20             A.   (Flipping pages.)          (Reading)        Well, sitting here

21       today, I believe that is the provision, uh, in the

22       agreement regarding how the investments were conducted

23       prior to the acquisition.

24             Q.   Okay.    So what is the company's understanding of

25       who had authority to make investment decisions for the

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Wells Fargo breached by selling shares later than agreed, there are genuine issues of material fact

surrounding the materiality of that alleged breach and the reasonableness of Wells Fargo’s conduct

with the respect of the timing of the shares under Plaintiffs’ theory of the case. These factual issues

preclude summary judgment in favor of Plaintiffs on their contract claim.

        3.      There Are Fact Issues on Multiple Affirmative Defenses.9

        Wells Fargo raised 14 affirmative defenses in response to Plaintiffs’ Complaint, and each

raises factual questions that prevent judgment in Plaintiffs’ favor at this stage of the proceeding.

See Answer at 8-9.

        For example, Wells Fargo’s affirmative defenses include failure to mitigate and waiver.

Answer at 8-9. As explained above, there is no dispute that Wells Fargo informed Occidental in

January and February 2020 that the sales were not yet complete. Tanner Depo. 188:20-189:21,

194:3-195:17; Exs. 58, 220. Regardless, Plaintiffs did not take any action at that time. See Gooch

Depo. at 141:13-142:5; 167:7-11; 178:15-179:23. Occidental’s laissez-faire conduct after it

learned that the sales had not been completed raises genuine issues of material fact as to whether

Occidental waived its breach of contract claim or failed to mitigate its alleged damages. These

factual issues preclude summary judgment in Plaintiffs’ favor.

        Wells Fargo’s remaining affirmative defenses raise similar fact questions. As set out in

Defendant’s Motion, Mr. Schmitz was not an “authorized signer” at the time he sent his December



        9
           Plaintiffs’ Motion does not identify any affirmative defense on which summary judgment is
sought and it does not identify specific elements of any of the affirmative defenses on which Plaintiffs
contend Wells Fargo cannot prevail—either as a matter of law or fact. See Fed. R. Civ. P. 56(a). Also,
Plaintiffs’ motion seeks only a partial summary judgment. While their motion claims millions of dollars of
damages, their proposed order makes it clear that damages cannot be determined on summary judgment
motion practice and must be addressed later. Finally, discovery remains open until October 14, 2022. See
ECF No. 79. As a result, Wells Fargo has no obligation to establish its affirmative defenses in this response.
Rather, this section of the response is provided to alert the Court that affirmative defenses will have to be
addressed at the appropriate time.
DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT                                       Page 21



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2019 email; whether he lacked actual or apparent authority to bind Occidental as Wells Fargo

alleges in its affirmative defenses is a genuine issue of material fact. See Answer at 8; Bruegger

Depo. 101:11-16, excerpts attached as Exhibit B to McKennon Dec.

       Wells Fargo also raised the affirmative defense of impossibility or impracticability.

Answer at 8. The record suggests that, even if Occidental and Wells Fargo entered an agreement

to sell shares on the timeline discussed in Mr. Schmitz’s December 2019 email, Equiniti could not

and would not guarantee that shares could be transferred or sold on any specific timeline. Tanner

Depo. 142:1-16; Sevcik Depo. 74:11-25, excerpts attached as Exhibit F to McKennon Dec.

Whether it was possible to execute the purported agreement as written is a genuine issue of material

fact. Similarly, whether Equiniti’s role in delaying the sales of the Occidental shares constitutes a

prior material breach as Plaintiffs’ agent is a genuine issue of material fact. Each of these fact

issues precludes summary judgment in favor of Plaintiffs.

       4.      Plaintiffs Are Not Entitled to Summary Judgment on Wells Fargo’s
               Counterclaim.

       Plaintiffs also make a half-hearted argument that the Court should grant judgment as a

matter of law for Plaintiffs on Wells Fargo’s counterclaim against Occidental [ECF 65], which

seeks to hold Occidental vicariously liable to the Trust for Equiniti’s negligence in effectuating

the stock sales. Plaintiffs’ argument does not cite even a single authority (other than one citation

to the elements of a negligence claim), and erroneously states that Wells Fargo has not cited to the

source of any duty that Equiniti owed. To the contrary, Wells Fargo cited numerous federal

regulations governing transfer agent conduct that Equiniti breached, including 17 C.F.R. §§

240.17Ad-2 (regulating turnaround, processing, and forwarding of items), -5 (written inquiries and

requests), -12 (safeguarding of funds and securities), and -15 (signature guarantees), that support

a claim for negligence per se. [ECF 65 ¶ 75]. Plaintiffs do not, and cannot, argue that these
DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT                               Page 22



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                      MONIQUE ETHERIDGE - 5/6/2022

·1·· · ··Q.· ·And the second dark bullet point says, "The
·2··Occidental team will have internal discussions
·3··regarding the sale of Occidental shares,
·4··recommendations of how much and when."
·5·· · ··A.· ·Mm-hmm.
·6·· · ··Q.· ·Tell me what you recall about that
·7··discussion during the October meeting if you --
·8·· · ··A.· ·Right.··During that meeting, we just were
·9··enlightening them that the reason why we're bringing
10··this to your attention is that although we're the
11··trustee, these assets are still assets of the company,
12··they're on the balance sheet.··Therefore, any activity
13··that we do will create some type of capital gain
14··expense for the company.
15·· · · · · ·So we were just being -- letting you know
16··what we were thinking about doing and just want your
17··consideration, just out -- out of a courtesy because
18··we're discretionary asset management.··But at the same
19··time, we did not want to trigger a huge tax expense
20··for you.
21·· · ··Q.· ·Okay.
22·· · ··A.· ·So technically, we did not have -- we didn't
23··need their input at all.··It was just as a courtesy.
24·· · ··Q.· ·Right.··You could have -- you had the
25··discretion -- you had pretty broad discretion --

                             HANNA & HANNA, INC.
                                 713.840.8484
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                      MONIQUE ETHERIDGE - 5/6/2022

·1·· · ··A.· ·Mm-hmm.
·2·· · ··Q.· ·-- as to how to effectuate the trade?
·3·· · ··A.· ·Yes.
·4·· · ··Q.· ·And one of those ways was to, you know,
·5··touch base with Occidental and agree with them as to
·6··how the trade would be -- would be executed, right?
·7·· · ··A.· ·The shares.
·8·· · ··Q.· ·Say it again.
·9·· · ··A.· ·The shares of Occidental.
10·· · ··Q.· ·I'm sorry.··Was that a -- I'm not sure I
11··understood the answer to that question.··Was that a
12··yes to my question?
13·· · ··A.· ·Can you repeat the question?
14·· · ··Q.· ·Yeah, one of the ways to exercise Wells
15··Fargo's discretion would have been to accept a
16··recommendation from Occidental as to how to carry out
17··that investment?
18·· · ··A.· ·That's not correct.
19·· · ··Q.· ·Okay.··Why do you say that's not correct?
20·· · ··A.· ·As discretionary asset manager, we didn't
21··have to get their input at all.
22·· · ··Q.· ·Go ahead.··I'm sorry.··I stepped on your
23··answer.··Please continue.
24·· · ··A.· ·That's okay.··So we didn't need their
25··recommendation.··It was just as a courtesy that we

                             HANNA & HANNA, INC.
                                 713.840.8484
                                    APPX. PG. 33                         23-20318.2513
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                     TAB 23
        Case: 23-20318
Case 4:21-cv-01126      Document:
                   Document        60 Page: Filed
                            82-26 *SEALED*  213 onDate Filed:in10/16/2023
                                                   06/10/22     TXSD Page 1 of 4




                                                                       Montgomery

                                                                    Exhibit 97

                                                                          Exhibit 44
                                                                      23-20318.5271
           Case: 23-20318
   Case 4:21-cv-01126      Document:
                      Document        60 Page: Filed
                               82-28 *SEALED*  214 onDate Filed:in10/16/2023
                                                      06/10/22     TXSD Page 1 of 2

  Message


  From:        Gooch, Elizabeth H [Elizabeth_Gooch@oxy.com]
  Sent:        2/26/2020 1:32:17 PM
  To:          Tanner, Nikki T [nikki.tanner@wellsfargo.com]
  Subject:     RE: RE: ComputerShare question




  Great. we are sending a dial-in for 12:45.

       Original Message
  From: nikki.tanner@wellsfargo.com <nikki .tannerwellsfargo.com>
  Sent: Wednesday, February 26, 2020 12:13 PM
  To: Gooch, Elizabeth H <Elizabeth_Goochcoxy.com>
  Subject: [EXTERNAL] RE: ComputerShare question

  336-406-8474. Thank you.


  Sent with BlackBerry Work
  (www.blackberry.com)


  From: Gooch, Elizabeth H <Elizabeth_Gooch@oxy. com<mailto: Elizabeth_Goochoxy. corn>>
  Date: Wednesday, Feb 26, 2020, 11:58 AM
  To: Tanner, Nikki T <nikki .tannerwellsfargo.com<mailto:nikki .tanner@wellsfargo.corn>>
  Subject: RE: ComputerShare question

  Great. Which number should we call?

       Original Message
  From: nikki.tanner@wellsfargo.com <nikki .tannerwellsfargo.com>
  sent: Wednesday, February 26, 2020 11:57 AM
  To: Gooch, Elizabeth H <Elizabeth_Goochoxy.corn>
  Subject: [EXTERNAL] RE: ComputerShare question

  Hello Elizabeth,
  Yes. I am available until    boarding which is about 3:50.


  Sent with BlackBerry work
  (www.blackberry.com<http://www.blackberry.com>)


  From: Gooch, Elizabeth H <El izabeth_Goochcoxy. com<mailto: Elizabeth_Goochcoxy. corn>>
  Date: Wednesday, Feb 26, 2020, 10:44 AM
  To: Tanner, Nikki T <nikki .tanner@wellsfargo.com<rnailto:nikki .tanner@wellsfargo.com>>
  Subject: computerShare question

  Hi Nikki,
  we have discussed with our transfer agent, Equiniti, and would like to discuss with you ComputerShare's
  role in the sale process and hopefully resolve the issues we discussed.
  Can you let me know when you have a few minutes today to have a call with Oxy and Equiniti.
  Thanks,
  Elizabeth

  Elizabeth Gooch
  Managing Counsel
  Occidental Petroleum Corporation
  5 Greenway Plaza, Mailstop 4.105
  Houston, TX 77046

  (713) 366-5989 office
  (713) 985-1387 Fax
  Elizabeth—Gooch@oxy.com




                                                                                             I
                                                                                                   EXHIBIT




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                                                                                                Exhibit 47
CONFIDENTIAL
                                                                                             23-20318.5277
                                                                                                 WF-00016993
    I
             Case: 23-20318
     Case 4:21-cv-01126      Document:
                        Document        60 Page: Filed
                                 82-30 *SEALED*  215 onDate Filed:in10/16/2023
                                                        06/10/22     TXSD Page 1 of 5

  MegsaBe


  Fmm:                   Brown, Therese A. [/O=WELLS FARGO & CO./OU=EXCHANGE ADMINISTRATIVE GROUP
                         (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=THERESE             A. BROWN025l
  Scnt                   3/t8/2020 4:05:21PM
  To:                    Tanner, Nlkkl T Inlkkl.tanner@wellsfargo.coml; Montgomery, Terrl L [terrl.montgomery@wellsfargo.com]
  CC:                    Berg, Patrick Ipatrick.berg@wellsfargo.com]; Etheridge, Monique O. Imonique.o.etheridge@wellsfargo.com];
                         Russell, Marley F. [marley.f.russell@wellsfargo.com]
  Subjectl               RE: RE: Anadarko Stock




  Hellol The shares were just received at DTC and the location has been updated. Thanks and stay safe O

  Therese Brown

  Securltles Operations Service Speclallst I Securlfy Control & Transfer | 612-667-8339

  425 E Hennepin Avenue
  MAC N9345-010
  Minneapolis, MN 55414
  612-667-8339
  tlrsrr.!€,s,bro.wr@ryEJ! sfsrgq. qqm

  This emalt message is for the sole use of the intended recipient (or recipients) and may contain prlvileged information, Any unauthorized
  review, use, disciosure or distribution is prohibited; If you are not the intended recipient, please contact the sender by phone or reply email
  and destroy all copies of the original message.




  From: Tanner, Nikki T <nikki.tanner@wellsfargo.com>
  Sent: Wednesday, March L8,2O2O 11:51 AM
  To: Brown, Therese A. <Therese.A.Brown@wellsfargo.com>; Montgomery Terri L <terri.montgomery@wellsfargo.com>
  Cc: Berg, Patrick <Patrick.Berg@wellsfargo.com>; Etheridge, Monique O. <Monique.O.Etheridge@wellsfargo.com>;
  Russell, Marley F. <Marley.F.Russell@wellsfargo.com>
  Subject: RE: Anadarko Stock

  Thank you Therese. Have we been able to update the coding on SEI?

  NikkiT. Tanner, CIMA@
  Tel: (678) 627-3787 | Cell: (336) 406-8474


  From: Brown, Therese A. <Therese.A. Brown @wel lsfargo.com>
  Sent: Tuesday, March 17, ZO2O 11.:30 AM
  To: Montgomery, Terri L <terri.montgomerv@wellsfargo.com>
  Cc: Berg, Patrick <Patrick.Bers@wellsfarso.com>; Etheridge, Monique O. <Monique.O.Etheridse@wellsfarso'com>;
  Russell, Marley F. <Marlev.F.Russell@wellsfargo.com>; Tanner, NikkiT <nikki.tanner@wellsfargo.com>
  Subject: RE: Anadarko Stock

  Thanks - That worked !

  ThereseBrown
  Securities Operations Service Specialist I Security Control &Transfer | 612-667-8339

  425 E Hennepin Avenue
  MAC N9345-010
  Minneapolis, MN 55414
  612-667-8339
                                                                                                                             Montgomery
  thsese.a.browdO.wellsforgo.cqn

                                                                                                                        Exhibit 106
                                                                                                                                  Exhibit 50
                                                                                                                              23-20318.5286
CONFIDENTIAL                                                                                                                            wF-00007896
               Case: 23-20318
      Case 4:21-cv-01126        Document:
                          Document         60 Page:
                                   83-1 *SEALED*    216on 06/10/22
                                                 Filed     Date Filed: 10/16/2023
                                                                    in TXSD   Page 62 of 64


  From: Inscore, Tanya M
  Sent: Tuesday, January 7, 2020 11:03 AM

  Cc: Ly, Kevin                             Tanner, Nikki T
  Subject: RE: Urgent Please Read: Liquidation of Occidental Stock in 028339300, RT ANADARKO PETROLEUM CORP DB
  TRUST

                           to                   ones in        are        at      tra          to instruct


  Tonya M. Inscore
  Sr. Vice President
  Business Initiatives Consultant

  Wells Fargo Institutional Retirement and Trust
  Executive Benefits
  MAC 04001-020 100 N Main Street 1 Winston-Salem, NC 27101
  Tel (336)             I Cell (336) 978-7004

  tonya.inscore@wellsfargo.com




  From: Montgomery, Terri L q_s!ffi:!IlQ!ltru;!Dl~~':!;!J?;W2:@IgQ&QlJ:F
  Sent: Tuesday, January 7, 2020 11:00 AM

  Cc: Ly, Kevin
  Subject: RE: Urgent Please Read: Liquidation of Occidental Stock in 028339300, RT ANADARKO PETROLEUM CORP DB
  TRUST




  Thanks
  TerriL Montgomery
  Assistant Vice President
  Executive Benefits Client Service Associate


  Wells Fargo Institutional Retirement and Trust Executive Benefits
  MAC 04001-020 1100 North Main Street ·2nd Floor I Winston-Salem, NC 27101
  Tel (336) 842-7710 I Toll Free 1(800) 887-15621 Fax (336)-842-7956
  Terri.montgomery@wellsfargo.com




                                                           SEALED APPX. PG. 431                 23-20318.5370
CONFIDENTIAL                                                                                            WF-00015079
      Case: 23-20318    Document: 60   Page: 217   Date Filed: 10/16/2023




                       CERTIFICATE OF SERVICE
      I hereby certify that I had the foregoing Record Excerpts of Defendant-

Appellant Wells Fargo electronically filed by tendering it to the Office of the

Clerk of the United States Court of Appeals for the Fifth Circuit on October

16, 2023. I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the appellate CM/ECF system.


                                    /s/ Christian T. Kemnitz
                                    Christian T. Kemnitz
                                    Counsel for Wells Fargo
